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                 APPENDIX OF UNPUBLISHED OPINIONS




1.    Broome v. Am. Fam. Life Assurance Co. of Columbus, No. 20-2852, 2021
       WL 5355937 (3d Cir. Nov. 17, 2021)

2.     Coulter v. Experian Info. Sols., Inc., No. 20-1814, 2021 WL 735726
       (E.D. Pa. Feb. 25,2021)

3.     DeVries v. Experian Info. Sols., Inc., No. 16-cv-02953-WHO, 2017 WL
       733096 (N.D. Cal. Feb. 24, 2017)

4.    Dobbs v. Health IQ Ins. Servs., Inc., No. 21-5276, 2022 WL 2974713 (E.D.
       Pa. July 27, 2022)


5.     In re Ring LLC Privacy Litig. , No. 1 9- 1 0899-MFW, 202 1 WL 262 1 1 97
       (C.D. Cal. June 24, 2021)

6.     Kim v. Tinder, Inc., No. 18-03093 JFW (AS), 2018 WL 6694923 (C.D. Cal.
       July 12,2018)


7.    Kubischta v. Schlumberger Tech Corp., No. 25-1338, 2016 WL 3752917
       (W.D. Pa. July 14, 2016)

8.    Lloyd v. Retail Equation, Inc., No. 21-17057, 2022 WL 18024204
       (D.N.J. Dec. 29, 2022)


9.    Noonan v. Comcast Corp., No. 16-00458, 2017 WL 4799795
       (D.N.J. Oct. 24, 2017)

10.   Pricharda v. Cheeky, Inc., No. 22-CV-3180, 2022 WL 16749033
       (E.D. Pa. Nov. 7, 2022)


11.   Rodriguez v. Experian Servs. Corp., No. 15-3553-R, 2015 WL 12656919
       (C.D. Cal. Oct. 5,2015)


12.   Selden v. Airbnb, Inc., No. 16-00933, 2016 WL 6476934
       (D.D.C. Nov. 1,2016)

13.   VR Consultants, Inc. v. J.P. Morgan Chase & Co., No. 20-cv-61 10,
       2021 WL 5494373 (D.N.J. Nov. 23, 2021)
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Broome v. American Family Life Assurance Company of.                   Not Reported in Fed.

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                     2021 WL 5355937                                                                          T.

      Only the Westlaw citation is currently available.
       United States Court of Appeals, Third Circuit.                    Appellants, two former independent contractor insurance
                                                                         agents,   contracted        with     Aflac        and        Continental      to

      Reginald BROOME; Chris Salsman, Appellants                         sell   insurance    products.       These     contracts         (“Associate's

                              v.                                         Agreements” or “Agreements”) required any dispute between

          AMERICAN FAMILY LIFE ASSURANCE                                 the parties to be submitted for binding arbitration, and that

               COMPANY OF COLUMBUS;
                                                                         any arbitration proceeding between the parties “be covered
                                                                         by, and conducted pursuant to, the FAA.” App. 40, 58.
          Continental American Insurance Company
                                                                         Pursuant to the Agreements, the arbitrators’ award “shall be

                          No. 20-2852                                    binding and conclusive upon all parties hereto subject only

                                   I                                     to grounds permitted under the FAA for vacating, correcting,

                    Submitted July 15, 2021                              or modifying an award.” App. 41, 58. Thus, the arbitration

                                   I                                     proceeding between the parties as well as the right to seek to

                   (Filed: November 17, 2021 )                           vacate the arbitrators’ Award are governed by the FAA.


On Appeal from the United States District Court for the                  Accordingly,     after a dispute arose between the parties,
District of Delaware (D.C. Civil Action No. l-19-cv-1967),               they   participated    in    an    arbitration         proceeding.      At    the
District Judge: Honorable Maryellen Noreika                              commencement         of the       proceeding,          all   parties   and    the

                                                                         arbitrators    executed      an     Amended              Scheduling       Order
Attorneys and Law Firms
                                                                         providing, “The parties agree that this arbitration proceeding
                                                                         shall be conducted in accordance with the [FAA], the
Gary W. Aber, Esq., Wilmington, DE, for Appellants.
                                                                         Arbitration    Agreement          contained       in     Paragraph      Ten    of

R. Steve Ensor, Esq., Brooks A. Suttle, Esq., Alston &                   [Appellants’] Associate's Agreements and this Amended

Bird, Atlanta, GA, Frederick T. Mickler, TV, Esq., Ashby                 Scheduling Order.” ECF (D. Del.) No. 6, Ex. D D 4. After

& Geddes, Wilmington, DE, for American Family Life                       the arbitration hearing, the arbitrators issued an Award on

Assurance Co. of Columbus, Continental Inns of America.                  June 14, 2019, finding in favor of Aflac and Continental and
                                                                         dismissing appellants’ claims.
Before:    McKEE,    GREENAWAY,          JR.,   and   RESTREPO,

Circuit Judges.                                                          Appellants filed their Complaint in the Delaware Court of
                                                                         Chancery on September 12, 2019 seeking to vacate the
                                                                         Award of the arbitrators. Appellants served the Summons

                         OPINION *                                       and Complaint on the Delaware Insurance Commissioner on

                                                                         September 19, 2019. 1 Aflac and Continental were thereafter
RESTREPO, Circuit Judge                                                  served    with     process    through       the        Delaware        Insurance

                                                                         Commissioner on September 27, 2019, three -and-a-half
 *1   Appellants    brought   this     action   against   appellees,
                                                                         months after the Award was issued.                      Appellees thereafter
American Family Life Assurance Company of Columbus
(“Aflac”) and Continental American Insurance Company                     removed the action to the District Court based on diversity

(“Continental”), seeking an Order vacating an arbitration                of citizenship. Aflac and Continental subsequently filed a
                                                                         Motion to Dismiss the Complaint, which the District Court
award in favor of appellees (“Award”). On appeal, appellants
challenge the District Court's Order granting appellees’                 granted on August 12, 2020.

motion to dismiss the Complaint. Because we agree with
the District Court that appellants failed to comply with
requirements of the Federal Arbitration Act (“FAA”), 9
                                                                                                             II.3
U.S.C. § 1, et sec/., with respect to service of process on
appellees, we affirm.                                                      *2 The District Court granted appellees’ motion to dismiss
                                                                          on two independent grounds: (1) appellants failed to serve




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                                                                    ‘nonresidents’ and that [appellants] did not serve either of
process on Aflac and Continental within the 3 -month
                                                                    [appellees] via the United States Marshals Service.” App. 5.
limitation period expressly set forth in the FAA, 9 U.S.C. §
                                                                    Thus, the District Court's dismissal of the Complaint was
12; and (2) appellants failed to serve Aflac and Continental
with process by the Marshal, as also expressly required by the      proper based on non-compliance with the FAA. 6
FAA, id.
                                                                    Appellants spend a significant portion of their briefjustifying

As to the FAA's time limitation on service of process, the          why they initiated this action in the Delaware Court of

FAA provides, “Notice of a motion to vacate, modify, or             Chancery, but in this case, Aflac and Continental do not

correct an award must be served upon the adverse party              dispute that the Delaware state courts had jurisdiction. It is

or his attorney within three months after the award is filed        clear, in any event, that the District Court had jurisdiction

or delivered.” Id. Here, it is undisputed that appellants did       based on diversity of citizenship, and that appellees were well

not serve the Summons and Complaint on the Delaware                 within their rights to remove this case to the District Court

Insurance Commissioner any earlier than September 19,               on that basis. See 28 U.S.C. §§ 1332(a), 1441(a). Further, to

                                                                    the extent appellants argue that they were in compliance with
2019. 4 Since the Arbitrators issued an Award on June 14,
                                                                    the Delaware Uniform Arbitration Act (“DUAA”), 10 Del.
2019, even assuming arguendo that service of process was
                                                                    C. § 5701, as explained, under the Associate's Agreements,
complete upon serving the Insurance Commissioner under
                                                                    the arbitration proceeding between the parties as well as the
these circumstances, process was not served within three
                                                                    right to seek to vacate the arbitrators’ Award are governed
months after the Award was filed or delivered, and the District
Court properly dismissed the Complaint for failure to comply        by the FAA. ' Because of appellants’ failure to comply with
                                                                    the FAA which governs this action, dismissal of the case was
with the FAA. 5 See Pfannenstiel v. Merrill Lynch, Pierce,
                                                                    appropriate.
Fenner & Smith, 477 F.3d 1155, 1 158 (10th Cir. 2007).

                                                                     *3   For the foregoing reasons, we affirm the Order of the
In addition to the time limitation of service, the FAA provides
                                                                    District Court.
that where the adverse party is a nonresident of the district
within which the award was made, then service “shall' be
made “by the marshal of any district within which the adverse
                                                                    All Citations
party may be found.” 9 U.S.C. § 12 (emph. added). As the
District Court noted, “it is undisputed that [appellees] are        Not Reported in Fed. Rptr., 2021 WL 5355937




                                                          Footnotes



        This disposition is not an opinion of the full Court and, pursuant to I.O.P. 5.7, does not constitute binding
        precedent.


1       As the District Court pointed out, under Delaware law, nonresident insurers operating in Delaware, such as
        appellees, are subject to the Delaware Insurance Code, including its procedures for service of process in
        a legal proceeding, and “[u]nder Delaware law, Defendants can only properly be served with legal process
        via service upon the Delaware Insurance Commissioner, which will then mail the process to Defendants’
        registered agent in the state.” App. 6 (citing 18 Del. C. §§ 524, 525).


2       Under Delaware law, service upon a nonresident insurer is not complete until three days after the process is
        mailed by the department of insurance to the insurer. See 18 Del. C. § 525.


3       The District Court had jurisdiction under 28 U.S.C. § 1332(a), and we have appellate jurisdiction under 28
        U.S.C. § 1291. The parties agree that we review de novo the District Court's grant of the motion to dismiss.




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4      Appellants argued in the District Court that “service was properly accomplished ... on September 19, 2019.”
       ECF (D. Del.) No. 10, at 17; App. 6; see Appellant's Br. 8 (acknowledging that process “for both [Aflac and
       Continental] was served on the Delaware Insurance Commissioner on September 19, 2019”).


5      The District Court pointed out that, under Delaware law, “it appears that Defendants were not deemed served”
       on September 19, 2019 “as Plaintiffs assert,” since “[t]hat is the date on which the Complaint was served on
       the Commissioner,” and under Delaware law, “service upon a nonresident insurer is not complete until three
       days after the process is mailed by the department of insurance to the insurer.” App. 6, 7; see supra note 2.
       However, the Court correctly concluded, “in any event, even if the Court were to accept Plaintiffs’ proffered
       September 19, 2019 service date, that date is still more than three months after the June 14, 2019 Award
       being challenged was issued.” App. 7.


6      Appellants argue that for them to have had the Marshals serve process, service “might have had to be
       accomplished in Nebraska, [Aflac's] state of incorporation, Georgia, its principal place of business, and for
       Continental ... in South Carolina, where it has its principal place of business.” Appellant's Br. 34. Thus,
       appellants do not argue they were somehow unable to serve Aflac and Continental by the Marshals in
       compliance with the FAA, only apparently that it “might have” been inconvenient.


7      Section 5702(a) of the DUAA provides that the making of an arbitration agreement “specifically referencing
       the [DUAA] and the parties’ desire to have it apply to their agreement confers jurisdiction on the [Chancery]
       Court ... to enter judgment on an award thereunder ...” 10 Del. C. § 5702(a) (emph. added). Absent such an
       express reference, “any application to the Court of Chancery ... to vacate or enforce an arbitrator's award
       shall be decided by the Court of Chancery in conformity with the [FAA], and such general principles of law and
       equity as are not inconsistent with that Act." Id. § 5702(c) (emph. added). Here, the Agreements expressly
       identified the FAA as governing.




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                                                                               (the “Arbitration Provision”) in the Terms of Use Agreement
                                                                               Plaintiff entered     into    when   he   enrolled   in   Experian
                           2021 WL 735726
                                                                               CreditWorks online, the service through which he discovered
       Only the Westlaw citation is currently available.
                                                                               the alleged inaccurate dates of status.
       United States District Court, E.D. Pennsylvania.


       Ramsey COULTER, individually and on behalf                              The following are the relevant facts in this matter: 1
         of all similarly situated consumers, Plaintiff
                                                                                 On     July   17,   2017,    Plaintiff enrolled    in   Experian
                                  v.
                                                                                 CreditWorks, Defendant's credit monitoring service, using
                 EXPERIAN INFORMATION
                                                                                 an online form. The online enrollment form included a
                 SOLUTIONS, INC., Defendant
                                                                                 disclosure that indicated: “[b]y clicking ‘Submit Secure
                                                                                  Order’: I accept and agree to your Terms of Use
                     CIVIL ACTION NO. 20-1814
                                                                                  Agreement ...” (Decl. of David Williams, ECF 17-3 at
                                       I
                                                                                  3) (emphasis in original). The Terms of Use Agreement,
                            Filed 02/25/2021
                                                                                  which was available by clicking a highlighted link on the

Attorneys and Law Firms
                                                                                  online form, contains the arbitration provision at issue. This
                                                                                  Arbitration Provision provided, in relevant part:

Nicholas J. Linker, Zemel Law LLC, Paterson, NJ, for
                                                                                      PLEASE READ THIS CAREFULLY. IT AFFECTS
Plaintiff.
                                                                                      YOUR RIGHTS...

Mohammad A. Ghiasuddin, Margolis Edelstein, Philadelphia,
                                                                                      Arbitration Agreement:
PA, John A. Vogt, Richard J. Grabowski, Jones Day, Irvine,
CA, William R. Taylor, Jones Day, Houston, TX, for
                                                                                      (a) [Experian Consumer Services] and you agree to
Defendant.
                                                                                      arbitrate all disputes and claims between us arising
                                                                                      out of this Agreement directly related to the Services
                                                                                      or Websites to the maximum extent permitted by law,
                 MEMORANDUM OPINION
                                                                                      except any disputes or claims which under governing
                                                                                      law are not subject to arbitration. This agreement to
 NITZA I. QUINONES ALEJANDRO, U.S.D.C.J.
                                                                                      arbitrate is intended to be broadly interpreted and to

 INTRODUCTION                                                                         make all disputes and claims between us directly relating

  *1   Before this Court is Defendant Experian Information                            to the provision of any Service and/or your use of

 Solutions, Inc.’s motion to compel arbitration filed pursuant                        any Website subject to arbitration to the fullest extent

 to the Federal Arbitration Act (“FAA”), 9 U.S.C. § 1 et seq.                         permitted by law. The agreement to arbitrate includes,

 [ECF 17], Plaintiff Ramsey Coulter opposes the motion. [ECF                          but is not limited to: claims arising out of or relating to

 25]. The issues raised by the parties are fully briefed and ripe                     any aspect of the relationship between us arising out of

 for disposition. For the reasons set forth herein, Defendant's                       any Service or Website, whether based in contract, tort,

 motion to compel arbitration is granted.                                             statute (including, without limitation, the Credit Repair
                                                                                      Organizations Act) fraud, misrepresentation or any other
                                                                                      legal theory; claims that arose before this or any prior
 BACKGROUND                                                                           Agreement (including, but not limited to, claims relating
                                           class   action   claim    against
 Plaintiff asserts     a    putative                                                  to advertising); claims that are currently the subject of
                      an   alleged violation          of the   Fair Credit
 Defendant     for                                                                    purported class action litigation in which you are not a
 Reporting Act (“FCRA”),               15    U.S.C.    §    1681a,   et seq.          member of a certified class; and claims that may arise
 Specifically,    Plaintiff avers           that   Defendant    knowingly             after the termination of this Agreement.
 reported inaccurate “dates of status” on his and other
 consumers’ credit card accounts and failed to conduct a                            *2 (Experian Terms of Use Agreement, Ex. 3 to Decl. of

 reasonable investigation of the matter, which negatively                          David Williams, ECF 17-6 at 7). The Arbitration Provision

 impacted their credit scores. Defendant moves to compel                           included a delegation clause, which provided as follows:

 arbitration of this claim pursuant to an arbitration provision




                                                                                                                                                    1
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                                                                         judgment standard under Rule 56. Guidotti v. Legal Helpers
        (c) ... All issues are for the arbitrator to decide, including   Debt Resolution, LLC, 716 F.3d 764, 771-72 (3d Cir. 2013).
        the scope and enforceability of this arbitration provision       “Where the affirmative defense of arbitrability of claims is
        as well as the Agreement's other terms and conditions,           apparent on the face of a complaint (or documents relied
        and the arbitrator shall have exclusive authority to             upon in the complaint), the FAA would favor resolving
        resolve any such dispute relating to the scope and               a motion to compel arbitration under a motion to dismiss
        enforceability of this arbitration provision or any other        standard without the inherent delay of discovery.” Id. at
        term of this Agreement including, but not limited to any         773-74 (internal citations omitted). Where arbitrability is not
        claim that all or any part of this arbitration provision or      apparent on the face of the complaint, “the issue should be
        Agreement is void or voidable. However if putative class         judged under the Rule 56 standard.” Id. Here, the issue of
        or representative claims are initially brought by either         arbitrability is not apparent on the face of the complaint
        party in a court of law, and a motion to compel arbitration      and, therefore, Defendant's motion to compel arbitration is
        is brought by any party, then the court shall have the           properly reviewed under the Rule 56 summary judgment
        power to decide whether this agreement permits class or          standard.
        representative proceedings.

                                                                          *3   When applying the Rule 56 standard to a motion to
  (Experian Terms of Use Agreement at 8). In addition, the
                                                                         compel arbitration, a court shall grant the motion when “the
  Arbitration Provision contained a clause concerning class
                                                                         movant shows that there is no genuine dispute as to any
  action claims:
                                                                         material fact and the movant is entitled to judgment as a
                                                                         matter of law.” Fed. R. Civ. P. 56(a); see also Celotex Corp.
        (f) YOU AND [Experian Consumer Services] AGREE
        THAT EACH MAY BRING CLAIMS AGAINST THE
                                                                         v. Catrett, 477 U.S. 317, 317 (1986). A fact is “material”
                                                                         if its existence or non-existence may affect the outcome of
        OTHER ONLY IN YOUR OR ITS INDIVIDUAL
                        AND     NOT     AS    A   PLAINTIFF       OR     litigation, and a dispute is “genuine” if “the evidence is such
        CAPACITY,
                                                                         that a reasonable jury could return a verdict for the nonmoving
        CLASS MEMBER IN ANY PURPORTED CLASS OR
                                                                         party.” Anderson v. Liberty’ Lobby, Inc., All U.S. 242, 248
        REPRESENTATIVE PROCEEDING.
                                                                         (1986). When applying the Rule 56 standard, “the court must
  (Experian Terms of Use Agreement at 9) (emphasis in                    draw all reasonable inferences in favor of the nonmoving
  original).                                                             party.” Guidotti, 716 F.3d at Til.


  At the time of Plaintiffs enrollment, the Terms of Use
                                                                         The moving party—here, Defendant— has the burden of
  Agreement contained an FCRA carve-out, which provided
                                                                         establishing “the absence of a genuine issue of material
  that “any dispute you may have with us arising out of                  fact” by showing that the non-moving party “fail[ed] to
  the Fair Credit Reporting Act (FCRA) relating to the                   make a showing sufficient to establish the existence of
   information contained in your consumer disclosure or
                                                                         an element essential to that party's case.” Celotex, 477
   report, including but not limited to claims for alleged
                                                                         U.S. at 322-23. The non-moving party must then rebut
   inaccuracies, shall not be governed by this agreement
                                                                         the claim by “citing to particular parts of materials in
   to    arbitrate.”   (Experian   Terms     of Use Agreement at
                                                                         the record, including, depositions, documents, electronically
   7). However, on August 13, 2020, Defendant published                  stored information, affidavits or declarations, stipulations ...,
   an amended Terms of Use Agreement which removed
                                                                          admissions, interrogatory answers, or other materials.” Fed.
   the FCRA carve-out but otherwise contained provisions
                                                                         R. Civ. P. 56(c)(l)(A-B). The non-moving party must show
   identical to those stated herein. (See Amended Experian                more than “some metaphysical doubt as to the material
   Terms of Use Agreement, Ex. 4 to Decl. of David Williams,
                                                                          facts[;]” rather, the non-moving party must “go beyond the
   ECF 17-7).
                                                                          pleadings” and “show that there is a genuine issue for trial.”
                                                                         Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 476
                                                                          U.S. 574, 586 (1986); see also Celotex, All U.S. at 324.
LEGAL STANDARD
When addressing a motion to compel arbitration, the Court

must first determine the applicable standard of review; to
                                                                          DISCUSSION
wit: either the motion to dismiss standard under Federal Rule             Defendant moves to compel arbitration based on Plaintiffs
of Civil Procedure (“Rule”) 12 or the motion for summary
                                                                          assent to the Terms of Use Agreement, which contains



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the Arbitration Provision. Specifically, Defendant argues            Accordingly, “if a valid agreement exists, and if the agreement

that the Terms of Use Agreement contains a delegation                delegates the arbitrability issue to an arbitrator, a court

clause (the “Delegation Clause”) that requires an arbitrator,        may not decide the arbitrability issue.” Henry Shein, Inc.,

rather than the court, to decide all questions of arbitrability.     139 S. Ct. at 530. The “arbitrability issue” presumptively

Defendant further argues      that the   Arbitration   Provision     includes “allegations of waiver, delay, or a like defense

requires arbitration on an individual basis, and not in the form     to arbitrability.” Howsam, 537 U.S. at 84 (quoting Moses

of a class action. In opposing the motion, Plaintiff argues he is    H. Cone Memorial Hosp. v. Mercury Constr. Corp., 460

not bound by the current terms of the Terms of Use Agreement         U.S. 1, 25 (1983)). Additionally, a delegation clause may

but, instead, by the terms of the agreement entered at the           delegate the issue of whether a particular dispute falls within

time of his enrollment, which exempted FCRA claims from              the scope of the agreement to the arbitrator. See Singh v.
the Arbitration Provision. Plaintiff also argues that Defendant      Uber Technologies, Inc,, 939 F.3d 210, 228 (3d Cir. 2019)

waived its right to arbitrate because it waited nearly eight         (holding that all questions subject to delegation clause were

months after commencement of this litigation to move to              for arbitrator to decide, including whether parties’ dispute fell

compel arbitration. This Court will first address the threshold      within scope of arbitration agreement).

question of whether the Arbitration Provision's Delegation
Clause requires all issues—including Plaintiffs arguments            If the delegation clause includes the enforceability of the

against arbitration—to be addressed by the arbitrator.               arbitration provision, a court cannot consider the question
                                                                     of enforceability “unless a party challenged the delegation

The FAA “establishes a strong federal policy in favor of             clause and the court concludes that the delegation clause

compelling arbitration over litigation.” Sandvik AB v. Advent        is not enforceable.” Williams v. Medley Opportunity’ Fund

Int'l Corp., 220 F.3d 99, 104 (3d Cir. 2000). The primary            II, LP, 965 F.3d 229, 237 (3d Cir. 2020) (internal citation

substantive provision of the FAA (§ 2) provides that a               and quotations omitted). A party seeking to avoid arbitration

written agreement to arbitrate “shall be valid, irrevocable, and     under those circumstances must “challenge the delegation

enforceable, save upon such grounds as exist at law or in            provision specifically[.]” Id. (quoting Rent-A-Center West,
                                                                     Inc.,   561   U.S.   at 72);   see also Kocjancic    v.   Bayview
equity for the revocation of any contract.” Moses H. Cone
Mem'l Hosp. v. Mercury Constr. Corp., 460 U.S. I, 24 (1983)          Asset Management, LLC, 2014 WL 5786900, *4 (E.D. Pa.

(citing 9 U.S.C. § 2). This provision “reflects the fundamental      Nov. 6, 2014) (compelling arbitration where plaintiff had

principle that arbitration is a matter of contract.” Rent-A-         “not contested the validity of the delegation provision in

 Center, West, Inc. v. Jackson, 561 U.S. 63, 67 (2010). Further,      particular”).

 § 2 “places arbitration agreements on an equal footing with
 other contracts and requires courts to enforce them according        Here, the Arbitration Provision's Delegation Clause provides

 to their terms.” Id. (internal citations omitted).                   that “[a]ll issues are for the arbitrator to decide, including
                                                                      the scope and enforceability of this arbitration provision”

  *4   Before compelling arbitration, a court must typically          and grants the arbitrator “exclusive authority to resolve any

 determine (1) whether a valid agreement to arbitrate exists,         such dispute relating to the scope and enforceability of this

 and (2) whether the particular dispute falls within the scope        arbitration provision or any other term of this Agreement

 of that agreement. Trippe Mfg. Co. v. Niles Audio Corp., 401         including, but not limited to any claim that all or any

 F.3d 529, 532 (3d Cir. 2005). However, when an arbitration           part of this arbitration provision or Agreement is void or

 provision, by “clear and unmistakable evidence,” contains a          voidable.” (Experian Terms of Use Agreement at 8). This

 valid delegation clause, the court's inquiry is limited to the       provision constitutes a “clear and unmistakable” delegation

 first step: determining whether a valid agreement to arbitrate       clause under Henry Shein         and delegates the exclusive

 exists. Henry Shein, Inc., 139 S. Ct. at 530 (“To be sure,           authority to resolve “all issues” to the arbitrator, including

 before referring a dispute to an arbitrator, the court determines    the “scope and enforceability” of the Arbitration Provision.

 whether a valid arbitration agreement exists.”). This “gateway       Notably, Plaintiff has not specifically disputed the Delegation

 dispute about whether the parties are bound by a given               Clause. Therefore, Plaintiffs arguments as to the scope and

 arbitration clause” is for a court to decide. Howsam v. Dean         enforceability of the Arbitration Provision fall under the

 Witter Reynolds, Inc., 537 U.S. 79, 84 (2002).                       arbitrator's authority. “




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                                                                         2014 WL 5786900 at *4. Those issues are to be resolved by
*5 Because the Delegation Clause is valid and uncontested,
                                                                         the arbitrator.
this Court's inquiry is limited to the issue of whether a
valid arbitration agreement exists. To determine whether a
                                                                         Finally,    Defendant   moves   for   Plaintiffs   claims   to   be
valid arbitration agreement exists, courts look to ordinary
                                                                         arbitrated on an individual basis only. The sole exception
state law principles of contract formation. Kirleis v. Dickie,
                                                                         to the arbitrator's authority under the Delegation Clause
McCamey & Chilcote, P.C., 560 F.3d 156, 160 (3d Cir.
                                                                         allows a court to decide “whether this agreement permits
2009). Throughout the inquiry, there is a presumption in
                                                                         class or representative proceedings” if “putative class or
favor of arbitrability. Trippe, 401 F.3d at 529. “Clickwrap”
                                                                         representative claims are initially brought by either party in a
agreements like the one at issue here—where a user's
                                                                         couil of law, and a motion to compel arbitration is brought by
click   indicates   assent   to   the   terms   of use    before   the
                                                                         any partyf.]” (Experian Terms of Use Agreement at 9). Class
user is able to proceed on a website—are evaluated with
                                                                         action waivers are enforceable under the FAA. See AT&T
“traditional principles of contract law and focus on whether
                                                                         Mobility, LLC v. Concepcion, 563 U.S. 333, 333 (201 1 );
the plaintiff) ] had reasonable notice of and manifested
                                                                         see also Quilloin v. Tenet HealthSystem Philadelphia, Inc.,
assent to the clickwrap agreement.” Feldman v. Google,
                                                                         673 F.3d 221, 232 (3d Cir. 2012) (“[T]he Pennsylvania law
Inc., 51.3 F. Supp. 2d 229, 236 (E.D. Pa. 2007). See also
                                                                         prohibiting class action waivers is surely preempted by the
HealthplanCRM, LLC v. AvMed.               Inc., 458 F.    Supp.   3d
                                                                         FAA”). Defendant's Terms of Use Agreement requires that
308, 334 (W.D. Pa. 2020) (“[C]lickwrap agreements are
                                                                         claims by either party be brought on an individual basis,
routinely enforced by the courts.”). Here, reasonable notice
                                                                         rather than as a representative of a class. Plaintiffs assent
was provided when Defendant's website advised Plaintiff that
                                                                         to the Terms of Use Agreement includes assent to the class
“[b]y clicking ‘Submit Secure Order’: |He] accept[s] and
                                                                         action waiver. As such, this Court finds that Plaintiff has
agree[s] to [their] Terms of Use Agreement ...” The full
                                                                         waived his right to bring claims against Defendant as a class
Terms of Use Agreement, J readily available to Plaintiff by              representative. Therefore, Plaintiff must arbitrate his claim on
clicking on the highlighted link, contained the Arbitration              an individual basis.
Provision entitled “DISPUTE RESOLUTION BY BINDING
ARBITRATION.” By clicking the “Submit Secure Order”
button. Plaintiff manifested his assent to the Terms of Use              CONCLUSION
                                                                          This Court finds that a valid agreement to arbitrate exists
Agreement. ” Indeed, Plaintiffs assent is plain from his own
                                                                         within the Terms of Use Agreement. This Court also finds
declaration: “I have not seen any amended terms of use
                                                                          that the class action waiver in the Terms of Use Agreement
beyond the [Terms of Use Agreement] in which I agreed to
                                                                          requires Plaintiff to arbitrate his claim on an individual
in July 2017.” (Decl. of Ramsey Coulter, ECF 25-1, at 1)
                                                                          basis only, and not as a representative of a class. The
 (emphasis added). Because Plaintiff had reasonable notice
                                                                          parties’ remaining disputes are for the arbitrator to decide.
 and manifested his assent, this Court finds the Terms of Use
                                                                          Accordingly, Defendant's motion to compel arbitration is
 Agreement and the Arbitration Provision therein constitute a
                                                                          granted. An Order consistent with this Memorandum Opinion
 valid agreement to arbitrate.
                                                                          follows.

 Consistent   with    the    Arbitration   Provision's    Delegation

 Clause, this Court may not consider the parties’ remaining
                                                                          All Citations
 arguments, including Plaintiff's arguments concerning the
 terms of the agreement and whether Defendant waived its                  Slip Copy, 2021 WL 735726
 right to arbitrate. See Williams, 965 F.3d at 237; Kocjancic,




                                                                   Footnotes




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                                                                         exhibits attached to the parties’ briefs,
1        The facts set forth herein are drawn from the complaint and the
                                                                           For the purposes of this motion, this Court
         including the sworn declarations of David Williams and Plaintiff.
                                                                        le to the non-movant—here, Plaintiff.
         will construe the facts and evidence in the light most favorab

                                                                   Arbitration Provision that he agreed to in 2017.
2        Plaintiff argues that his FCRA claim is exempted from the
                                                                         on Provision is a question of the “scope" of the
         Whether Plaintiffs FCRA claim is subject to the Arbitrati
                                                                           to decide. Plaintiffs remaining argument, that
         Provision, and thus falls within the arbitrator's authority
                                                                       issue” also subject to the arbitrator's authority under
         Defendant waived its right to arbitrate, is an “arbitrability
         the Delegation Clause.

                                                                      n at the time of Plaintiffs enrollment.
3        The Terms of Use Agreement contained an Arbitration Provisio

                                                               able to enroll in Experian CreditWorks, a service he
4        As Defendant explained, Plaintiff would not have been
                                                               2020, unless he first clicked his assent. (See Decl.
         first used in 2017 and has used as late as November
         of David Williams at 3.)




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                                                                          ment Works.                                               b
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                                3
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                                                                                            BACKGROUND
                       2017 WL 733096
      Only the Westlaw citation is currently available.
                                                                       I. FACTUAL BACKGROUND
        United States District Court, N.D. California.

                                                                         A. Plaintiffs Allegations
              Sean Gilbert DEVRIES, Plaintiff,
                                                                       DeVries alleges that on or around September 3, 2014,
                                v.
                                                                       he attempted to obtain a free credit report from
                EXPERIAN INFORMATION
                                                                       www.annualcreditreport.com, which is operated jointly by
               SOLUTIONS. INC.. Defendant.                             Equifax, Inc., TransUnion LLC, and EIS. Complaint (Dkt.
                                                                       No. 1) H 21. He filled out an online form requiring “his
                  Case No. 16-cv-02953-WHO
                                                                       full first name and last name; his middle initial; his current
                                     1
                                                                       address; a previous address if he had moved within the
                        Signed 02/24/2017
                                                                       past two years; his full date of birth ...; any generational
                                                                       information; and his Social Security number.” Id. H 22.
Attorneys and Law Firms


Michael Robert Reese, Reese Richman LLP, New York, NY,                 DeVries          was           then           routed          to

James A. Francis, John Soumilas, Francis and Mailman, P.C.,            www.annualcreditreport.experian.com, which is controlled

 Philadelphia, PA, Melissa Weiner Wolchansky, Halunen and              solely by EIS. Id. There, he was required to answer additional
 Associates, Minneapolis, MN, for Plaintiff.                           questions, including: “the names of persons he associates
                                                                       with; last four digits of his checking account; names of
 John Alexander Vogt, Jones Day, Irvine, CA, Kerry Cordill             persons he has lived with in the last ten years; and trick
 Fowler, Daniel John McLoon, Jones Day, Los Angeles, CA,               questions regarding non-existent mortgages.” Id. D 23. EIS
 Alexandra Alford McDonald, Jones Day, San Francisco, CA,              then rejected his request for his free credit report, stating
 for Defendant.                                                        that it could not verify his identity. Id. 1J 25. EIS requested
                                                                       additional identifying documents, including driver's license,
                                                                       state ID card, utility bill, and bank or insurance statement. Id.
      ORDER GRANTING MOTION TO COMPEL
         ARBITRATION AND MOTION TO STAY                                 Unable to obtain his free credit report, DeVries visited EIS's
                                                                        website, www.experian.com, on September 2, 2014. Id. U
 William H. Orrick, United States District Judge
                                                                        27. After providing “his first and last name, middle initial,
                                                                        current address, date of birth, any generational information,
                       INTRODUCTION                                     and Social Security name,” he purchased an “Experian credit
                                                                        report” for $10.      27-28; Declaration of David Williams
  *1 Plaintiff Sean Gilbert DeVries brings this class action suit       (“First Williams Decl.”) (Dkt. No. 34), Ex. E (Dkt. No. 34-1).
 under the Fair Credit Reporting Act (“FCRA”) and California            He alleges that EIS “requires consumers to provide more
 law against defendant Experian Information Solutions, Inc.             detailed information than is required by statute to frustrate
 (“EIS”) for its alleged failure to provide consumers with              consumers into believing they cannot obtain a free Credit
 their annual free credit reports. EIS now moves to compel              Report, and thus inducing them to purchase a Credit Report.”
 arbitration on an individual basis and stay this action pending        Compl. K 31.
  arbitration. I find that DeVries agreed to the 2014 Terms and
  Conditions, which were later superseded by the 2016 Terms of

  Use. Although that latter agreement carves out certain claims            B. 2014 Terms and Conditions

  arising out of the FCRA, the scope and enforceability of              “At all times in 2014, ordering an Experian credit report

  the arbitration provision is delegated to the arbitrator. I have      over the www.experian.com website required the consumer's

 jurisdiction to rule that EIS did not waive its right to arbitrate     acceptance of the Terms and Conditions.” First Williams
  as a result of its litigation activity here. The motions to compel    Decl. 1 4. When DeVries made his September 2014 purchase,

  arbitration and stay this action are GRANTED.                         “every consumer was required to complete a two-step order
                                                                        process comprised of order page ‘Step 1 of 2’ and order page
                                                                        ‘Step 2 of 2.’ ” Id. 1| 4. After providing a name, email, and




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address on the first order page, a consumer then proceeded to
                                                                                                              [...]
order page “Step 2 of 2.” Id.                           5-6.

                                                                                                              (f) YOU       AND       CIC      AGREE           THAT      EACH     MAY
*2 On order page “Step 2 of 2,” a consumer was required                                                       BRING       CLAIMS        AGAINST             THE         OTHER     ONLY
to enter his or her Social Security Number, birthdate, login                                                  IN YOUR OR ITS INDIVIDUAL CAPACITY, AND
information, and payment information. First Williams Decl.,                                                   NOT AS A PLAINTIFF OR CLASS MEMBER IN
Ex. C. At the bottom of this page is the following:                                                           ANY PURPORTED CLASS OR REPRESENTATIVE
                                                                                                              PROCEEDING.
                                                                                      receipt of our
Click "StfMrwt Secare Order io accept the Terms and Coftfltttons above, acfcnowtedfle
                                                                                        inc,, an Experian
Privacy Hofice and agree to its terms, confirm your authorization for CooiHimerinfoxom,
 company, io obtain your crgdrt report and submit yowr secure order                                         First Williams Decl., Ex. D.

    SUBMIT SECURE ORDER : 5,
                                                                                                            The Terms and Conditions also contain the following
                                                                                                            delegation clause:
Id. Both the “Terms and Conditions” and “Privacy Notice”
were in blue, indicating that they were active hyperlinks that
the consumer could click to be directed to another webpage.
                                                                                                                           All     issues     are   for     the     arbitrator
First Williams Decl.   7. When a consumer clicked on the
                                                                                                                           to    decide,       including          the    scope
“Terms and Conditions” hyperlink, “an additional window
                                                                                                                           and enforceability of this arbitration
would open within the consumer's web browser containing
                                                                                            8.                             provision as well as the Agreement's
 the entire text of the Terms and Conditions.” Id.
                                                                                                                           other     terms      and       conditions,      and
 The Terms and Conditions at the time of DeVries's purchase
                                                                                                                           the   arbitrator      shall     have     exclusive
 contained the following arbitration provision:
                                                                                                                           authority to resolve any such dispute
     DISPUTE                       RESOLUTION                              BY               BINDING                        relating to the scope and enforceability

      ARBITRATION                                                                                                          of    this       arbitration        provision     or

                                                                                                                           any other term of this Agreement,
      PLEASE              READ           THIS         CAREFULLY.                     IT     AFFECTS
                                                                                                                           including, but not limited to any claim
      YOUR RIGHTS.                                                                                                         that all or any part of this arbitration
                                                                                                                           provision or Agreement is void or
      [•••]                                                                                                                voidable.

                      1
      (a) CIC 1            and you agree to arbitrate all disputes and
      claims between us, except any disputes or claims which
                                                                                                             Id.
      under governing law are not subject to arbitration. This
      agreement to arbitrate is intended to be broadly interpreted
      and to make all disputes and claims between us subject to
                                                                                                             Lastly, the Terms and Conditions state that its terms “may
                                                                                                             be updated from time to time” and “[e]ach time you order,
      arbitration to the fullest extent permitted by law.
                                                                                                             access, or use any of the Products, Product Websites, and/or
       [...]                                                                                                 Content, you signify your acceptance and agreement, without
                                                                                                             limitation or qualification, to be bound by the then current
       For the purposes of this arbitration provision, references
                                                                                                             Agreement.” Id.
       to “CIC,” “you,” and “us” shall include our respective
       parent entities, subsidiaries, affiliates, agents, employees,
       predecessors in interest, successors and assigns, websites                                                  C. 201 6 Terms of Use

       of the foregoing, as well as all authorized or unauthorized                                            *3 By April 5, 2016, before this lawsuit was filed in June
       users of beneficiaries of services, products or information                                           2016, EIS's website Terms of Use provided:
       under this or prior Agreements between us ... You agree
       that, by entering into this Agreement, you and CIC are
       each waiving the right to a trial by jury or to participate
                                                                                                                                                                  creating   an
        in a class action ... This arbitration provision shall survive                                                      You      agree      that      by

        termination of this Agreement.                                                                                      account with ECS               ..., or accessing




                                                                                            Works.                                                                                       2
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              or using our ... website(s) (such as
              this website, https://usa.experian.com,
              or any affiliated website (including,                            This Agreement ... constitute^] the
              but not limited to, Experian.com,                                entire Agreement between ECS and
              F reeCreditReport.com,                                           you in connection with your account

              FreeCreditScore.com,                                             with ECS, or access or use of any

              CreditReport.com,                        and                     Service or Website, and supersede^]
              CreditScore.com))     ...,   as   well    as                     any prior versions of the terms and
              any content provided or accessible in                            conditions, if applicable ... In the event

              connection with the website(s) ..., you                          of a conflict between this Agreement,
              represent to ECS that you have read,                             or any other notice, policy, disclaimer

              understood, and expressly consent and                            or other term contained in the Websites
              agree to be bound by this Terms ofUse                            or otherwise,      this Agreement will

              Agreement, and the terms, conditions,                            control.

              and notices contained or referenced
              herein (“Agreement”) whether you are
              a “Visitor” (which means that you                    Id. The 2016 Terms ofUse contain the same delegation clause
               simply browse or access a Website), or              as the 2014 Terms and Conditions.
              a “Customer” (which means that you
              have created an account with ECS, or                 In addition to the Terms of Use, the arbitration provision
               enrolled or registered with a Website,              carve-out for disputes arising out of the FCRA relating
                                                         o

               or are accessing or using a Service). "             to information in consumer disclosures or reports is also
                                                                   included in an updated version of CIC's Terms and
                                                                   Conditions. See Reese Decl., Ex. H; Declaration of Edward
                                                                   S. Chang (Dkt. No. 46-2). The Terms and Conditions were
 Declaration of Michael R. Reese (Dkt. No. 43-1), Ex. G
                                                                   updated in September 2015 and published on the American
 (Dkt. No. 43-9). DeVries accessedwww.experian.com and its
                                                                   Arbitration Association's (AAA) online Consumer Clause
 accompanying subpages on approximately May 1 8, 20 1 6, and
                                                                   Registry on December 23, 2015. Chang Decl.            3-4.
 September 16, 2016. Declaration of Sean DeVries (Dkt. No.
 43-11)1(2.

                                                                   II. PROCEDURAL BACKGROUND
 The 2016 Terms of Use Agreement contains an arbitration                                                                 class action
                                                                    *4   On June    2,    2016,   DeVries   filed this
 provision, but includes the following carve-out:
                                                                   suit asserting five causes of action under: (1) the Fair
                                                                   Credit Reporting Act (“FCRA”), 15 U.S.C. § 1681g(a); (2)
                                                                   the FCRA, 15 U.S.C. §          1681J; (3) the California Unfair
               [F]or the avoidance of doubt,            any
                                                                   Competition Law (“UCL”), Cal. Bus. & Prof. Code § 17200
               dispute you may have with us arising
                                                                   el seq.; (4) the California Consumer Legal Remedies Act
               out of the Fair Credit Reporting Act
                                                                   (“CLRA”), Cal. Civ. Code § 1750 et seq.; and (5) the
               (“FCRA”) relating to the information
                                                                   California Consumer Credit Reporting Agencies Act, Cal.
               contained in your consumer disclosure                                                                            1). On
                                                                   Civ. Code § 1785.1 et seq. Complaint (Dkt. No.
               or report, including but not limited to
                                                                    August 16, 2016, EIS filed its answer, asserting 14 affirmative
               claims for alleged inaccuracies, shall
                                                                    defenses (not including arbitration) and reserving its right
                not be governed by this agreement.
                                                                    to assert additional defenses “as may become available or
                                                                    apparent during the course of discovery.” Answer (Dkt.
                                                                    No. 26) at 17. I issued an order governing the treatment
  Reese Decl., Ex. G. Outside of this carve-out provision, the      of confidential discovery. Dkt. No. 28. EIS now moves to
  agreement to arbitrate includes “claims that arose before this    compel arbitration (Dkt. No. 31) and stay the action (Dkt.
  or any prior Agreement.” Id. The Terms of Use also provide:       No. 33). I granted EIS's request to stay discovery pending the

                                                                    resolution of this motion. Dkt. No. 38. 3


                                                                                                                                    3
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                                                                                            DISCUSSION

                   LEGAL STANDARD
                                                                    *5 EIS moves to compel arbitration on an individual basis
                                                                    and stay this action. DeVries presents four arguments against
I. MOTION TO COMPEL ARBITRATION
                                                                    compelling arbitration: (1) he did not consent to the 2014
The Federal Arbitration Act (“FAA”) governs the motion to
                                                                    Terms and Conditions; (2) even if he did consent, his claims
compel arbitration. 9 U.S.C. §§ 1 et seq. Under the FAA,
                                                                    fall within the carve-out to the superseding 2016 Terms of
a district court determines (1) whether a valid agreement to
                                                                    Use arbitration provision; (3) EIS waived its right to compel
arbitrate exists and, if it does, (2) whether the agreement
                                                                    arbitration; and (4) the arbitration agreement is a violation of
encompasses the dispute at issue. Lifescan, Inc. v. Premier
                                                                    public policy. EIS argues that DeVries did consent to the 20 14
Diabetic Servs., Inc., 363 F.3d 1010, 1012 (9th Cir. 2004).
                                                                    Terms and Conditions and that his remaining three arguments
“To evaluate the validity of an arbitration agreement, federal
                                                                    are for the arbitrator to decide.
courts should apply ordinary state-law principles that govern
the formation of contracts.” Ingle v. Circuit City Stores. Inc.,
328 F.3d 1165, 1170 (9th Cir. 2003) (internal quotation marks
                                                                    I. EXISTENCE OF AN AGREEMENT
and citation omitted). If the court is “satisfied that the making
of the arbitration agreement or the failure to comply with             A. 2014 Terms and Conditions
the agreement is not in issue, the court shall make an order        DeVries contends that he did not agree to the arbitration
directing the parties to proceed to arbitration in accordance       provision contained in the 2014 Terms and Conditions when
 with the terms of the agreement.” 9 U.S.C. § 4. “[A]ny doubts      he purchased his credit report online and, therefore, the
 concerning the scope of arbitrable issues should be resolved       required element of mutual assent is missing. “[M]utual
 in favor of arbitration,)]” Moses H. Cone Mem'l Hosp. v.           manifestation of assent, whether by written or spoken word
 Mercury Constr Corp., 460 U.S. 1, 24-25 (U.S. 1983).               or by conduct, is the touchstone of contract.” Nguyen v.
                                                                     Barnes & Noble Inc., 763 F.3d 1171, 1175 (9th Cir. 2014)
                                                                     (citing Specht v. Netscape Commc'ns Corp., 306 F.3d 17,
 II. MOTION TO STAY
                                                                     29 (2d Cir. 2002)). “Mutual assent may be manifested by
 Under § 3 of the FAA, “[i]f any suit or proceeding is brought
                                                                     written or spoken words, or by conduct, and acceptance of
 in a court of the United States upon any issue referable to
                                                                     contract terms may be implied through action or inaction.”
 arbitration under such an agreement .... the court ... shall ...
                                                                     Knutson v. Sirius XM Radio Inc., TH F.3d 559, 565 (9th
 stay the trial of the action.” 9 U.S.C. § 3; see also AT&T
                                                                     Cir. 2014) (internal citations and quotation marks omitted)
 Mobility LLC v. Concepcion, 563 U.S. 333, 344 (2011).

 Where plaintiffs assert both arbitrable and nonarbitrable
                                                                     (applying California law). 4 Without mutual assent, there is
                                                                     no agreement to arbitrate. EIS, “as the party seeking to compel
 claims, district courts have “discretion whether to proceed
                                                                     arbitration, has the burden of proving the existence of an
 with the nonarbitrable claims before or after the arbitration
                                                                     agreement to arbitrate by a preponderance of the evidence.”
 and have authority to stay proceedings in the interest of saving
                                                                     Id. at 565.
 time and effort for itself and litigants.” Nitsch v. DreamWorks
 Animation SKG Inc., 100 F. Supp. 3d 851, 870 (N.D. Cal.
                                                                     Tn general, “[c]ontracts formed on the Internet come primarily
 2015) (internal quotation marks and citations omitted); see
                                                                     in two flavors: ‘clickwrap’ (or ‘click-through’) agreements,
 also Leyva v. Certified Grocers of California, Ltd., 593 F.2d
                                                                     in which website users are required to click on an T agree’
  857, 863-64 (9th Cir. 1979). “A stay is not a matter of right,
                                                                     box after being presented with a list of terms and conditions of
 even if irreparable injury might otherwise result[, but] is
                                                                     use; and ‘browsewrap’ agreements, where a website's terms
 instead an exercise ofjudicial discretion, and the propriety of
                                                                     and conditions of use are generally posted on the website via
  its issue is dependent upon the circumstances of the particular
                                                                     a hyperlink at the bottom of the screen.” Nguyen, 763 F.3d at
  case.” Nken v. Holder, 556 U.S. 418, 433 (2009) (internal
                                                                      1175-76.
  quotation marks and citations omitted). “The party requesting
  the stay bears the burden of showing that the circumstances
                                                                      Here, on order page “Step 2 of 2,” directly above the “Submit
 justify an exercise of that discretion.” Id. at 433-34.
                                                                      Secure Order” button, EIS stated:




                                                                                                                                   4
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                                                                    The text containing the Terms and Conditions hyperlink was
                                                                    located directly above that button and indicated that clicking
                                                                    “Submit Secure Purchase” constituted acceptance of those
            Click     “Submit    Secure    Order”   to
                                                                    terms. In Tompkins v. 23andMe, Inc. , the court found that the
             accept    the   Terms   and   Conditions
                                                                    plaintiffs had received adequate notice of the Terms of Service
             above, acknowledge receipt of our
                                                                    (“TOS”) where “during the account creation and registration
             Privacy    Notice   and   agree   to   its
                                                                    processes, each named Plaintiff clicked a box or button that
             terms, confirm your authorization for
                                                                    appeared near a hyperlink to the TOS to indicate acceptance
             Consumerlnfo.com, Inc., an Experian
                                                                    of the TOS.” No. 13-cv-05682-LHK, 2014 WL 2903752, at
             company, to obtain your credit report
                                                                    *8 (N.D. Cal. June 25, 2014), affd, No. 14-16405, 2016 WL
             and submit your secure order.
                                                                    6072192 (9th Cir. Oct. 13, 2016). The court explained that
                                                                    “[t]he fact that the TOS were hyperlinked and not presented
                                                                    on the same screen does not mean that customers lacked
First Williams Decl., Ex. C. The phrases “Terms and
                                                                    adequate notice.” Id. (citing Fteja, 841 F. Supp. 2d 829).
Conditions” and “Privacy Notice” were in blue, a different
color than the rest of the text, indicating that they were
                                                                    Similarly, in Graf v. Match.com, LLC, the court held that
active hyperlinks that the consumer could click to be directed
                                                                    a plaintiff assented to an arbitration clause where evidence
to another webpage. First Williams Decl. TJ 8. When a
                                                                    showed that all website users “were required to affirmatively
consumer clicked on the “Terms and Conditions” hyperlink,
                                                                    agree to the Terms of Use when they clicked on a ‘Continue’
“an additional window would open within the consumer's
                                                                    or other similar button on the registration page where it
web browser containing the entire text of the Terns and
                                                                    was explained that by clicking on that button, the user was
Conditions,” including the arbitration provision. Id. Thus,
                                                                     affirming that they would be bound by the Terms of Use,
the Terms and Conditions “are somewhat like a browsewrap
                                                                     which were always hyperlinked and available for review.”
 agreement in that the terms are only visible via a hyperlink,
                                                                    No. CV 15-391 1 PA (MRWx), 2015 WL 4263957, at *4
 but also somewhat like a clickwrap agreement in that the user
                                                                     (C.D. Cal. July 10, 2015). See also Crawford v. Beachbody,
 must do something else—click [“Submit Secure Order”] —to
                                                                     LLC, No. 14-cv-1583-GPC (KSC), 2014 WL 6606563, at
 assent to the hyperlinked terms.” Fteja v. Facebook, Inc., 841
                                                                     *3 (S.D. Cal. Nov. 5, 2014) (noting that “[c]ourts have held
 F. Supp. 2d 829, 838 (S.D.N.Y. 2012).
                                                                     that a modified or hybrid clickwrap/browsewrap agreement
                                                                     constitutes a binding contract where the user is provided with
 The Ninth Circuit has held that “where a website makes
                                                                     an opportunity to review the terms of service in the form of a
 its terms of use available via a conspicuous hyperlink on
                                                                     hyperlink immediately under the ‘I Accept’ button and clicks
 every page of the website but otherwise provides no notice
                                                                     that button,” and enforcing such an agreement in that case).
 to users nor prompts them to take any affirmative action to
 demonstrate assent, even close proximity of the hyperlink
                                                                     DeVries relies on two out of circuit cases, Nicosia v.
 to relevant buttons users must click on—without more—is
                                                                     Amazon.com, Inc., 834 F.3d 220 (2d Cir. 2016) and Meyer v.
 insufficient to give rise to constructive notice.” Nguyen, 763
                                                                     Kalanick, No. 15 CIV. 9796, 2016 WL 4073071 (S.D.N.Y.
 F.3d at 1178—79. However, “[c]ourts have also been more
 willing to find the requisite notice for constructive assent
                                                                     July 29, 2016). Both are distinguishable. 5 In Nicosia,
                                                                     Amazon's order page included a “Place your order button”
 where the browsewrap agreement resembles a clickwrap
                                                                     on the right side of the page. 834 F.3d at 236. The top
 agreement—that is, where the user is required to affirmatively
                                                                     of the page stated, “By placing your order, you agree to
 acknowledge the agreement before proceeding with use of
                                                                     Amazon.com's privacy notice and conditions of use.” Id.
 the website.” Id. at 1 176. A court may find that an individual
                                                                     The “privacy notice” and “conditions of use” appeared in
 assented to an electronic agreement if “a reasonably prudent
                                                                     blue as hyperlinks. Id. The court found that “[n]othing about
 user” would have been put “on inquiry notice of the terms of
                                                                     the ‘Place your order’ button alone suggests that additional
 the contract.” Id. at 1177.
                                                                     terms apply, and the presentation of terms is not directly

                                                                     adjacent to the ‘Place your order’ button so as to indicate
  *6 DeVries argues that he did not consent to or have notice
                                                                      that a user should construe clicking as acceptance.” Id. at
  of the arbitration provision “by clicking on a button that did
                                                                      236-37. Additionally, the court noted that “there appear to
  not mention, display, link to, or otherwise reference the Terms
                                                                      be between fifteen and twenty-five links on the Order Page,
  and Conditions.” Oppo. at 4. This argument is unpersuasive.




                                                                                                                                  5
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and various text is displayed in at least four font sizes
and six colors (blue, yellow, green, red, orange, and black),
alongside multiple buttons and promotional advertisements.                    This Agreement ... constitute [s] the
Further, the presence of customers' personal address, credit                  entire Agreement between ECS and

card information, shipping options, and purchase summary                      you in connection with your account

are sufficiently distracting so as to temper whatever effect                  with ECS, or access or use of any

the notification has.” Id. at 237. In contrast, the notice                    Service or Website, and supersede^]

here is located “directly adjacent” to the “Submit Secure                     any prior versions of the terms and
Order” button. Nor did the order page contain a multitude of                  conditions, if applicable ... In the event
                                                                              of a conflict between this Agreement,
hyperlinks or other distracting content. 6 Nicosia would not
                                                                              or any other notice, policy, disclaimer
preclude a finding of mutual assent here.
                                                                               or other term contained in the Websites
                                                                               or    otherwise,      this   Agreement will
 *7 In Meyer, the court found no mutual assent where an Uber
                                                                               control.
registration screen “did not adequately call users' attention
to the existence of the Terms of Service, let alone to the
fact that, by registering to use Uber, a user was agreeing to
them.” 2016 WL 407307 1 , at *9. Below fields to enter credit     Reese Decl., Ex. G. Notably, the 2014 Terms and Conditions
card information, a “Register” button, a “PayPal” button, and     contained a change-in-terms provision, stating that its terms
a “Google Wallet” button, the registration screen provided,       “may be updated from time to time by posting revised Terms

“By creating an Uber account, you agree to the Terms of           and Conditions on the Product Websites” and that “(e]ach

Service & Privacy Policy” in small font. Id. at *4. Although      time you order, access, or use any of the Products, Product

the “Register” button was “very user-friendly and obvious,”       Websites, and/or Content, you signify your acceptance and

the “statement about ‘Terms of Service’ appears far below         agreement, without limitation or qualification, to be bound

 and in much smaller font,”—indeed, in “a font that was           by the then current Agreement.” First Williams Decl., Ex.
 barely legible on the smartphone device that a would-be Uber     D. DeVries asserts that because he visited EIS's website on

 registrant could be expected to use.” Id. at *6, 8. Here, the    approximately May 18, 2016, and September 16, 2016 (once

 relevant language's proximity to the “Submit Secure Order”       before he filed this lawsuit, and once after), the 20 1 6 Terms

 button and font size adequately call a reasonably prudent        of Use is the operative agreement governing his claims with

 user's attention to the existence of the Terms and Conditions.   ETS. DeVries Decl.,        2. Neither party argues that DeVries did

                                                                  not assent to this agreement.

 For these reasons, I conclude that DeVries accepted the 2014
                                                                                              have     enforced   new   terms   where
 Terms and Conditions when he purchased his credit report         In   general,     courts

 from EIS, and I reject DeVries's argument that no arbitration    prior agreements included change-in-terms provisions. For
                                                                  instance, in Daugherty v. Experian Information Solutions,
 agreement exists with EIS. 7
                                                                  Inc., the defendant bank mailed to credit cardholders a
                                                                  written change-in-terms notice to inform cardholders that it

    B. 2016 Terms of Use                                          “was making certain changes to the cardholder agreement,

 DeVries argues that even if he did agree to the arbitration      including changes regarding binding arbitration of disputes

 provision in the 2014 Terms and Conditions, that agreement       and the law governing their credit cards” in 2003. 847 F.

 has been superseded by EIS's Terms of Use in effect by April     Supp. 2d 1189, 1191 (N.D. Cal. 2012) (Armstrong, J.). The

 5, 2016. Oppo. at 10. The 2016 Terms of Use arbitration          notice also included a change of terms provision, allowing

 provision contains a carve-out for disputes “arising out of       defendant to make changes to the agreement at any time and

 the [FCRA] relating to the information contained in your          providing that such changes are binding unless the cardholder

 consumer disclosure or report, including but not limited to       notifies the defendant that he or she does not agree within 25

 claims for alleged inaccuracies.” Reese Decl., Ex. G. The         days. Id. at 1 1 92. In 2006, the defendant notified the plaintiff

 Terms of Use also provide:                                        of changes to the terms governing his agreement, including
                                                                   the arbitration provision. Id. More than 25 days later, the
                                                                   defendant received a letter from the plaintiff, requesting that
                                                                   his account be cancelled. Id. In 2011, the plaintiff filed




                                                                                                                                   6
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suit under the FCRA and California state law against the                  is nothing for the 2016 Terms of Use to supersede. Reply
                                                                          at 10. The 2014 Terms and Conditions provide only that a
defendant bank, as well as several credit reporting agencies,
                                                                          consumer could access his or her credit report or score for 30
for alleged inaccuracies in his 2008 and 2009 credit reports.
Id. at 1 192-93. The defendant moved to compel arbitration
                                                                          days from the date of payment; it does not say that the Terms
                                                                          and Conditions expire in 30 days. First Williams Dec!., Ex. D.
under the 2006 cardholder agreement. Id. at 1193. Granting
                                                                          Instead, the final section of the Terms and Conditions, entitled
the motion to compel, the court found that the defendant
                                                                          “Entire Agreement,” provides that the “Terms and Conditions
had expressly reserved its right to change the terms of the
                                                                          are effective until terminated by CIC.” Id. Moreover, the 2016
credit card agreement and that plaintiff had failed to cancel
                                                                          Terms of Use are broadly written to include any visit, whether
his account before the new agreement became effective. Id.
                                                                          it resulted in a transaction or not. Reese Decl., Ex. G.
at 1 195-96. See also Cayanan v. Citi Holdings, Inc., 928 F.
Supp. 2d 1182, 1188, 1200 (S.D. Cal. 2013) (granting motion
to compel based on arbitration provision contained in notice
                                                                          Equally unpersuasive is EIS's argument that the Terms of

of change of terms where the credit cardholder did not opt
                                                                          Use govern only claims that DeVries may assert arising from
                                                                          his 2016 visits to the website. Reply at 10. The Terms of
out).
                                                                          Use explicitly include in its agreement to arbitrate “claims

                  have    also   consistently    applied   arbitration    that arose before this or any prior Agreement,” unless such
 *8     Courts
agreements retroactively where the agreements explicitly
                                                                          claims fall within the carve-out provision. Reese Decl., Ex. G.

subsume prior agreements or facially apply to disputes
                                                                          Therefore, I find that the 2016 Terms of Use is the operative

arising   prior    to    the   agreement.   In   re   Verisign,   Inc.,   agreement.


Derivative Litigation is instructive. See 53 1 F. Supp. 2d
1173 (N.D. Cal. 2007) (Hamilton, J.). There, shareholders
                                                                           II. DELEGATION OF ARBITRABILITY
brought a derivative action on behalf of VeriSign against
                                                                           DETERMINATIONS
 several defendants, including VeriSign's independent auditor,
                                                                           DeVries offers three additional arguments against the motion
 KPMG, for violations related to alleged backdating of stock
                                                                           to compel arbitration: (1) the claims fall within the 2016
 option grants. Id. at 1179, 1181. KPMG audited VeriSign's
                                                                           Terms of Use arbitration carve-out; (2) EIS waived its right
 financial statements for fiscal years 1998 through 2005. Id.
                                                                           to enforce the arbitration provision; and (3) the arbitration
 at 1223. A separate engagement letter governed KPMG's
                                                                           provision is a violation of public policy. However, EIS asserts
 services to VeriSign for each fiscal year. Id.            The 2005
                                                                           that I cannot decide these issues because the arbitration
 engagement letter contained an arbitration clause, but all
                                                                           provision delegates questions of arbitrability to the arbitrator.
 previous engagement letters did not. Id.             The arbitration
                                                                           Reply at 8.
 provision applied to “any dispute or claim arising out of or

 relating to the engagement between the parties, the services
                                                                           “The [FAA] establishes that, as a matter of federal law,
 provided thereunder, or any other services provided by or on
                                                                           any doubts concerning the scope of arbitrable issues should
 behalf of KPMG.” Id. The court rejected plaintiffs' argument
                                                                           be   resolved   in   favor   of arbitration.” Moses   II.   Cone,
 that the arbitration provision did not apply because the events
                                                                           460 U.S. at 24-25. Nevertheless, “so-called ‘question[s] of
 underlying their claims occurred before the parties executed
                                                                           arbitrability’ [—] which include certain gateway matters,
 the 2005 engagement letter. Id. at 1224. In particular, the
                                                                           such as whether parties have a valid arbitration agreement
 court emphasized that the engagement letter covered not just
                                                                           at all or whether a concededly binding arbitration clause
 disputes arising out of that agreement, but also “any other
                                                                           applies to a [particular] controversy [—] are presumptively
 services provided by or on behalf of KPMG.” Id.
                                                                           for courts to decide.” Oxford Health Plans LLC v. Sutter,
                                                                            133 S.Ct. 2064, 2068 n.2 (2013) (some internal quotation
 EIS argues that these cases are distinguishable because they
                                                                           marks omitted); see also Momot v. Mastro, 652 F.3d 982,
 involved continuing business relationships but cites no law in
                                                                           987 (9th Cir. 2011) (issues that “contracting parties would
 support of this proposition. If EIS argued that the provision
                                                                           likely have expected a court to have decided” are “gateway
 was unenforceable because of the nature of DeVries's visits
                                                                           questions of arbitrability” to be determined by the court, not
  in 2016, 1 might be more sympathetic. But EIS contends that
                                                                            the arbitrator). This rule flows from the “principle that a party
  DeVries's credit report order underlying this lawsuit (along
                                                                            can be forced to arbitrate only those issues it specifically has
 with the 2014 Terms and Conditions, with the exception of
                                                                            agreed to submit to arbitration.” First Options of Chicago,
  the arbitration provision) expired after 30 days, and so there
                                                                            Inc. v. Kaplan, 514 U.S. 938, 945 (1995).



                                                                                                                                           7
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                                                                         and unmistakable agreement to arbitrate the question of
                                                                         arbitrability. Id.
*9 “Although gateway issues of arbitrability presumptively
are reserved for the court,         the parties may agree to
                                                                         In   Mohamed v.         Uber      Technologies,        Inc.,    the    relevant
delegate them to the arbitrator.” Momot, 652 F.3d at
                                                                         arbitration provisions stated:
987. In other words, parties can “agree to arbitrate”
questions of arbitrability. Rent-A-Ctr, W., Inc. v. Jackson, 561
U.S. 63, 68-69 (2010) (internal quotation marks omitted).
                                                                                                  disputes         include        without
For arbitration agreements governed by the FAA, courts                                  Such

considering whether the parties have agreed to arbitrate                                limitation disputes arising out of or

questions of arbitrability “should apply federal arbitrability                          relating to interpretation or application

law absent clear and unmistakable evidence that the parties                             of this Arbitration Provision, including
                                                                                               enforceability,         revocability       or
agreed to apply nonfederal arbitrability law.” Cape Flattery                            the

Ltd. v. Titan Mar., LLC, 647 F.3d 914, 921 (9th Cir. 2011)                              validity of the Arbitration Provision
                                                                                                                  of the     Arbitration
(internal quotation marks omitted). Under federal arbitrability                         or any      portion

law, “[w]hen deciding whether the parties agreed to arbitrate                           Provision.

a certain matter (including arbitrability), courts ... should
apply ordinary state law principles that govern the formation
of contracts.” First Options, 514 U.S. at 944. Because                    No. 15-16178, 2016 WL 7470557, at *3 (9th Cir. Dec. 21,
 questions of arbitrability are presumptively for courts to               2016). The Ninth Circuit, noting that this language was “more
 decide, however, courts “apply a more rigorous standard                  expansive” than that in Momot, held that this delegation
 in determining whether the parties have agreed to arbitrate              provision “also clearly and unmistakably indicates the parties'
 [such] question[s].” Momot, 652 F.3d at 987. “Courts should              intent for the arbitrators to decide the threshold question of
 not assume that the parties agreed to arbitrate arbitrability            arbitrability.” Id. at *4 (internal quotation marks omitted).
 unless there is clear and unmistakable evidence that they did
 so.” First Options, 514 U.S. at 944 (internal quotations marks           I find that the delegation provision here resembles that in
 and alterations omitted).                                                Mohamed and constitutes clear and unmistakable evidence
                                                                          that the parties agreed that the arbitrator will decide the
 The Ninth Circuit has found certain language to be “clear                questions of arbitrability. The 2016 Terms of Use state:
 and unmistakable evidence” of parties' intent to arbitrate
 questions   of arbitrability.     For   instance,   in   Momot,   the

 delegation clause provided:                                                             All     issues     are    for    the     arbitrator

                                                                                         to    decide,       including          the     scope

                                                                                         and enforceability of this arbitration
              If a dispute arises out of or relates                                      provision as well as the Agreement's
              to this Agreement, the relationships                                       other     terms      and      conditions,       and

              that result from this Agreement, the                                       the   arbitrator      shall     have     exclusive
              breach     of this    Agreement        or   the                            authority to resolve any such dispute
              validity   or   application     of any       of                            relating to the scope and enforceability
              the provisions        of this    Section     4,                            of    this       arbitration     provision        or

              and, if the dispute cannot be settled                                       any other term of this Agreement,
               through negotiation, the dispute shall                                     including, but not limited to any claim
              be resolved exclusively by binding                                          that all or any part of this arbitration
               arbitration.                                                               provision or Agreement is void or

                                                                                          voidable.



  Momot, 652 F.3d at 988 (original emphasis). The court
  held that the italicized language delegating to arbitrators
  the authority to decide "the validity or application of any
  provisions of’ the arbitration clause constituted a clear




                                                                               Works.                                                                      8
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                                                                            objections with respect to the existence, scope, or validity
                        8                                                   of the arbitration agreement or to the arbitrability of any
Reese Decl., Ex. G. 8 The parties have not identified any
                                                                            claim or counterclaim.” Reply at 9 n.6. Evaluating the same
conflicting terms in the remainder of the agreement that
                                                                            language, the Ninth Circuit has held that “incorporation of the
would make the issue of delegation ambiguous.
                                                                            AAA rules constitutes clear and unmistakable evidence that
                                                                            contracting parties agreed to arbitrate arbitrability.” Brennan
In regards to DeVries's argument about the carve-out
provision, there is no question that claims within the carve-out
                                                                            v. Opus Bank, 196 F.3d 1125, 1130 (9th Cir. 2015).

provision are for the court, rather than the arbitrator, to decide.
But the delegation clause reserves for the arbitrator the issues
                                                                            Although Brennan stated that it did “not foreclose the

of scope and enforceability. Therefore, the determination of
                                                                            possibility that this rule could also apply to unsophisticated

which, if any, of DeVries's claims fall within the carve-                   parties or to consumer contracts,” the court limited its

out is an issue that the parties clearly and unmistakably                   holding to the facts of its case involving an arbitration

delegated to the arbitrator to decide in the first instance. See
                                                                            agreement between sophisticated parties. Id. at 1 130-31. The

Oracle Am., Inc. v. Myriad Grp. A.G., 724 F.3d 1069, 1076
                                                                            Ninth Circuit “has not determined whether incorporation

(9th Cir. 2013) (holding that the determination of whether                  of the AAA rules can be clear and unmistakable evidence

claims fell within the arbitration provision carve-out was                  of delegation of arbitrability where one party is an

delegated to the arbitrator). Similarly, the issue of whether the           unsophisticated consumer.” Ingalls v. Spotify USA, Inc.,

arbitration agreement violates public policy goes to whether                No.l6-cv-3533-WHA, 2016 WL 6679561, at *3 (N.D. Cal.

 the arbitration agreement is enforceable, void, or voidable and            Nov.     14, 2016) (original emphasis). However, “[e]very

 is, therefore, also for the arbitrator to decide.
                                                                             district court decision in our circuit to address the question
                                                                             since Brennan has held that incorporation of the AAA rules

  *10 However, the parties did not clearly and unmistakably                  was insufficient to establish delegation in consumer contracts

 delegate to the arbitrator the issue of waiver by litigation                involving at least one unsophisticated party.” Id. (collecting

 conduct. In Cox v. Ocean View Hotel Corp., the arbitration                  cases). EIS has not argued that DeVries is a sophisticated

 agreement provided that “[a]ny controversy ... involving                    party rather than an ordinary consumer. And “[e]ven in

 the construction or application of the terms, provisions, or                circuits that have concluded that incorporation of the AAA

 conditions of this Agreement or otherwise arising out of                    rules constitutes a clear and unmistakable agreement that

 or related to this Agreement shall likewise be settled by                   the parties will arbitrate arbitrability, courts have properly

 arbitration.” 533 F.3d 1 1 14, 1 1 1 7 (9th Cir. 2008). Evaluating          addressed the question of waiver through litigation conduct

 this language, the Ninth Circuit found that the court, not                  despite incorporation of the AAA rules.” Money Mailer, LLC

 the arbitrator, should decide the issue of waiver. Id. at 1121.             v. Brewer, No. C 1 5- 1 2 1 5RSL, 20 1 6 WL 1 393492, at *3 (W.D.

 In Martin v. Yasuda, the Ninth Circuit similarly found that                 Wash. Apr. 8, 2016) (citing Plaintiffs Shareholders Corp. v.

 an agreement providing that “[a]ll determinations as to the                 S. Farm Bureau Life Ins. Co., 486 Fed. Appx. 786, 789-90

 scope, enforceability and effect of this arbitration agreement              ( 1 1 th Cir. 20 1 2)); see also Cox, 533 F.3d at 1 1 1 7, 1 1 2 1 (court

 shall be decided by the arbitrator, and not by a court”                     resolving waiver by litigation issue despite delegation clause

 was “insufficient to show intent that an arbitrator decide                  and where the arbitration provision incorporated the AAA

 the waiver by litigation conduct issue and to overcome the                  Model Employment Arbitration Procedures). Incorporation

 presumption to the contrary.” 829 F.3d 1118, 1 1 20, 1124 (9th              of the AAA Rules here does not require that the issue of

 Cir. 2016). Because the delegation provision at issue here                  waiver be decided by the arbitrator.

 resembles that at issue in Martin, I should resolve the issue
                                                                              *11   In sum, the issues of whether DeVries's claims fall
  of waiver. 9
                                                                             within the arbitration carve-out and whether the arbitration

                                                          left   to   the     agreement violates public policy are for the arbitrator. I will
  EIS   argues   that   the   issue   of waiver      is
                                                                              resolve the issue of waiver below.
  arbitrator because the Terms and Conditions incorporate
  the American Arbitration Association's (AAA) Commercial

  Dispute   Resolution      Procedures   and   the    Supplementary
                                                                              III. WAIVER
  Procedures for Consumer Related Disputes. Rule 7(a) of the
                                                                              “A determination of whether the right to compel arbitration
  Commercial Rules states that the “arbitrator shall have the                                                 be   conducted      in   light of the
                                                                              has   been   waived must
  power to rule on his or her own jurisdiction, including any
                                                                              strong federal policy favoring enforcement of arbitration




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                                                                   3. I issued an order governing the treatment of confidential
agreements.” Martin, 829 F.3d at 1124 (internal quotation
                                                                   discovery (Dkt. No. 28). On September 8, 2016, DeVries
marks omitted). A party arguing waiver of the ability
                                                                   served its First Set of Interrogatories and First Set of Requests
to arbitrate “bears a heavy burden of proof’ and must
                                                                   for Production of Documents. Reese Decl. H 5. On September
demonstrate three factors: “(1) knowledge of an existing right
                                                                   13, 2016, DeVries's counsel responded to EIS's requests for
to compel arbitration; (2) acts inconsistent with that existing
                                                                   his identifying information in a document titled “Plaintiffs
right; and (3) prejudice to the party opposing arbitration
                                                                   Response to Defendant's Discovery Request (Interrogatory
resulting from such inconsistent acts.” Id. (citing Fisher
                                                                   No. 1). Reese Decl. *| 4; Fowler Decl.,     3-12. On September
v. A.G. Becker Paribas Inc., 791 F.2d 691, 694 (9th Cir.
                                                                   19, 2016, the parties served their respective initial disclosures
1986)). 10
                                                                   pursuant to Federal Rule of Civil Procedure 26(a). Reese
                                                                   Decl. *i‘! 8-9. EIS filed its motion to compel arbitration
                                                                   on September 21, 2016, and I granted its request to stay
   A. Knowledge
                                                                   discovery pending the resolution of this motion.
DeVries asserts that EIS knew of its right to arbitrate
because it drafted the Terms and Conditions of the arbitration
provision. Oppo. at 14. He also argues that EIS had all the        DeVries argues that EIS acted inconsistently with its right

necessary information to determine whether it could arbitrate      to arbitrate because EIS: (1) failed to plead arbitration
                                                                   as an affirmative defense, and (2) took advantage of the
DeVries's claims because the Complaint provided Devries's
                                                                   litigation process. Oppo. at 16. EIS responds that it could
name and city of residence. Oppo. at 15. Every person who
purchased an Experian credit report in 2014—when DeVries
                                                                   not have pleaded arbitration as an affirmative defense
                                                                   in good faith without first verifying the existence of an
bought his report—had to accept the Terms and Conditions,
which included an arbitration provision. Oppo. at 1 5 (citing       arbitration agreement with DeVries. To do so, it needed

 First Williams Decl. U 4). DeVries contends that EIS “could        DeVries's identifying information, which it did not receive

 easily have checked its accounting records to determine            until September 13, 2016. Because EIS was waiting for

 whether DeVries made a purchase.” Oppo. at 15.                     DeVries's identifying information, I agree with EIS that its
                                                                    failure to plead arbitration as an affirmative defense does not

 EIS contends that it did not have the information it needed        amount to waiver. Absent a showing of prejudice, the fact that
                                                                    EIS “failed to raise an affirmative defense is inadequate by
 to determine whether DeVries had entered into a contract
 with an arbitration provision. Reply at 12. “In order to verify    itself to support a claim of waiver of arbitration.” Fisher v.

 that a particular consumer purchased products from CIC, CIC        A.G. Becker Paribas, Inc., 791 F.2d 691, 698 (9th Cir. 1986).

 needs additional identifying information beyond a consumer's
 name, such as the address, date of birth or social security        Additionally, I find that EIS did not take advantage of

 number entered in the order process.” First Williams Decl.         the litigation process. Courts have found waiver through

   16. Despite repeated requests from EIS starting June 17,         litigation conduct where a party unreasonably delayed

 2016, DeVries's counsel did not provide this information until     moving to compel arbitration and actively litigated the case.

 September 13, 2016. Declaration of Kerry C. Fowler (Dkt.           For instance, in Martin, the Ninth Circuit found defendants

 No. 31-1)    3-12. Once EIS received this information, it          engaged in conduct inconsistent with their right to arbitrate

 was able to determine that DeVries had agreed to arbitrate its     where they spent 17 months litigating the case, including

 claims. Id. T| 13.                                                 “devoting ‘considerable time and effort’ to a joint stipulation
                                                                    structuring the litigation, filing a motion to dismiss on a

                                                                    key merits issue, entering into a protective order, answering
    B. EIS Did Not Engage in Acts Inconsistent with the             discovery, and preparing for and conducting a deposition.”
    Right to Arbitrate                                               829 F. 3d at 1126.
  *12   DeVries filed his Complaint on June 2, 2016. EIS

  filed its answer on August 16, 2016, asserting 14 affirmative      In   contrast,   EIS   did   not unreasonably   delay   filing   its

  defenses and reserving its right to assert additional defenses     motion to compel arbitration; rather, the motion was filed
  “as may become available or apparent during the course             less than four months after the complaint, and just one
  of discovery.” Answer at 17. It did not plead arbitration as       week after obtaining DeVries's identifying information and
  an affirmative defense. The parties have also engaged in           confirming the existence of an arbitration agreement. Nor
  meet and confer discussions on several occasions concerning        has EIS taken advantage of judicial discovery procedures not
  discovery and case management scheduling. Reese Decl.



                                                                                   Works.                                             10
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available in arbitration. At this point, EIS has not served any    *13 Martin, 829 F.3d at 1126 (internal citations omitted).
interrogatories or requests for production. It has only received
DeVries's identifying information and his initial disclosure.      DeVries contends that he is prejudiced because he and his
Further, the parties have not litigated any other motion. EIS's    counsel “have expended a significant amount of time and
conduct is not inconsistent with its right to arbitrate.           resources.” Oppo. at 18. However, he has failed to show that
                                                                   any expenses are more than just “self-inflicted wounds” from
                                                                   suing in federal court. See Martin, 829 F.3d at 1 126. DeVries
   C. Prejudice to Plaintiffs
                                                                   also argues that he is prejudiced because EIS “has used the
A plaintiff seeking to show waiver of the right to arbitrate       litigation to receive discovery that it would not receive in
must demonstrate that he was prejudiced by litigation conduct
                                                                   arbitration, as well as have court orders and other procedures
inconsistent with the right to arbitrate. The Ninth Circuit has
                                                                   set in place that it would not be entitled to in arbitration.”
explained:
                                                                   Oppo. at 18. Not so. EIS has only received DeVries's intial
                                                                   disclosure and his identifying information (his date of birth,
                                                                   address, and Social Security number). DeVries has not shown
              To prove prejudice, plaintiffs must                  that EIS received an advantage from this basic information.
                                than   “self-inflicted”
              show    more                                         And there have not been any orders going to the merits of
              wounds that they incurred as a direct                DeVries's claims such that arbitration would prejudice him.
              result of suing in federal court contrary            DeVries has not met his “heavy burden” to show that EIS
              to the provisions of an arbitration                  waived its right to arbitration.
              agreement. Such wounds include costs
              incurred in preparing the complaint,
              serving notice, or engaging in limited
                                                                                           CONCLUSION
              litigation   regarding   issues   directly

              related to the complaint's filing, such
                                                                    For the reasons discussed above, EIS's motions to compel
              as jurisdiction or venue. In contrast,
                                                                    arbitration and stay are GRANTED. This action will be stayed
              in order to establish prejudice, the
                                                                    pending completion of the arbitration. Should the arbitrator
              plaintiffs must show that, as a result of
                                                                    determine that some or all of DeVries's claims fall within the
              the defendants having delayed seeking
                                                                    carve-out provision, the parties shall notify the Court within
              arbitration, they have incurred costs
                                                                    seven days. Otherwise, the parties shall file a Status Report
              that they would not otherwise have
                                                                    six months from the date of this Order, and every six months
              incurred, that they would be forced
                                                                    thereafter, briefly indicating the progress of the arbitration.
               to relitigate an issue on the merits
               on which they have already prevailed
                                                                    IT IS SO ORDERED.
               in court or that the defendants have
               received an advantage from litigating
               in federal court that they would not                 All Citations
               have received in arbitration.
                                                                    Not Reported in Fed. Supp., 2017 WL 733096




                                                             Footnotes


                                                                    of [EIS],” the defendant here. First Williams Decl. j[
  1       CIC refers to Consumerlnfo.com, Inc. “CIC is an affiliate
                                                                    Experian Holdings, Inc., and the parent company is
          2. “CIC and [EIS] are both wholly-owned subsidiaries of
                                                                     standing to enforce this arbitration provision.
          Experian pic.” Id. The parties do not dispute that EIS has




                                                                             ent Works.                                           11
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                                                                                            company (also
2         The Terms of Use Agreement defines “ECS” as “Consumerlnfo.com, Inc., an Experian®
                                                                                               its predecessors in
          known as Experian Consumer Services), and referred to as 'Experian' on the Websites,
                                                                                                      uses in connection
          interest, successors and assigns, and any of its third party service providers ... who ECS
                                                                      Ex. G.  Also, “[f]or the purposes of the arbitration
          with the provision of the Services to you.” Reese Decl.,
                                                                                                          subsidiaries,
          provision, references to 'ECS,' 'you,' and ‘us’ shall include our respective parent entities,
                                                                                                     of the foregoing,
          affiliates, agents, employees, predecessors in interest, successors, and assigns, websites
                                                                                              Websites  or information
          as well as all authorized or unauthorized users or beneficiaries of Services and/or
                                                                                           Id.
          under this or prior Agreements between us relating to Services and/or Websites.”

                                                                                                 4, states that Exhibit
3         EIS objects to certain evidence submitted by DeVries. The Reese Declaration, paragraph
                                                                                           ory No. 1 ).” Dkt. No. 48. EIS
          A is a copy of “Plaintiffs Response to Defendant's Discovery Request (Interrogat
                                                                                                 because EIS did not
          contends that this statement lacks foundation and is an impermissible legal conclusion
                                                                                             information. Id. Additionally,
          serve any formal discovery on DeVries, but asked informally for his identifying
                                                                                            and containing impermissible
          EIS objects to the DeVries Declaration paragraphs 1 and 3 for lack of foundation
                                                                                                    objections as untimely
          legal conclusions. Dkt. No. 49. EIS also objects to DeVries's response to its evidentiary
                                                                                       I do not rely on any of
          and an improper surreply. These objections are all OVERRULED as moot because
          the information underlying these objections.


4         Both parties' briefs apply California law, and I do as well.

                                                                                v. Samsung Telecommunications
5         DeVries also submitted a Statement of Recent decision, citing Norcia
                                                                         Electronics Co., Ltd., No. 15-16768, 2017
          America, LLC, 845 F.3d 1279 (9th Oir. 2017) and Dangv. Samsung
                                                                                       57). Neither involved an Internet
          WL 218896 (9th Cir. Jan. 19, 2017). Statement of Recent Decision (Dkt. No.
                                                                                           through a warranty brochure
          agreement. Rather, the relevant arbitration provision was provided to consumers
                                                                         in Norcia and Dang  where the plaintiffs did not
          contained in the packaging box for smartphones. Also, unlike
                                                                                  intent to use silence, or failure to opt
           expressly agree or “otherwise act in a manner that would show ‘[their]
                                                                                          ly clicked the “Submit Secure
           out, as a means of accepting the arbitration agreement," DeVries affirmative
                                                                                   at *1.
           Order” button. Norcia, 845 F.3d at 1287; see also Dang, 2017 WL 218896,

                                                                                         n states is a true and correct copy
    6      DeVries points to Exhibit F-2, which paragraph 10 of the Reese Declaratio
                                                                                       Order button.” These terms do not
           of “the Legal Terms & Conditions that appear above the Submit Secure
                                                                                     to,  and do not override, the specific
           contain an arbitration provision, but provide that they “are in addition
                                                                                     Experian and otherwise through this
           terms and conditions that apply to the products or services offered by
                                                                                     appeared on the 2014 order pages,
           site.” Reese Decl., Ex. F-2. DeVries contends that these terms also
                                                                             to  the  Reese Declaration paragraph 10 as
           thus causing confusion for a consumer. Oppo. at 5. EIS objects
                                                                                      a declaration providing that “[t]he
           lacking foundation for this exhibit. Dkt. No. 48. Moreover, EIS submitted
                                                                                 the order pages that a consumer must
           ‘Legal Terms and Conditions’ have never been linked or displayed on
                                                                                   hyperlinked “Terms and Conditions”
           complete to place an order.” Second Williams Decl. U 2. Rather, the
                                                                                      his credit report are those attached
           above the “Submit Secure Order” button at the time DeVries purchased
                                                                                      Reese Declaration “contained in the
           as Exhibit D to the First Williams Declaration. Nor was Exhibit F-2 to the
                                                                                             r 2, 2014.” Id. Additionally,
           website that was in effect at the time Mr. DeVries transacted with CIC on Septembe
                                                                              and the order pages as they appeared
           Exhibit F-2 shows that it was accessed online on October 14, 2016,
                                                                                   Williams Decl., Exs. B, C. On this
           in 2014 do not show any hyperlinks to “Legal Terms & Conditions.” First
                                                                                           on the order pages in 2014
           record, there is no evidence that Exhibit F-2 to the Reese Declaration appeared
           or that it could have caused confusion to a consumer.

                                                                                       of California finding mutual assent
    7      EIS requested judicial notice of multiple decisions by the Central District
                                                                            in a scroll box, rather than by hyperlink. See
           to EIS's arbitration provision where the relevant terms appeared
                                                                                    No. 32), EIS's Request for Judicial
           EIS's Request for Judicial Notice in Support of Motion to Compel (Dkt.
                                                                                      of “proceedings in other courts,”
           Notice in Support of Reply (Dkt. No. 47). A court may take judicial notice




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                                                              in Fed. Supp. (2017)
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                                                                                v. Borneo, Inc., 971 F.2d 244, 248
        and I will do so here. U.S. ex ret. Robinson Rancheria Citizens Council
        (9th Cit. 1992). That said, I do not rely on these decisions.

                                                                          First Williams Decl., Ex. D.
8       The 2014 Terms and Conditions contain the same delegation clause.

                                                                      Ninth Circuit noted, without deciding, that the
9        This finding is not inconsistent with Mohamed, where the
                                                                     kably delegated to the arbitrator the authority to
         “arbitration agreements may not have clearly and unmista
                                                                       7470557, at *4 n.4.
         decide the question of waiver by litigation conduct.” 2016 WL

                                                                        California law as a six-factor inquiry:
10       The Ninth Circuit has also expressed the test for waiver under

                                                                                  actions are inconsistent with the right to
           In determining waiver, a court can consider (1 ) whether the party's
                                                                             tially invoked and the parties were well into
           arbitrate; (2) whether the litigation machinery has been substan
                                                                          g party of an intent to arbitrate; (3) whether
           preparation of a lawsuit before the party notified the opposin
                                                                          trial date or delayed for a long period before
           a party either requested arbitration enforcement close to the
                                                                      n filed a counterclaim without asking for a stay
           seeking a stay; (4) whether a defendant seeking arbitratio
                                                                       [e.g., taking advantage of judicial discovery
           of the proceedings; (5) whether important intervening steps
                                                                      and (6) whether the delay affected, misled, or
            procedures not available in arbitration] had taken place;
            prejudiced the opposing party.

                                                                      re of Cal., 31 Cal.4th 1187 (2003)) (alteration
         Cox, 533 F.3d at 1124 (citing St. Agnes Med. Ctr. v. PacifiCa
                                                                     to apply, rather than the three-factor test applied in
         in original). EIS argues that this is the appropriate test
                                                                  its right to arbitration.
         Martin. Under either test, I find that EIS did not waive




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                                                                       (Vavilala Decl., U 6.) The last page of the form included
                                                                       the following relevant language immediately below the green
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                                                                       “SUBMIT” button: “By clicking ‘SUBMIT’, you agree to our
         Only the Westlaw citation is currently available.
                                                                       Privacy Policy and Terms of Use.” (Vavilala Decl., 7.) Setoff
         United States District Court, E.D. Pennsylvania.
                                                                       from the rest of the text in blue, underlined font, the words
                                                                       “Terms of Use” were an active hyperlink to the full text of the
                     Ryan DOBBS, Plaintiff,
                                                                       Terms of Use. Plaintiff provided his contact information and
                                 v.
                                                                       clicked “SUBMIT.” (Vavilala Deck, U 9.) The phone number
                   HEALTH IQ INSURANCE
                                                                       that Plaintiff provided to Defendant matches the number that
                  SERVICES, INC., Defendant.
                                                                       Plaintiff identifies as his own in the Complaint. (Compare
                                                                       Vavilala Decl., 10 with Compl., 18.) Plaintiff alleges that
                   CIVIL ACTION NO. 21-5276
                                                                       starting in June 2021, he received at least four unsolicited
                                      I
                                                                       phone calls and two text messages from Defendant. (Compl.,
                         Filed July 27, 2022
                                                                       fl 24-25.) According to Plaintiff, his cell phone number had

Attorneys and Law Firms                                                been registered on the National Do Not Call Registry and the
                                                                       calls and texts that he received from Defendant violated the
Jacob U. Ginsburg, Kimmel & Silverman, Ambler, PA,                     Telephone Consumer Protection Act (“TCPA”) (Compl., fl
Christopher Elisha Roberts, Butsch Roberts & Associates                18, 20, 21, 62.) Pursuant to the TCPA, registration with the
 LLC, Clayton, MO, for Plaintiff.                                      Do Not Call Registry allows an individual to avoid receiving
                                                                       unwanted telemarketing calls and to recover penalties should
 Paul A. Rosenthal, Fox Rothschild LLP, Morristown, NJ,
                                                                       his or her privacy rights be willfully or knowingly violated.
 Jonathan A. Cass, Cohen, Seglias, Pallas, Greenhall &
                                                                        (Compl., 'll 2-3.)
 Furman, P.C., Philadelphia, PA, for Defendant.

                                                                        Defendant    argues     that   Plaintiff assented   to   its   Terms

                                                                        of Use when he provided his contact information and
                  MEMORANDUM OPINION                                    clicked “SUBMIT” after following Defendant's Facebook ad.
                                                                        Defendant's Terms of Use contain an arbitration provision that
 Schmehl, District Judge
                                                                        requires users to submit claims against Defendant to binding

 I. INTRODUCTION
                                                                        arbitration on an individual basis. (Vavilala Decl., Ex. A, p.
                                                                        1.) The arbitration provision reads as follows:
  *1     Before the Court is the motion to compel arbitration

 filed    by   Health   IQ   Insurance    Services   (“Defendant”).
                                                                           A. Arbitration. The parties shall use their best efforts
 Plaintiff, Ryan Dobbs, filed a class action Complaint against
                                                                           to settle any dispute, claim, question, or disagreement
 Defendant, asserting Defendant's telemarketing calls to be
                                                                           directly through good-faith negotiations, which shall be
 a violation of his privacy rights under the Telephone
                                                                           a precondition to either party initiating a lawsuit or
 Consumer Protection Act. Upon consideration of the parties’                                                                                to
                                                                           arbitration.   All   claims   arising   out   of or   relating
 submissions and arguments, I will grant Defendant's motion
                                                                           this Agreement and your use of the Service shall be
 to compel arbitration, and stay this action in its entirety.
                                                                           finally settled by binding arbitration administered by the
                                                                           American Arbitration Association (“AAA”) in accordance

                                                                           with the provisions of its Commercial Arbitration Rules
  II. BACKGROUND
 Defendant, Health IQ, is in the business of selling insurance
                                                                           and of its supplementary procedures for consumer-related
                                                                           disputes, excluding any rules or procedures governing
 plans and services. (Compl., y 15.) On May 8, 2019, Plaintiff
                                                                           or permitting class actions. The arbitrator, and not any
  clicked an ad that Health IQ had placed on Facebook and
                                                                           court or agency, shall have exclusive authority to resolve
  was directed to Health IQ's website. (Declaration of Raj
                                                                           all disputes arising out of or relating to this Agreement,
  Vavilala (“Vavilala Deck”), ‘ 4.) After landing on Defendant's
  website, Plaintiff completed a multi-page form requesting                including, but not limited to, any claim that all or any part
                                                                 5.)       of this Agreement is void or voidable. The arbitrator shall
  information about insurance products. (Vavilala Deck,
                                                                            be empowered to grant whatever relief would be available
  As he completed the web form, clicking next several times,
                                                                            in a court. The arbitrator's award shall be binding on the
  Plaintiff provided Health IQ with his name, address, email
  address, telephone number, age, gender, height, and weight.               parties and may be entered as a judgment in any court of




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                                                                        have delegated to an arbitrator.”); Singh v. Uber Technologies,
  competent jurisdiction. To the extent the filing fee for the
                                                                        Inc., 939 F.3d 210, 228 (3d Cir. 2019) (holding that where the
  arbitration exceeds the cost of filing a lawsuit, [Defendant]
                                                                        FAA applies, all questions must be reserved for an arbitrator
  will pay the additional cost.
                                                                        unless the court detennines the question is not subject to an
   *2 The parties understand that, absent this mandatory                enforceable delegation clause). So, “unless the party opposing
  provision, they would have the right to sue in court and              arbitration challenges ‘the delegation provision specifically,’
  have a jury trial. They iurther understand that, in some              the district court ‘must treat it as valid’ and ‘must enforce it’
   instances, the costs of arbitration could exceed the costs           by sending ‘any challenge to the validity’ of the underlying
   of litigation and that the right to discovery may be more            arbitration agreement to the arbitrator.” MZM Constr., 974
   limited in arbitration than in court.                                F.3d at 399 (quoting Rent-A-Center West, Inc. v. Jackson, 561
                                                                        U.S. 63, 72 (2010)). The “arbitrability issue” presumptively
(Vavilala Decl., Ex A, § 20(A)). Furthermore, the Terms of              includes “allegations of waiver, delay, or a like defense
Use allow users to opt out of the arbitration provisions by             to arbitrability.” Howsam, 537 U.S. at 84 {quoting Moses
sending written notice to Defendant within 30 days. Id. §               H Cone Memorial Hosp. v. Mercury Constr. Corp., 460
20(C). Plaintiff did not send any opt out to Defendant. Id.             U.S. 1, 25 (1983)). Additionally, a delegation clause may
                                                                         delegate the issue of whether a particular dispute falls within
                                                                         the scope of the agreement to the arbitrator. See Singh v.
 III. LEGAL STANDARD
                                                                         Uber Technologies, Inc., 939 F.3d 210, 228 (3d Cir. 2019)
 The Federal Arbitration Act (“FAA”) provides that a federal
                                                                         (holding that all questions subject to delegation clause were
 court must compel arbitration “upon being satisfied that the
                                                                         for arbitrator to decide, including whether parties’ dispute fell
 making of the agreement for arbitration or the failure to
                                                                         within scope of arbitration agreement).
 comply therewith is not in issue.” 9 U.S.C. § 4. Arbitration
 agreements are governed by ordinary state-law principles
                                                                          *3 If a party challenges the whole contract, the claim must
 governing contract formation, and they “shall be valid,
                                                                         go to arbitration, unless the challenge is about mutual assent.
 irrevocable, and enforceable, save upon such grounds as exist
                                                                         Id. at 397-98. An arbitration clause is severable from the
 at law or in equity for the revocation of any contract.” 9 U.S.C.
                                                                         contract that contains it, and a party claiming that the whole
 § 2; MZM Constr. Co. v. N.J. Bldg. Laborers Statewide Benefit
                                                                         contract lacked consideration must first adjudicate that claim
 Funds, 974 F.3d 386, 402 (3d Cir. 2020). On the other hand,
                                                                         in arbitration. Id.
 courts decide questions about the formation or existence of an
 arbitration agreement, namely the element of mutual assent.
                                                                         A motion to compel arbitration is judged under a Rule
 9 U.S.C. §4.
                                                                         56 summary judgment standard when arbitrability is not
                                                                         apparent on the face of the complaint. Shelton v. Comcast
 A motion to compel arbitration requires a court to determine
                                                                         Corp.,2Wl\ WL214303,at*2(E.D. Pa. Jan. 21, 2021). Under
 “(1) whether a valid agreement to arbitrate exists and (2)
                                                                         this standard, Defendant must show “there is no genuine issue
 whether the particular dispute falls within the scope of that                                                                          t
                                                                          as to any material fact and the movant is entitled to judgmen
 agreement.” Trippe Mfg. Co. v. Niles Audio Corp., 401 F.3d
                                                                          as a matter of law.” Fed. R. Civ. P. 56(a). In the instant matter,
 529, 532 (3d Cir. 2005). A party can dispute the existence
                                                                          arbitrability is not apparent on the face of the complaint and
 of an arbitration agreement by arguing that the arbitration
                                                                          Defendant's motion is therefore evaluated under the Rule 56
  clause itself is invalid. MZM Constr., 974 F.3d at 397. A claim
                                                                          standard.
  directed at the arbitration clause itself, such as a challenge that
  the clause lacked consideration, would go to the court. Id. at
  398 n.7.
                                                                          IV. DISCUSSION

                                                                          In analyzing the instant set of facts, I must first determine
                                                         the
  However, when parties have delegated certain issues to                                                                                t.
                                                                          whether the parties entered into a valid arbitration agreemen
  arbitrator, such as the issue of whether the parties have agreed                                     whether the  arbitration agreemen t
                                                                          If so, I must then determine
  to arbitrate at all, the Court need only decide the validity of the
                                                                          delegated issues such as arbitrability to the arbitrator. Plaintiff
  assent. See Henry Schein, Inc. v. Archer & White Sales, Inc.,
                                                                          argues that the agreement to delegate issues of arbitrability
                                                               a
  1 39 S. Ct. 524, 530 (2019) (“Just as a court may not decide
                                                                          and to arbitrate is invalid because it is illusory, because the
                                                                   ,
  merits question that the parties have delegated to an arbitrator
                                                                          Terms of Use can be changed at the will of Defendant.
  a court may not decide an arbitrability question that the parties                                                             the
                                                                          Plaintiff further argues that even if I conclude that



                                                                             ent Works.                                                     2
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                                                                       In the instant matter, Plaintiff received notice of the
agreement is not illusory, the motion to compel arbitration
                                                                       hyperlinked Terms of Use, including the agreement to
should be denied because there is a material issue of fact
                                                                       arbitrate potential claims, and manifested assent by clicking
as to whether the parties entered into an agreement to
                                                                       the “SUBMIT” button. The Terms of Use included a
delegate certain issues to an arbitrator. I do not find Plaintiffs
                                                                       hyperlink, and the letters were purposely and conspicuously
arguments to be persuasive, and accordingly, I will grant
                                                                       set off from the remaining text in a blue, underlined font.
Defendant's motion and send this matter to arbitration.
                                                                       (Vavilala Decl.,     8); see Margulis v. HomeAdvisoi; Inc.,
                                                                       2020 WL 4673783, at *5 (E.D. Mo. Aug. 12, 2020) (holding
   A. Plaintiff Assented to Defendant's Terms and                      that website provided “constructive notice” of the Terms and
   Conditions and Entered into a Valid Arbitration                     Conditions when a hyperlink to the Terms and Conditions was
   Agreement                                                           conspicuously displayed in blue font). Further, the last page
As agreements to arbitrate are matters of contract, a valid            of Defendant's online information request form informed
arbitration agreement requires mutual assent. In the context           Plaintiff that “[b]y clicking ‘SUBMIT’, you agree to our
of an electronic consumer transaction, the occurrence of               Privacy Policy and Terms of Use.” (Vavilala Decl.,         7.)

mutual assent ordinarily turns on whether the consumer                 Plaintiff thus had notice that he would be bound by the Terms
had reasonable notice of the merchant's terms of service               of Use and assented to those same terms when he clicked
agreement. See Nguyen v. Barnes & Noble Inc., 763 F.3d                 submit. See Zabokritsky, 2019 WL 2563738 at *3 (holding
1171, 1177 (9th Cir. 2014). Notice of an online merchant's             that sliding a button to indicate agreement to the Terms of Use
terms either occurs through “clickwrap” agreements, which               is sufficient to indicate agreement).
require website users to click on an “I agree” box after
 being presented with a list of tenns and conditions of use,            In response, Plaintiff submits an affidavit in which he states
 or “browsewrap” agreements, where a website's terms and                that in May of 2019, he was “not in the market for health
 conditions of use are generally posted on the website via a            insurance,” that he had a general practice of not filling out
 hyperlink at the bottom of the screen. Nguyen, 763 F.3d at             online forms, and that his cell phone's browser data does not
 1 176. Courts have also recognized a “modified clickwrap”              currently show a visit to Defendant's website. (Dobbs Decl., *[
 agreement, where terms of use are presented as part of                 13-16.) However, Plaintiff does not state that he never visited
 some other transaction, such that completing the transaction           Defendant's website. Nor does he deny that he submitted the
 also accepts the terms of use. See Weimin Chen v. Sierra               online form on Defendant's website to obtain information
 Trading Post, Inc., 2019 WL 3564659, at *2 (W.D. Wash.                 about insurance products. Plaintiffs conclusory statement that
 Aug. 6, 2019) (distinguishing “clickwrap,” “browsewrap,”               he did not enter into any agreement with Defendant (Dobbs
 and “modified clickwrap” agreements); see also Fteja v.                Deck,    18) is insufficient to create an issue of material fact.

 Facebook, Inc., 841 F. Supp. 2d 829, 837 (S.D.N.Y. 2012)               See Dicent v. Kaplan Univ., 2018 WL 4171600, at *4 (M.D.
 (finding Facebook's terms of use fell somewhere in between a           Pa. June 15, 2018), report and recommendation adopted,
 pure browsewrap agreement and a pure clickwrap agreement               2018 WL 4169072 (M.D. Pa. Aug. 30, 2018), affd, 758 F.
 because, although users were required to take an affirmative           App'x 311 (3d Cir. 2019). “Plaintiffs naked assertions that
 action by clicking “Sign Up” to agree to the terms of use, the         he never [signed the arbitration agreement] are insufficient
 terms were available only via a hyperlink below the “Sign              to lead the Court to conclude otherwise.” Schrock v. Nomac
 Up” button).                                                           Drilling, LLC, 2016 WL 1181484, at *4 (W.D. Pa. Mar. 28,
                                                                        2016). Accordingly, despite Plaintiffs attempts to create a
  *4   Clickwrap agreements are evaluated with “ ‘traditional           factual issue, I find that he assented to Defendant's Terms of
 principles of contract law and focus on whether the plaintiff          Use.
  had reasonable notice of and manifested assent to the
  clickwrap agreement.’ ” Coulter v. Experian Info. Sols., Inc.,         Having found that Plaintiff assented to Defendant's Terms
  2021 WL 735726, at *5 (E.D. Pa. Feb. 25, 2021). Further,               of Use, I must next decide whether the Terms of Use
  courts have held that “clickwrap”         agreements    manifest       contain a valid arbitration agreement. As set forth above,
  sufficient   agreement to the     terms   in the   contract.   See     the Terms of Use contain a provision that states, inter alia,
  Zabokritsky v. JetSmarter, Inc., 2019 WL 2563738, at *3 n.30           “[a]ll claims arising out of or relating to this Agreement
  (E.D. Pa., 2019).                                                      and your use of the Service shall be finally settled by
                                                                         binding arbitration administered by the American Arbitration




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Association (“AAA”) ...” (ECF No. 2, Ex A, § 20(A)). When            of Use give Defendant the right to modify them. Plaintiff
                                                                     argues that the Terms of Use give Defendant the unfettered
Plaintiff clicked submit and assented to Defendant's Terms
of Use, he assented to the arbitration provision contained in
                                                                     right to “change” the delegation provision “at any time,”
                                                                     “for any reason,” “with or without cause” and “without prior
the agreement as well. Accordingly, the parties entered into a
                                                                     notice.” ECF No. 11, pp. 1-2.
valid arbitration agreement.


                                                                     Plaintiff claims that he is challenging the delegation provision
   B. Plaintiff Agreed to Delegate Issues of Arbitrability           and argues that the terms of that provision can be changed
   to the Arbitrator                                                 at any time and are therefore illusory and unenforceable.
 *5 The Terms of Use in this matter specifically state that          However, he clearly is in fact challenging the agreement as a
“[t]he arbitrator, and not any court or agency, shall have           whole, as the terms he challenges come from other parts of
exclusive authority to resolve all disputes arising out of or        the contract, not from the delegation provision, and apply to
relating to this Agreement, including, but not limited to,           the entire agreement. The challenged terms state, inter alia,:
any claim that all or any part of this Agreement is void or
                                                                        1 . Changes to this Agreement
voidable.” (ECF No. 2, Ex A, § 20(A)). Parties may delegate
resolution of gateway issues to the arbitrator, so long as they
                                                                          We reserve the right to, at any time, with or without
clearly and unmistakably evidence their intent to do so. See
                                                                          cause:
Richardson v. Coverall N. Am., Inc., 811 F. App'x 100, 103
 (3d Cir. 2020), cert, denied, 141 S. Ct. 1685 (2021).                       Change the terms and conditions of this Agreement....


 The   Terms    of Use   require      disputes between   Plaintiff         Any changes we make will be effective immediately
                                                                                                 such   changes   available   on   the
 and Defendant to be submitted to "binding arbitration                    upon     our making

 administered by the [AAA] in accordance with the provisions               Applications or otherwise providing notice thereof...

 of its Commercial Arbitration Rules.” (ECF No. 2, Ex. A, §
                                                                        13. Term & Termination
 20(A).) Rule 7 of the AAA's Commercial Arbitration Rules
 provides that the arbitrator “shall have the power to rule                                           immediately    terminate     this
                                                                           ...   [Defendant]   may
 on his or her own jurisdiction, including any objections
                                                                           Agreement ... or any portion thereof, at any time and for
 with respect to the existence, scope, or validity of the
                                                                           any reason, with or without cause, without prior notice.
 arbitration agreement or to the arbitrability of any claim
 or counterclaim.” See American Arbitration Association,
                                                                      ECF No. 2, Ex. A. These terms regarding changes and
 Commercial Arbitration Rules and Mediation Procedures, at
                                                                      termination apply to the entire agreement, not just its
 Rule 7(a). As stated by the Third Circuit, “[t]hat provision
                                                                      delegation provision. In Rent-A-Center, West, Inc. v. Jackson,
 is about as ‘clear and unmistakable’ as language can get.’ ”
                                                                      the Supreme Court found that unless a party “challenge[s]
 Richardson, 81 1 F. App'x at 103 {quoting Awuah v. Coverall
                                                                      the delegation provision specifically,” courts must enforce
 N. Am., Inc., 554 F.3d 7,       11    (1st Cir. 2009)); see also
                                                                      the delegation and “leav[e] any challenge to the validity of
 Carrone v. UnitedHealth Grp. Inc., 2020 WL 4530032, at
                                                                      the [agreement as a whole for the arbitrator.” 561 U.S. 63,
 *3 (D.N.J. Aug. 6, 2020) (“Numerous courts have found
                                                                      72 (2010). Consistent with that precedent, this Court has
 that, by incorporating the AAA rules, which need not be
                                                                      confirmed that arguments that are not “levied specifically
 appended to the arbitration agreement, the parties have clearly
                                                                      towards the delegation clause” are for the arbitrator. See
 and unmistakably committed to delegating the question of
                                                                      Colon v. Conchetta, Inc., 2017 WL 2572517, at *4 (E.D. Pa.
 arbitrability to the arbitrator.” (collecting cases)), affd sub
                                                                      June 14, 2017) (Kelly, J.).
 nom. Carrone v. UnitedHealth Grp. Inc., 2021 WL 3520809
  (3d Cir. Aug. 11, 2021). Accordingly, by incorporating the
                                                                       *6 In determining whether a party is specifically challenging
 AAA rules, the parties in this matter clearly delegated
                                                                      a delegation provision or not, courts look beyond a party's
  threshold questions such as the question of arbitrability to the
                                                                      “statement that it is challenging the delegation provision”
  arbitrator.
                                                                      to “the substance of the challenge.” In re StockX Customer
                                                                       Data Sec. Breach Litig., 19 F.4th 873, 885 (6th Cir. 2021). A
  In an attempt to circumvent this delegation, Plaintiff argues
                                                                       challenge to the delegation provision that “recycles the same
  that the Terms of Use, including the delegation provision, are
  illusory and unenforceable because a provision in the Terms



                                                                                                                                      4
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                                                                        quality and unconscionability of the ‘arbitration provision’
arguments that pertain to the enforceability of the agreement
                                                                        specifically, Plaintiffs arguments clearly attack the validity of
as a whole” is insufficient. Id. at 886.
                                                                        the [Agreement] as a whole.”). Therefore, Plaintiffs argument
                                                                        that the delegation provision and the agreement as a whole
A review of Plaintiffs brief shows that he clearly takes
                                                                        is illusory due to Defendant's ability to change the terms
issue with the entire agreement and not with the delegation
                                                                        is not an issue to be addressed by this Court. Rather, this
provision specifically. Plaintiff bases his challenge to the
                                                                        issue is one for the arbitrator, as contemplated by the valid
delegation clause (contained in Section 20(A) of the Terms
                                                                        delegation provision that was entered into between Plaintiff
of Use) on the modification provision which is contained
                                                                        and Defendant.
in a separate section of the Terms (Section 1). Plaintiff
has not made any arguments specific to the delegation
clause. Although Plaintiffs section heading asserts that the            V. CONCLUSION
delegation provision is illusory, the substantive argument              For all of the reasons set forth above, Defendant's Motion to
that he makes in his brief does not support his heading.                Compel Arbitration is granted and this matter is stayed.
Rather, Plaintiff recycles the same arguments that apply to

the contract as a whole, which is insufficient to challenge
the delegation clause. See Galvez v. JetSmarter, Inc., 2019              All Citations

WL 4805431, at *6 (S.D.N.Y. Sept. 30, 2019) (“Although the
                                                                         Slip Copy, 2022 WL 2974713
relevant section headers in Plaintiffs brief refer to the illusory


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                                                                               Works.                                                       5
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                                                                      the agreement. They are not “Authorized Users” under
                                                                      the Terms of Service and their guardians' assent to the
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                                                                      Terms' arbitration clause does not bind them.
      Only the Westlaw citation is currently available.
       United States District Court, C.D. California.               • The Motion to Stay is DENIED as moot.


       IN RE: RING LLC PRIVACY LITIGATION
                                                                  I. BACKGROUND
            Case No. CV 19-10899-MWF (RAOx)                       On February 11, 2020, the Court granted the stipulation
                                I
                                                                  of various parties to consolidate numerous related cases
                       Filed 06/24/2021
                                                                  into this putative class action. (Docket No. 19). Plaintiffs
                                                                  filed a consolidated First Amended Complaint (“FAC”) on
                                                                  December 1 7, 2020. (Docket No. 69).
         Proceedings (In Chambers): ORDER RE:

       MOTION TO COMPEL ARBITRATION [83];                         Ring manufactures and sells home security and smart home
       STAY PENDING RESOLUTION OF RING'S                          devices. (Declaration of John Modestine (“Modestine Decl. ”)
       MOTION TO COMPEL ARBITRATION [112]                         H 3 (Docket No. 83-2)). Such devices include video doorbells,
                                                                  security cameras, and alarms (the “Devices”). (Id.). Ring also
 MICHAEL W. FITZGER ALD, U.S. District Judge
                                                                  sells a subscription service, known as the Ring Protect Plan,
                                                                  through which customers may purchase additional services
  *1 Before the Court are two motions:
                                                                  and benefits related to their devices. (Id.).

 The first is Defendant Ring LLC's (“Ring”) Motion to Compel
                                                                  The FAC alleges that Ring's security systems were defectively
 Arbitration (the “Motion”), filed on February 5, 2021.
                                                                  designed    without   sufficient   security     protocols,   leaving
 (Docket No. 83). On March 8, 2021, Plaintiffs representing
                                                          On      Plaintiffs who used the systems vulnerable to cyberattack,
 the putative class filed an opposition. (Docket No. 89).
                                                                  identity theft, and physical harm. (FAC         3-8). The
 March 29, 2021, Ring filed a reply. (Docket No. 99). On
                                                                  FAC also alleges that Ring actively shared users' sensitive
 March 24, 2021, Ring filed a supplemental opening brief
                                                                   personal identifying information with third parties without
 with respect to Plaintiff Catherine Foster, who joined the
                                                                   first obtaining users' authorization or consent, which allowed
 consolidated action on March 23, 2021. (Docket Nos. 95, 96).
                                                                   third parties to track and surveil Plaintiffs. (Id. 9).
 Plaintiff Foster filed a supplemental opposition on March 26,
 2021. (Docket No. 97).
                                                                   Unless otherwise noted, the following details and descriptions

                                                          of       represent the material features of the packaging, terms,
  The second is Ring's Motion to Stay Pending Resolution
                                   on (the “Motion to Stay”),      Websites, applications, and clauses at all times relevant to this
  Ring's Motion to Compel Arbitrati
                                                                   action (z. e. , from July 20 1 7 to December 2019, when Plaintiffs
  filed on June 18,2021. (Docket No. 112).
                                                                   purchased and/or used the Devices).

                                                            in
  The Court has read and considered the papers filed
                                                                                                                             sh
                                                            on      *2 For the purposes of the Motion, the parties distingui
  connection with the Motions and held a telephonic hearing
                                                                   between those Plaintiffs who purchased the Ring devices
  April 12, 2021, pursuant to General Order 21-03 arising from
                                                                   themselves (the “Purchaser Plaintiffs”), and those who were
  the COVID-19 pandemic. The Court now rules as follows:
                                                                                                                            ly
                                                                   allegedly harmed by Ring devices but did not personal

    • The Motion is GRANTED in part and DENIED in part.            purchase them (the “Non-Purchaser Plaintiffs,” twelve minor

       The Purchaser Plaintiffs who made a Ring account using      children and an elderly woman who lived in a nursing home).

       the Ring App or Website were on inquiry notice of Ring's    (See Motion at 1-2; Opposition at 1 n.l, 4).

       Terms of Service. Therefore, the arbitration clause with
       respect to these Plaintiffs is enforceable. Because the      The exterior packaging of the Ring video doorbell and camera

       Terms contained a delegation provision, the Court does       products stated either that “[u]se of the product is subject
                                                                                                                            the
       not address Plaintiffs' arguments that the arbitration       to your registration with Ring and your agreement to
                                                                                                       g.com” or that “[u]se of
       clause is unconscionable or otherwise unenforceable.         Terms of Service   found at www.rin
                                                                                                                              your
       However, the Non-Purchaser Plaintiffs are not bound by       the product is subject to your registration with Ring and




                                                                           ent Works.
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                                                                        Federal Arbitration Act (the ‘FAA’) ... and federal arbitration
agreement to the Terms of Service found at www.ring.com/
                              4-5, Ex. A).                              law apply to this Agreement and govern all questions as to
terms.” (Modestine Decl.
                                                                        whether a dispute is subject to arbitration.” (Id., Ex. G at
                                                                        1 6). The section further states that the parties “agree that any
To set up and manage the Device, the user must download the
                                                                        dispute, controversy, or claim arising out of, or relating to
Ring mobile application (“Ring App”) and register for a Ring
                                                                        your use of the services and products, to this agreement, or to
account, either through the Ring App or Ring's Website. (Id.
                                                                        the content, any relationship between us and/or any recording
   21-25).
                                                                        on the services and/or products shall be resolved only by final

From May 2017 until June 2018, a user was required to
                                                                        and binding, bilateral arbitration.” (Id., Exs. G at 16, B at
                                                                        10-13, C at 11-14, D at 11-14, E at 10-13, F at 15-19, H at
check a box during the account registration process to indicate
                                                                        11-14, 1 at 12-14, J at 15-19, Kat 12-15).
agreement to the Terms before moving on to the next step of
the registration process. (See Appendix (citing id. , Ex. L (May
                                                                         *3 The Terms also state that “ [disputes’ shall include, but
2017 - Nov. 2017: “I agree to Ring's Privacy Notice, Terms
                                                                        are not limited to, any claims or controversies between you
of Service, and Guidelines for Installation and Use.”); id., Ex.
                                                                        and Ring against each other related in any way to or arising
M (Nov. 2017-June 2018: “I agree to Ring's Privacy Notice
                                                                        out of in any way from this Agreement, the Services, the
and Terms of Services [sic].”))).
                                                                        Products, and/or the Content[.]” (Id., Exs. G at 16, B at 11, C

From June 2018        through January 2020,         the user was        at 11, D at 11-12, E at 11, F at 16, H at 12, I at 12, J at 16,
                                                                        Kat 13).
required to create a password at the last step of the account
registration process, and was notified that by completing
                                                                         In addition, the Terms provide that “[t]he term ‘you,’ as
 account registration they agreed to the Terms. (See Appendix
                                                                         used in these Terms, includes any person or entity who is
 (citing id., Exs. N, O (June 2018-May 2019: “By signing
                                                                         the owner of the Product and creates an account associated
 up, you agree to our Terms of Service”); id., Ex. P (May
                                                                         with the Product (‘Owner’), as well as any person or entity
 2019-Jan. 2020: “By continuing you agree to Ring's Terms of
 Service.”))). The user was then required to click a button that
                                                                         authorized to access or use the Owner's Products and Services

 appeared below the text notifying the user that by continuing           (‘Authorized Users’).” (Id., Exs. G at 2, B at 1, C at 1, D at 1,
                                                                         E at 1, F at 2, H at 1, 1 at 1, J at 2, K at 1-2).
 with account registration, the user indicated assent to the
 Terms. (Id.).
                                                                         Since August      18, 2017, the Terms have also contained

 The user also had the option of registering for a Ring account
                                                                         a delegation clause stating that the arbitrator “shall have

 via Ring's Website. (Modestine Decl.        24).                        exclusive authority to resolve all disputes arising out of or
                                                                         relating to the interpretation, applicability, enforceability or

 From February 2018 until April 2019, the user was required              formation of these Terms, including, but not limited to any
                                                                         claim that all or any part of these Terms are void or voidable,
 to check a box agreeing to the Terms to proceed in creating
 an   account on the     Website.   (See Appendix      (citing   id.,    or whether a claim is subject to arbitration.” (Id., Ex. G at 18;

 Ex. Q)). From April 2019 through January 2020, the text                 see also id., Exs. C at 13, D at 13, E at 12, F at 18, H at 13,

 “[b]y continuing you agree to Ring's Terms of Service”                  I at 14, J at 18, Kat 14).

 appeared directly above a large “Create Account” button. (See
 Appendix (citing id., Ex. R)).
                                                                          IL LEGAL STANDARD
                                                                          The Federal Arbitration Act (“FAA”) “requires federal district
 Plaintiff does not contest that Exhibits L through R are fair
                                                                          courts to stay judicial proceedings and compel arbitration
 and accurate depictions of the Ring App and Website on the
                                                                          of claims covered by a written and enforceable arbitration
 dates stated above. (See generally Opposition).
                                                                          agreement.” Nguyen v. Barnes & Noble Inc., 763 F.3d 1171,
                                                                          1175 (9th Cir. 2014) (citing 9 U.S.C. § 3). The FAA also
  Since August 1 8, 20 1 7, all iterations of the Terms included an
                                                                          “limits the district court's role to determining whether a
  arbitration clause and class waiver. (Modestine Decl.       6-20,
                                                                          valid arbitration agreement exists, and whether the agreement
  Exs. Gat 15-19, B at 10-13, C at 1 1-14, D at 11-14, E at 10-13,
                                                                          encompasses the disputes at issue.” Id. (citation omitted).
  F at 15-19, H at 11-14, I at 12-14, J at 15-19, K at 12-15).
                                                                          “[E]xcept where the parties clearly and unmistakably provide
  The section entitled “Dispute Resolution” states that “[t]he
                                                                          otherwise, it is the court's duty” — as opposed to an



                                                                               Works.                                                     2
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arbitrator's duty — “to interpret the agreement and to             Declarations (Docket Nos. 89-1 through 89-27)). As a result,

determine whether the parties intended to arbitrate grievances     the validity of the arbitration clause “turns on whether the

concerning a particular matter.” SFJU Local I21RN v. Los           [packaging, App, or Website] put[ ] a reasonably prudent
                                                                   user on inquiry notice of the terms of the contract.” Nguyen,
Robles Reg'l Med. Ctr, 976 F.3d 849, 855 (9th Cir. 2020)
(emphasis in original) (quoting Granite Rock Co. v. Int'l Bhd.     763 F.3d at 1177. Whether the mutual assent necessary for
                                                                   contract formation exists “is determined under an objective
of Teamsters, 561 U.S. 287, 301 (2010)).
                                                                   standard applied to the outward manifestations or expressions

“In determining whether a valid arbitration agreement exists,      of the parties, i.e., the reasonable meaning of their words and

federal courts ‘apply ordinary state law principles that govern    acts, and not their unexpressed intentions or understandings.”

the formation of contracts.’ ” Nguyen, 763 F.3d at 1175            Deleon v. Verizon Wireless, LLC, 207 Cal. App. 4th 800, 813,

(quoting First Options of Chicago, Inc. v. Kaplan, 514 U.S.        143 Cal. Rptr. 3d 810 (2012). “Although mutual consent is a

938, 944 (1995)). “Federal courts sitting in diversity look to     question of fact, whether a certain or undisputed state of facts

the law of the forum state — here, California — when making        establishes a contract is a question of law for the court.” Id.

choice of law determinations.” Id. (citation omitted).             (internal quotation marks and citations omitted).



The party seeking to compel arbitration bears the burden of
proving by a preponderance of the evidence that an agreement           1. Creating an account on the Ring App or Website
to arbitrate exists. Norcia v. Samsung Telecommunications
Am., LLC, 845 F.3d 1279, 1283 (9th Cir. 2017).                     Ring asserts that the Purchaser Plaintiffs agreed to the Terms
                                                                   by creating a Ring account on the Ring App or Website.
                                                                   (Motion at 12-14). The Court agrees.
III. DISCUSSION
Ring argues that, because each Plaintiff purchased a Ring           “While new commerce on the Internet has exposed courts
product, created a Ring account, and/or used Ring's services,       to many new situations, it has not fundamentally changed
 each Plaintiff also consented to Ring's Terms of Service,          the principles of contract[,]” including the “requirement of
 which require individual arbitration for all disputes arising      mutual manifestation of assent, whether by written or spoken
 out of or relating to Ring's products or services. (Motion         word or by conduct[.]” Nguyen, 763 F.3d at 1175 (citations
 at 10-23). Ring contends that all Plaintiffs must now be           and internal alterations omitted).
 compelled to arbitrate their claims individually pursuant
 to Ring's Terms of Service. (Id.). The parties agree that          Internet users can form contracts online in a variety of
 California law applies here. (See Motion at 1 0; Opposition at     different ways, for example, by clicking on an “I agree”
 12).                                                               box after being presented with the website's list of terms
                                                                    and conditions of use (“clickwrap” agreements), by using
  *4 Because Ring makes different arguments with respect to         a website that has its terms and conditions of use posted
 the Purchaser Plaintiffs and the Non-Purchaser Plaintiffs, the     on the website via hyperlink at the bottom of the screen
 Court addresses each in turn.                                      (“browsewrap” agreements), or by signing up for a website
                                                                    account or service in which the user is told that continued use
                                                                    will act as a manifestation of the user's intent to be bound
    A. Purchaser Plaintiffs
                                                                    by various terms (“hybrid design” or “modified clickwrap”
 Ring contends that the Purchaser Plaintiffs assented to the
                                                                    agreements). Colgate v. JUUL Labs, Inc., 402 F. Supp. 3d 728,
 arbitration clause in the Terms of Service by purchasing
                                                                    763 (N.D. Cal. 2019).
 and using Ring's products. (Motion at 10-15). Specifically,
 Ring asserts that each of the Purchaser Plaintiffs was put on
                                                                    To determine whether a user has inquiry notice of the contract
 constructive notice of the arbitration clause by one or more of
                                                                    terms, courts assess “the design and content of the website and
 the following: (1) the Devices' packaging; (2) the Ring App
                                                                    the agreement's webpage[,]” including “the conspicuousness
 or Website when signing up for and creating a Ring account;
                                                                     and placement of the ‘Terms of Use’ hyperlink, other notices
  and (3) this litigation. (Motion at 10-15).
                                                                     given to users of the terms of use, and the website's general
                                                                     design.” Nguyen, 763 F.3d at 1 177.
  There is no evidence that the Purchaser Plaintiffs had actual
  knowledge of the arbitration clause. (See Purchaser Plaintiff



                                                                                                                                  3
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*5 Courts are “more willing to find the requisite notice           that, because the website required users to “affirmatively
for constructive assent where the browsewrap agreement             acknowledge the agreement before proceeding,” and “the

resembles a clickwrap agreement — that is, where the user is       website contained an explicit textual notice that continued use
required to affirmatively acknowledge the agreement before         will act as a manifestation of the user's intent to be bound,” the

proceeding with use of the website.” Id. at 1176 (citing Zaltz     website provided sufficient notice for constructive assent to

v. JDATE, 952 F. Supp. 2d 439, 451-52 (E.D.N.Y. 2013)              Ticketmaster's terms. Id. at 395 (quoting Nguyen, 763 F.3d at

(enforcing forum selection clause where users had to check         1 1 76-77) (internal quotation marks and alterations omitted).
box confirming they read and agreed to the website's terms
of service to obtain an account); Fteja v. Facebook, Inc., 841     While other persuasive authorities are all over the map in

F. Supp. 2d 829, 838-40 (S.D.N.Y. 2012) (enforcing forum           terms of what website features are sufficient to provide

selection clause in website's terms of service where a notice      inquiry notice, it appears that the majority of California

below the “Sign Up” button stated, “By clicking Sign Up, you       district courts take the Dohrmann and Lee approach.

are indicating that you have read and agree to the Terms of

Service,” and user had clicked “Sign Up”)). Courts have also       These courts hold that a modified or hybrid clickwrap/

been more amenable to enforcing browsewrap agreements              browsewrap agreement constitutes a binding contract where

“where the website contains an explicit textual notice that        the user is provided with an opportunity to review the terms of

continued use will act as a manifestation of the user's intent     service in the form of a hyperlink immediately above or below

to be bound[.]” Id. at 1 1 76 (listing cases).                     a button that must be clicked to affirmatively acknowledge the
                                                                   terms, place an order, or register for an account. See, e.g., Swift

In Dohrmann v. Intuit, a recent unpublished decision, the          v. Zynga Game Network, Inc., 805 F. Supp. 2d 904, 911-12

Ninth Circuit considered whether the TurboTax Website              (N.D. Cal. 2011) (user assented to terms where website

provided notice of its terms of use through its account sign-in    provided an opportunity to review the terms of service in

page. 823 F. App'x 482, 484 (9th Cir. 2020) (reversing district    the form of a hyperlink immediately under the “I accept”

court's denial of motion to compel arbitration). To sign into      button, which user clicked); Crawford v. Beachbody, LLC,

a TurboTax account, the user was required to enter her user        2014 WL 6606563 (S.D. Cal. 2014) (user assented to terms

ID and password, and click a “Sign In” button, directly under      by clicking “PLACE ORDER” button appearing immediately

which the following language appeared: “By clicking Sign In,       below disclaimer informing user that by clicking the button,

you agree to the Turbo Terms of Use, TurboTax Terms of Use,        user was agreeing to the site's terms); Rodriguez v. Experian

and have read and acknowledged our Privacy Statement.”             Serv. Corp., 2015 WL 12656919, at *2 (C.D. Cal. Oct. 5,

Id. These terms were light blue hyperlinks which, if clicked,      2015) (user assented to terms where the “Website contained a

directed the user to a new page containing the terms of use        hyperlink to the Terms of Use at the bottom of every page and

in which the arbitration clause was located. Id. The Ninth         included an express disclosure and acknowledgement, which

Circuit held that this sign-in page provided sufficient notice     stated ‘By clicking the button above ... you agree to our Terms

to a reasonably prudent internet user of its Terms of Use,         of Use,’ ” which were hyperlinked); Grafv. Match.com, LLC,

and therefore the arbitration clause, because “[t]he relevant      CV 15-3911 -PA (MRWx), 2015 WL 4263957, at *4 (C.D.

warning language and hyperlink to the Tenns of Use were            Cal. July 10, 2015) (finding assent to terms where “all users

conspicuous — they were the only text on the webpage in            of the Match.com website during the relevant time period

italics, were located directly below the sign-in button, and the   were required to affirmatively agree to the Terms of Use

sign-in page was relatively uncluttered.” Id.                      when they clicked on a ‘Continue’ or other similar button on
                                                                   the registration page where it was explained that by clicking

Similarly, Lee v. Ticketmaster LLC involved a website which,       on that button, the user was affirming that they would be

directly below the “Sign In” button, displayed the phrase: “By     bound by the Terms of Use, which were always hyperlinked

continuing past this page, you agree to our Terms of Use.” 8 1 7    and available for review”); In re Facebook Biometric Info.

F. App'x 393, 394 (9th Cir. 2020). In addition, when placing       Priv. Litig., 185 F. Supp. 3d 1155, 1166 (N.D. Cal. 2016)

an order for tickets, directly above the “Place Order” button,      (user assented to terms by clicking “Sign Up” box with

the website displayed the phrase: “By clicking ‘Place Order,’       language immediately below it stating, “By clicking Sign

you agree to our Tenns of Use.” Id. The phrase “Terms of            Up, you are indicating that you have read and agree to the

 Use” was displayed in blue font and contained a hyperlink to       Terms of Use and Privacy Policy,” with the terms of use

 Ticketmaster's Terms. Id. at 394-95. The Lee court reasoned        hyperlinked); Cordas v. Uber Techs., Inc., 228 F. Supp. 3d




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985, 990-91 (N.D. Cal. 2017) (user assented to terms when           Although the version of the Ring App depicted in Exhibits N

he created an account on the Uber app by clicking “DONE”            and O does not hyperlink the Terms in blue text, the warning

above disclaimer: “By creating an Uber account, you agree           text appears immediately below where the user enters her

to the Terms & Conditions and Privacy Policy”); Nevarez             password, the Terms are underlined, and there are hardly

v. Forty Niners Football Co., LLC, 16-CV-07013, 2017 WL             any other words on the page. While it is a much closer call,

34921 10, at *8 (N.D. Cal. Aug. 15, 2017) (user assented to         the Court determines that this version of the Ring App also
                                                                    provided sufficient constructive notice of the Terms.
terms in purchasing their tickets and parking passes on the
Ticketmaster website which included a disclaimer below the

“Accept and Continue” button stating: “By continuing past           Plaintiffs contend that Dohrmann is distinguishable because

this past, you agree to our terms of use,” where the terms          TurboTax users received notice of the terms of use every time

were hyperlinked and in blue text); Maynez v. Walmart, Inc.,        they signed in to their accounts, whereas here, Ring notified

479 F. Supp. 3d 890, 895-97 (C.D. Cal. 2020) (user assented         users of the Terms of Service only once at the time of sign up.
                                                                    (Opposition at 1 6- 1 7). The problem with this argument is that
to terms by clicking “Place Order” button below disclaimer
with hyperlinks to terms of use: “By clicking Place Order,          the Ninth Circuit's determination in Dohrmann did not turn on
                                                                    the fact that users received notice of the terms of use multiple
you agree to Walmart's Updated Privacy Policy and Terms of
Use”).
                                                                    times, but that the location and color of the hyperlinks, as well
                                                                    as the uncluttered design of the Website, made the warnings

 *6    At least four versions of Ring's account sign-up page        and terms of use sufficiently conspicuous.

resemble a clickwrap agreement in that they required the user
to affirmatively acknowledge the agreement before the user          Accordingly, the Motion with respect to the Purchaser

could create the account. (See Appendix, Modestine Deck,            Plaintiffs who made accounts on the App or Website is
                                                                     GRANTED
Exs. L, M, Q). Ring's Terms of Service in these four versions
 of the Ring App and Website are even more conspicuous than
the terms of use in Dohrmann and Lee because they required
 users to check a box affirmatively indicating that they agreed         2. Scope and enforceability of the arbitration clause
 with Ring's Terms of Service before users could proceed to
 creating an account. As in Dohrmann and Lee, the warning            Plaintiffs contend that, even if an arbitration agreement
 statement also hyperlinked the Terms of Service containing          exists, it is unconscionable and unenforceable under McGill v.

 the arbitration clause. These four versions of the Ring account     Citibank, N.A., 2 Cal. 5th 945, 216 Cal. Rptr. 3d 627 (2017).
 signup page provided sufficient notice to a reasonably prudent      (Opposition at 19-23).

 internet user of Ring's Terms of Service and arbitration clause.
                                                                     All Purchaser Plaintiffs who created an account after August

 Three other versions of the Ring App and Website contain            18, 2017, are subject to the same delegation provision in the
 an explicit textual notice that creating an account will act        Terms, which states that the arbitrator “shall have exclusive

 as a manifestation of the user's intent to be bound by the          authority to resolve all disputes arising out of or relating to

 Tenns of Service. (Compare Appendix, Modestine Deck,                the interpretation, applicability, enforceability or formation of
 Exs. N, O, P, R) with Arena v. Intuit Inc., 444 F. Supp. 3d         these Terms, including, but not limited to any claim that all

 1086, 1088 (N.D. Cal. 2020), rev'd and remanded sub nom.            or any part of these Terms are void or voidable, or whether
 Dohrmann, 823 F. App'x 482. These versions of the Ring App          a claim is subject to arbitration.” (Modestine Deck, Ex. C at

 and Website are arguably more conspicuous than the sign-in          13).
 page in Dohrmann because the pages are less cluttered. In at
 least in two versions (Exs. P and R), the warning text likewise     Because this clause clearly and unmistakably delegates
 appears directly above or below the create account button,          threshold arbitrability issues to an       arbitrator, including

 and hyperlinks the Terms of Service, as denoted by the blue         enforceability,   the   Court   may not decide whether the

 text. These two versions of the App and Website (Exs. P and         arbitration agreement is unconscionable or unenforceable.
 R) provided sufficient notice to a reasonably prudent internet      See Henry Schein. Inc. v. Archer & White Sales, Inc., 139 S.
 user of Ring's Terms of Service and arbitration clause.             Ct. 524, 530 (2019) (explaining that, before referring a dispute
                                                                      to an arbitrator, a court must first determine whether a valid
                                                                      arbitration agreement exists; if the agreement does exist, and




                                                                                                                                    5
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“if it delegates the arbitrability issue to an arbitrator, the court   Plaintiffs agreed to the arbitration clause on behalf of the
may not decide the arbitrability issue”).                              Non-Purchaser Plaintiffs; (2) the Non-Purchaser Plaintiffs'
                                                                       preexisting relationship with a Purchaser Plaintiff makes it

*7    Plaintiffs assert that many of the Purchaser Plaintiffs          equitable to enforce the Terms; and (3) the Non-Purchaser
created their Ring accounts before the delegation provision            Plaintiffs are equitably estopped from accepting the benefits

was added to the Terms, and therefore, those Plaintiffs cannot         while avoiding the burdens of the Terms. (See Motion at

be bound by the provision. (Opposition at 17). Ring admits             15-22).

that Plaintiffs Jason Ball, Lue Mayora, and Jerathen and
Corrina Tillman created their Ring accounts prior to August            Ring asserts that the Non-Purchaser Plaintiffs are bound

18, 2017, the date that the delegation provision was added             by the Terms as “Authorized Users.” (See Motion at 16).
to the Terms. (Reply at 21). However, Ring argues that these           The Terms define an Authorized User as “any person or

Plaintiffs are nonetheless bound by the delegation provision           entity authorized to access or use the Owner's Products and

because they have continued to use the Devices during this             Services.” (Modestine Decl., Ex. G at 2). While the Non

litigation, conduct which Ring contends constitutes assent to          Purchaser Plaintiffs allege that they were passively exposed

the current Terms and delegation provision. (Reply at 21)              to the Devices that their guardians purchased and used,

(citing Motion at 24 n.18).                                            Ring puts forth no evidence showing that the Non-Purchaser
                                                                       Plaintiffs were ever authorized by their guardians to “access

The Court agrees with Ring. Courts have held that plaintiffs           or use” the Devices. The Court agrees with Plaintiffs that

will be bound by a product's terms of use if they learn of             extending Ring's definition of Authorized User to anyone who

the terms' existence during pending litigation and continue to         is knowingly or unknowingly surveilled by a Ring device —

use the product — “conduct that a reasonable person would              which is essentially what Ring proposes — would lead to

understand to constitute assent.” Nicosia v. Amazon.com, Inc.,         absurd and unjust results. (See Opposition at 5 n.3).

815 F. App'x 612, 614 (2d Cir. 2020) (citation and internal
quotation marks omitted) (holding that the plaintiff received          Ring also argues that it is equitable to compel the Non

notice of the defendant's conditions of use when the defendant         Purchaser Plaintiffs to be bound by the Terms because of their

raised the conditions' arbitration clause as a ground for              preexisting relationship with the Purchaser Plaintiffs, who

dismissal in the litigation because the plaintiff had admitted         had the implied authority to contract on their behalf. (Motion

to making several purchases from the defendant since that              at 15-18).

date). The Court agrees that these Plaintiffs' continued use of
the Devices after being on constructive notice of the Terms             *8 Ring points to case law upholding agreements to arbitrate

through this lawsuit constitutes assenting conduct.                    made by a parent on behalf of a child who is to receive
                                                                       services under the contract, reasoning that parents have the

The Court concludes that the delegation provision applies to           implied authority to contract on behalf of their children. (See

all Purchaser Plaintiffs who were on inquiry notice of the             Motion at 16-17). These cases are inapposite because they

Terms, including those who created a Ring account before               involve a parent or spouse's ability to enter into a contract

August 1 8, 2017. Accordingly, Court does not decide whether           on behalf of her child or spouse for medical care or school

the Purchaser Plaintiffs' claims fall within the scope of the          activities. See Doyle v. Giuliucci, 62 Cal. 2d 606, 610, 43 Cal.

arbitration agreement or whether the agreement is enforceable          Rptr. 697 (1965) (holding that a parent's “power to enter into

or unconscionable. Because the parties agreed to delegate              a contract for medical care that binds the child to arbitrate any
gateway arbitrability issues, those issues must be reserved            dispute arising thereunder is implicit in a parent's right and

for the arbitrator to resolve. For the same reason, the Court          duty to provide for the care of his child”); Hawkins v. Superior

does not address Ring's argument that each Plaintiff should be         Court, 89 Cal. App. 3d 413, 419, 152 Cal. Rptr. 491 (1979)

compelled to arbitrate his or her claims on an individual basis        (holding that because spouses have a mutual obligation to

consistent with the Terms. (See Motion at 22-23).                      care for and support the other, one spouse had the power
                                                                       to contract for medical care on behalf of the other spouse,
                                                                       and “implicit in that power is the implied authority to agree
     B. Non-Purchaser Plaintiffs                                        for himself and his wife to arbitrate claims arising out of
 Ring makes three arguments as to why the Non-Purchaser                medical malpractice”); Hohe v. San Diego Unified School
 Plaintiffs — the twelve minor children and one elderly woman          District, 224 Cal. App. 3d 1559, 1564-65, 274 Cal. Rptr. 647
— are also bound by the arbitration clause: (1) the Purchaser



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( .1990) (holding that liability waiver for school activity could
                                                                                                                              s is
                                                                       The Motion with respect to the Non-Purchaser Plaintiff
be enforced against student because the waiver was signed
                                                           v.          DENIED
by the parent on student's behalf); County of Contra Costa
Kaiser Foundation Health Plan, Inc., 47 Cal. App. 4th 237,
                                                              of
242-43, 54 Cal. Rptr. 2d 628 (1996) (listing cases in support
                                                                       IV. CONCLUSION
rule that “a person who has authority to contract for medical                                                                to the
                                                                       For the reasons stated above, the Motion with respect
                                                           that
services on behalf of another may, in the exercise of
                                                                       Purchaser Plaintiffs who made a Ring account using the Ring
                                           nt to arbitrate  his
authority, bind that person to an agreeme                                                                                        to
                                                                       App or Website is GRANTED. The Motion with respect
                                                           “a
or her medical malpractice claims” and recognizing that
                                                                       the Non-Purchaser Plaintiffs is DENIED. The action shall
                         between the nonsign atory and one of
preexisting relationship
                                                                       proceed as to the Non-Purchaser Plaintiffs.
                                                            in
the parties to the arbitration agreement is a common factor
these cases”).
                                                                       IT IS SO ORDERED.

                                                        for
The Court is unconvinced that the authority to contract
                                                         is
goods beyond necessities like education or medical care
                                                        the                                        APPENDIX
 implicit in a parent or guardian's duty to provide for
                                                     to two
 care of her child or dependent. Although Ring cites
                                                              s
 district court opinions binding non-signatory family member
                                                          s are
 to adhesion contracts for consumer goods, these decision
                                                      at 16)
 not binding on this Court. (See Motion at 18; Reply
 (citing Chan v. Charter Communication s Holding Co., EDCV
                                                 Cal.
 15-886-JGB (KKx), 2015 WL 12655701, at *5 (C.D.
                                                        -
 Aug. 6, 2015), Tice v. Amazon.com, Inc., EDCV 19-1311
 SVW (KKx), 2020 WL 1625782, at *3        (C.D. Cal. Mar.
                                                       845 F.
 25, 2020), rev'd and remanded on other grounds,
                                                         upon
 App'x 535 (9th Cir. 2021)). Further, both courts relied
                                                      without
 California authorities such as County ofContra Costa
                                               s for  medical
 addressing the distinction between contract
 services and adhesion contracts for consumer goods.


                                                      where a
 The doctrine of equitable estoppel may also apply
                                                             nt
 nonsignatory to a contract “knowingly exploits the agreeme
                                                        signed
 containing the arbitration clause despite having never                                                     Sstifce os
                                                                               i    tc 0^9 1   • KJ Waai,
                                        Inc., 436  F.3d  1098,                                 AmmSUm
 the agreement.” Corner v. Micor,
                                                      n marks
  1101 (9th Cir. 2006) (citation and internal quotatio
                                                                F.3d
  omitted); see also Mundi v. Union Sec. Life Ins. Co., 555
                         2009) (explain ing that there are two types
  1 042, 1 046 (9th Cir.
                                                              on
  of equitable estoppel in the arbitration context, one based
                                                          ,” and
  the “close relationship between the entities involved
                                                        the
  the other “where the nonsignatory ‘knowingly exploits
                                                      having
  agreement containing the arbitration clause despite
                                                 there is no
  never signed the agreement’ ”). However, here,
                                                            ly
  evidence that any of the Non-Purchaser Plaintiffs knowing
  exploited Ring's Terms here.

                                                                         (Ring App., May-Nov. 2017, Ex. L)
                                                            proving
  Accordingly, Ring has failed to meet its burden of
                                 evidence   that the Non-Pur chaser
  by a preponderance of the
                                               See  Norcia, 845 F.3d
  Plaintiffs agreed to arbitrate their claims.
   at 1 283.




                                                                     Government Works.                                                7
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                                              1 12 30          Create Account


        Let's get started.




                         •w


                              OC      U-MW Thwtfrt




  thStrert
                         Q
                                                         *9 (Ring Website, Sept 2018, Ex. Q)




     Go gfei0***




 (Ring App., Nov. 2017-June 2018, Ex. M).




                   snapshot_29hngga.com




                      Pnvac




                   Oate Your Account




 (Ring Website, Feb. 20 1 8, Ex. Q)




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                                                                                                                 9 41 *M                                 MM
                                                                                 -H 4»


                                                                                   <                         Create Account                              X
             Create Account




     Let s create a password
                                                                                    Let s create a password




     1       2       3       4       5       6       7       8       9       0


     q       w       e       r       t       y       u               0       p     Q         W       E       R       T       Y       U       0       I       P

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                                                                                         A       S       D       F       G       H       J       K       L

      O          z       X       c       V       b       n       m       <3
                                                                                                 Z       X       C       V       B       N       M       <8
    ,”23 ,       .                               6* '


                                                                                                                                                     Done
                                                                                    123      @                           space




  (Ring App., Jun. 2018-May 2019, Exs. N, O)
                                                                                 (Ring App., May 2019-Jan. 2020, Ex. P)




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                                                                                imuiT

                                                                   ©              ©                0
        Let's create a
        password.
                                                                                    Sign In




 (Ring Website, April 20 19- Jan. 2020, Ex. R)




                                                                           New to •>«*«'




                                                          Compare to Dohrmann agreement on right, Arena v. Intuit
                                                          Inc., 444 F. Supp. 3d 1086, 1088 (N.D. Cal. 2020), rev'd and
                                                           remanded sub nom. Dohrmann, 823 F. App'x 482.




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                                                                    conditioned on the user’s agreement to the Terms of Use
                                                                    (“TOU”). (Id.) The TOU has always been available for review
                      2018 WL 6694923
                                                                    any time within the app. (Id.)
       Only the Westlaw citation is currently available.
        United States District Court, C.D. California.
                                                                    Since 2014, the TOU has included an arbitration agreement
                                                                    that requires all disputes (except small-claims matters) arising
           Lisa KIM, Individually and on Behalf of
                                                                    out of or relating to the TOU or Tinder’s services to be
            all Others Similarly Situated. Plaintiff,
                                                                    resolved through binding arbitration, and waives any right to
                               v.
                                                                    participate in a class or representative action:
  TINDER, INC., a Delaware Corporation; Match Group,

    LLC, a Delaware Limited Liability Company; Match

       Group, Inc., a Delaware Corporation; and Does 1                                                   Agreement.               The
                                                                                   Arbitration
    through 10, inclusive, and each of them, Defendants.                           exclusive    means       of resolving           any

                                                                                   dispute or claim arising out of or
                Case No. CV 18-03093 JFW (AS)
                                                                                   relating to this Agreement (including
                                    I
                                                                                   any   alleged        breach         thereof)     or
                        Signed 07/12/2018
                                                                                   the   Service        shall     be        BINDING

                                                                                   ARBITRATION administered by the
Attorneys and Law Firms
                                                                                   American          Arbitration       Association.

John P. Kristensen, Christina M. Le, David Levi Weisberg,                          The one exception to the exclusivity
Kristensen Weisberg LLP, Los Angeles, CA, Adrian Robert                            of arbitration is that you have the
 Bacon, Todd M. Friedman, Law Office of Todd M. Friedman                           right to bring an individual claim
 PC, Woodland Hills, CA, for Plaintiff.                                            against     the    Company          in    a   small

                                                                                   claims court of competent jurisdiction.
 Alexandra Hill, Donald R. Brown, Robert H. Platt, Manatt                          But whether you choose arbitration
 Phelps and Phillips LLP, Los Angeles, CA, for Defendants.                         or small-claims court, you may not

                                                                                   under any circumstances commence
                                                                                   or maintain against the Company any
                STATEMENT OF DECISION                                              class action, class arbitration, or other
                                                                                   representative action or proceeding.
 John F. Walter, United States District Court Judge



                STATEMENT OF DECISION                                (Badeen Decl., U 5 and Ex. 1,              18, Ex. 2,       19 (emphasis in

                                                                     original).)
 I. FACTUAL AND PROCEDURAL HISTORY

                                                                     Plaintiff created a Tinder account on October 10, 2013.
    A. Factual Background
                                                                     (Badeen Decl., II 7.) On April 13, 2015, Plaintiff created
  *1   Defendants Tinder, Inc., Match Group, LLC, and Match
                                                                     a second account. (Id.) On July 31, 2015, Tinder added a
 Group, Inc.’s (collectively, “Tinder”) own and operate a free,
                                                                     disclosure to its login screen that informed users that by
 smartphone-based dating app called Tinder. (Declaration of
                                           2-3.) The app displays    continuing to use the service, they were agreeing to Tinder’s
 Jonathan Badeen (“Badeen Decl.”),
                                                                     TOU. (Id., 1 6.) The screen stated that by tapping Log In, the
 profiles of other users and allows a user to swipe right on
                                                                     user agrees to the TOU. The disclosure was directly above the
 another user’s profile to express interest or left to express
                      2.) In March 2015, Tinder released a suite     Log In button and provided a clear hyperlink in the disclosure
 disinterest. (Id.,
                                                                     to the then-current TOU. (Id., Ex. 3.)
 of premium features called Tinder Plus that is available for a
 monthly fee. (Id.)
                                                                     On February 21, 2017, Plaintiff purchased a subscription to
                                                                      Tinder Plus. (Badeen Decl.,           7.) On February 23, 2017 and
  Tinder requires a user to create an account before accessing
                                                4.) Permission to     March 4, 2017, Plaintiff tapped to log in to her account. (Id.)
  any feature of the app. (Badeen Decl.,
  create an account and use the app has, in turn, always been




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                                                                    hybrid known as “browsewrap-that-resembles-clickwrap” or
  B. Procedural History                                             “sign-up wrap.” Nguyen v. Barnes & Noble Inc., 763 F.3d
On April 12, 2018, Plaintiff filed her Complaint, alleging a        1171, 1175-76 (9th Cir. 20 1 4). In a sign-up wrap agreement,
single cause of action for violation of the Unruh Civil Rights      the consumer must click an “I agree” box or otherwise
Act, Cal. Civ. Code §§ 51 et seq. [Dkt. No. 1.] On June 11,         clearly manifest consent to the terms of use, while the
2018, Tinder filed its Motion to Compel Arbitration or Stay         terms themselves are accessible via hyperlink. Id. at 1 1 76-77.
Under Colorado River Abstention (“Motion”). [Dkt. No. 24.]          Tinder uses a sign-up wrap. Plaintiff consented to the TOU by
On June 22, 2018, Plaintiff filed a First Amended Complaint         tapping the Tinder Log In button directly below a disclosure
(“FAC”), which added a cause of action for violation of             that clearly explained that doing so constituted agreement to
California’s Unfair Competition Law, Cal. Bus. & Prof. Code         the TOU, which itself was accessible via a hyperlink in the
§§ 17200 et seq. [Dkt No. 30.] On June 25, 2018, Plaintiff          disclosure. (See Badeen Decl.,        6.)

filed an Opposition to Tinder’s Motion, and Tinder filed a
Reply on July 2, 2018. [Dkt. Nos. 32 and 33.]                       This method of consent is fully enforceable. See Nguyen, 763
                                                                    F.3d at 1177; Graf v. Match.com, LLC, 2015 WL 4263957,
                                                                    at *4 (C.D. Cal. July 10, 2015). In addition, Tinder provided
II. LEGAL STANDARD
                                                                    sufficient evidence that Plaintiff consented to the TOU (and
 *2    Tinder’s arbitration agreement — addressed in detail
                                                                    thus, the TOU’s arbitration agreement) through this method.
below — provides that it is governed by the Federal
                                                                    Tinder provided a declaration with documentary exhibits
Arbitration Act, 9 L’.S.C. § 1 et seq. (“FAA”). (Badeen Decl.,
                                                                    establishing that, on multiple occasions after July 31, 2015,
Ex. 1,     18, Ex. 2, K 19.) An FAA choice-of-law provision
                                                                    Plaintiff logged in to her Tinder account through a login
in an arbitration agreement is enforceable. Brennan v. Opus
                                                                    screen on her phone which stated that tapping the Log In
Bank, 796 F.3d 1125, 1129-31 (9th Cir. 2015). Moreover,
                                                                    button would constitute consent to the TOU (and thus the
the FAA governs this case even without a choice-of-law              TOU’s arbitration agreement). On each occasion, the screen
provision because Tinder’s TOU “evidences] a transaction
                                                                    provided a prominent hyperlink to the TOU, which Plaintiff
 involving commerce.” 9 U.S.C. § 2; see Chiron Corp. v. Ortho
                                                                    was free to review if she desired.
 Diagnostic Sys., Inc., 207 F.3d 1126, 1130 (9th Cir. 2000).

                                                                     In light of Tinder’s evidence that Plaintiff consented to
 “The FAA provides that any arbitration agreement within
                                                                     the arbitration agreement, the burden shifted to Plaintiff to
 its scope ‘shall be valid, irrevocable, and enforceable.’ ”
                                                                     affirmatively rebut such evidence. See Sundquist v. Ubiquity,
 Chiron, 207 F.3d at      1130 (quoting 9 U.S.C.      § 4). On
                                                                     Inc., 2017 WL 3721475, at **2-3 (S.D. Cal. Jan. 17, 2017).
 a motion to compel arbitration, a district court’s role is
                                                                     Plaintiff failed to do so. Instead, Plaintiff argued that Tinder
 limited to determining whether a valid agreement to arbitrate
                                                                     should be required to provide additional evidence regarding
 exists and—unless the question is contractually delegated
                                                                     her login, and made a vague request for unspecified discovery.
 to the arbitrator — determining whether the agreement
                                                                     However, vague requests to pursue unspecified discovery are
 encompasses the parties’ dispute. See id.; Brennan, 796 F.3d
                                                                     insufficient as a matter of law to defeat a motion to compel
 at 1132 (“a court must enforce an agreement that ... clearly
                                                                     arbitration. See, e.g., Hodsdon v. DirecTV, LLC, 2012 WL
 and unmistakably delegates arbitrability questions to the
                                                                     5464615, at *8 (N.D. Cal. Nov. 8, 2012)
 arbitrator”). The FAA “leaves no place for the exercise of
 discretion by the distt'ict court.” Dean Witter Reynolds Inc. v.
                                                                      *3 Accordingly, the Court concludes that Plaintiff accepted,
 Byrd, 470 U.S. 213, 218 (1985). Rather, “the [FAA] requires
                                                                     and is bound by, the arbitration agreement.
 the court to enforce the arbitration agreement in accordance
 with its terms.” Chiron, 207 F.3d at 1 130.

                                                                        B. Issues of Arbitrability Were Delegated to the
                                                                        Arbitrator.
 III. DISCUSSION
                                                                     The arbitration agreement states that claims or disputes
                                                                     between    the   parties    shall   be   determined   in    arbitration
      A. Plaintiff Consented to the TOU, and Her Consent
                                                                     administered     by   the    American      Arbitration     Association
      Is Binding.
                                                                     (“AAA”). (Badeen Decl., Ex. 1,              18, Ex. 2,       19.) The
  There are three generally recognized methods of obtaining
                                                                     AAA Rules state that the question of arbitrability is for the
  consent to terms of use: clickwrap, browsewrap, and a
                                                                     arbitrator — and, thus, not for the court. (See Request for



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                                                                      her from seeking a public injunction. The Court disagrees.
Judicial Notice (“RJN”), Ex. 1, R- 14(a).) 1 Where, as in this        Plaintiff is free to pursue her claim for UCL injunctive relief
case, an arbitration agreement incorporates AAA Rules, a              — whether it qualifies as public or private — in arbitration.
provision in the Rules delegating the question of arbitrability
to the arbitrator is enforceable. Brennan, 796 F.3d 1125.              *4 The arbitration agreement here, unlike in McGill, does
                                                                      not deprive Plaintiff of any statutory remedy. Tinder’s
Accordingly, the Court need not, and should not, determine            agreement states that an arbitrator may award any relief
questions of arbitrability, such as whether Plaintiff’s claims        available in a court of law — including a public injunction.
                                                                2
are within the scope of the parties’ arbitration agreement ~          (See Badeen Deck, Ex. 1, § 18. b; Ex. 2 § 19 (“The arbitrator

because those determinations have been properly delegated to          can grant any reliefthat a court can ...”).) The fact that Plaintiff
the arbitrator' for determination.                                    may not seek a public injunction (or any other relief) as part
                                                                      of a class or representative action is irrelevant.


   C. This Case Is Subject To Arbitration.

In her Opposition, Plaintiff, relying heavily on McGill v.
                                                                          3. The So-Called Broughton-Cruz Rule Is Invalid.
Citibank, N.A., 2 Cal. 5th 945 (2017), argues that this
dispute is not subject to arbitration. The Court disagrees for
                                                                      Plaintiff argues she cannot be compelled to seek public
three reasons: (i) Plaintiff is seeking a private, not public,                                      arbitration   because       the   so-called
                                                                      injunctive    relief   in
injunction; (ii) the arbitration agreement does not bar claims
                                                                      Broughton-Cruz rule entitles her to seek such relief in
for injunctive relief, public or otherwise; and (iii) the so-called
                                                                      a court of law. ! However, the Broughton-Cruz rule was
Broughton-Cruz rule is invalid.
                                                                      rendered invalid by the U.S. Supreme Court’s decision in
                                                                      AT&T Mobility- LLC v. Concepcion, 563 U.S. 333 (2011),
                                                                      which held that a state-law rule that specifically restricts the
        1. Plaintiff Is Not Seeking a Public Injunction.               scope of arbitration agreements is preempted by the Federal
                                                                       Arbitration Act, 9 U.S.C. § 1 et seq. (“FAA”). See Ferguson v.
 In McGill, the California Supreme Court held that a provision
                                                                       Corinthian Colleges, Inc., 733 F.3d 928, 937 (9th Cir. 2013)
 in a contract that waives the statutory remedy of public
                                                                       (“We therefore hold that the FAA preempts the Broughton-
 injunctive relief is unenforceable. A public injunction affects
                                                                       Cruz rule.”); Nelsen v. Legacy Partners Residential, Inc., 207
 the public as a whole, whereas a private injunction affects
                                                                       Cal. App. 4th 1115, 1136 (2012), as modified on denial of
 only an individual or a limited section of the public. McGill,
                                                                       reh ’g (Aug. 1 4, 20 1 2).
 2 Cal. 5th at 955. The dispute in this case concerns whether
 Tinder may charge a higher price for access to its optional
 premium features of its app to users who are at least thirty          IV. CONCLUSION
 years of age. In the UCL claim alleged in her FAC, Plaintiff          For all the foregoing reasons, the Court GRANTS Tinder’s
 seeks an injunction that would prevent Tinder from basing                                                                  4
                                                                       Motion and orders the parties to arbitration.            The Court also
 the price for those features, known as Tinder Plus, on this
                                                                       STAYS this action pending the outcome of the arbitration.
 age distinction. An injunction that purports to control only
                                                                       The parties shall file a joint status report with the Court every
 the price charged to users of Tinder’s dating app who wish
                                                                       120 days regarding the status of the arbitration, with the first
 to subscribe to Tinder Plus and are age 30 or over is clearly
                                                                       joint status report to be filed on November 8, 2018. The
 one that would not affect the public at large and, therefore,
                                                                       Scheduling Conference set for July 23, 2018, at 1:15 p.m. is
 would only qualify as a private injunction. See, e.g., Croucier
                                                                       VACATED
 v. Credit One Bank, N.A., 2018 WL 2836889 (S.D. Cal. June
  11,2018).
                                                                       IT IS SO ORDERED.




                                                                        All Citations
         2. The Arbitration Agreement Does Not Bar

      Claims for Injunctive Relief, Public or Otherwise.
                                                                       Not Reported in Fed. Supp., 2018 WL 6694923

  Plaintiff argues that the parties’ arbitration agreement is

  unenforceable, in whole or in part, because it would preclude


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                                                         Footnotes



1        The Court grants Tinder’s Request for Judicial Notice.

                                                                                            at issue in this case because
2        It is nonetheless clear that the arbitration agreement encompasses the claims
                                                                                           this Agreement (including any
         Plaintiff agreed to arbitrate “any dispute or claim arising out of or relating to
         breach thereof) or the Service .... “ (Badeen Decl., *|J 5 and Ex. 1 at    19.)

                                                                                   1066 (1999), and Cruz refers to
3        Broughton refers to Broughton v. Cigna Healthplans of Calif., 21 Cal. 4th
         Cruz v. PacifiCare Health Sys., Inc., 30 Cal. 4th 303 (2003).

                                                                                  not address the issue of a stay
4        Because the Court has ordered the parties to arbitration, the Court need
         under Colorado River abstention.




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                                                                               22, 2016. (Docket No. 46). After careful consideration of all
                                                                               of the parties' submissions and for reasons that will follow,
       KeyCite Yellow Flag - Negative Treatment                                the Court finds that the class action waiver clause of the
                                                                        LLC,
Disagreed   With by    Hall   v.   U.S.    Cargo and Courier Service,
                                                                               Agreement is enforceable. The Court will therefore enter
             March 9, 2018
S.D.Ohio,
                                                                               summary judgment in favor of Defendant and against Plaintiff
                                                                               as to the class action wage and hour claims that he has
                          2016 WL 3752917
                                                                               asserted as class representative. However, the Court's Order is
        United States District Court, W.D. Pennsylvania.
                                                                               without prejudice to Plaintiff submitting a Second Amended
                                                                               Complaint setting forth his individual wage and hour claims
            Jonathan KUBISCHTA, Individually and on
                                                                               against Defendant. The Court expressly declines to rule on
         Behalf of all Others Similarly Situated, Plaintiff,
                                                                               the enforceability of the release provision in the Agreement
                                          v.
                                                                               at this time.
          SCHLUMBERGER TECH CORP, Defendant.


                        Civil Action No. 15-1338
                                                                                  II. Background
                                               I
                                                                               Plaintiff brings this action against his former employer,
                              Signed 07/14/2016
                                                                               Defendant, to recover unpaid overtime wages and other
                                                                               damages, individually and on behalf of other Measurement
Attorneys and Law Firms
                                                                               While    Drilling   employees        (“MWD      Class   Members”),

Joshua P. Geist, Goodrich & Geist, P.C., Pittsburgh, PA,                       alleging violations of the Pennsylvania Minimum Wage
                                                                               Act (“PMWA”),       43   P.S.   §§    333.101   et seq, the    Ohio
Andrew W. Dunlap, Michael A. Josephson, Fibich Leebron
                                                                                Minimum Fair Wage Standards Act, O.R.C. §§ 4111                   et
 Copeland Briggs & Josephson, James A. Jones, Richard J.
 Burch, Bruckner Burch PLLC, Houston, TX, for Plaintiff.                        seq., (“the Ohio Wage Act”), and the Ohio Prompt Pay
                                                                                Act (“OPPA”), Ohio Rev. Code § 4113.15 (collectively,
 Rachel E. Linzy, Robert P. Lombardi, Samuel Zurik, III,                        “the Ohio Acts”). (Docket No. 59). Plaintiff also asserts an
 Alexander Landin, Kullman Firm, New Orleans, LA, for                           individual claim against Defendant to recover for alleged
 Defendant.                                                                     violations of the Fair Labor Standards Act (“FLSA”), 29
                                                                                U.S.C. § 201 et seq. Id. Neither Plaintiff nor the Defendant
                                                                                is a citizen of Pennsylvania, as Plaintiff is a resident of
                    MEMORANDUM OPINION                                          Cleveland, Cuyahoga County, Ohio, and Defendant maintains
                                                                                its headquarters in Texas. (Id. at          3). Plaintiff brought
 Nora Barry Fischer, United States District Judge                               this action in the Western District of Pennsylvania because
                                                                                he allegedly worked substantial overtime for Defendant in
    I. Introduction
                                                                                Washington, Pennsylvania. (Docket No. 59 at             7). Plaintiff
  *1     This wage and hour case arises out of the former
                                                                                also allegedly worked for Defendant, at times, in Ohio.
 oil    and gas activities         of Defendant       Schlumberger Tech
                                                                                (Docket No. 25 at 6).
 Corp. (“Defendant”) in Washington County, Pennsylvania
 and parts of Ohio. (Docket Nos. 25 at 6; 59 at fl 1, 8).
                                                                                According to the First Amended Complaint, Plaintiff worked
 The dispute before the Court involves the enforceability
                                                                                as a Measurement While Drilling (“MWD”) employee for
  of certain provisions contained in a severance agreement
                                                                                Defendant. (Docket No. 59 at   17). Plaintiff alleges that,
  (the “Agreement”) between Plaintiff Jonathan Kubischta
                                                                                 although he and the MWD Class Members were regularly
  (“Plaintiff’) and Defendant which included, among other
                                                                                 scheduled to work eighty-four (84) hours per work week,
  things, a class action waiver clause and a corresponding
                                                                                 Defendant did not pay any members of the MWD Class
  release of a lengthy list of potential causes of action. (Docket
                                                                                 overtime for any hours worked in excess of forty (40) hours
  No. 55-1). The Court issued a series of show cause orders
                                                                                 in a work week. (Zc/. at fl 25, 26). Instead, Defendant paid its
  directing the parties to brief issues related to the import
                                                                                 MWD employees a base salary plus a day-rate. Id. Plaintiff
  of the Agreement, (Docket Nos. 41, 58, 71), to which all
                                                                                 contends that, because the MWD work involves manual labor
  parties have responded. (Docket Nos. 43, 45, 54, 55, 65,
                                                                                 duties that constitute non-exempt work, Defendant owes back
  66, 79, 80). Counsel for the parties also provided oral
                                                                                 overtime wages to Plaintiff and the MWD Class Members.
  argument at the Hearing held before this Court on March
                                                                                 (Id. at 1 27).



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                                                                         The Court scheduled a case management conference for
*2   Plaintiffs employment with Defendant ended on or
                                                                                                                                   18,
                                                H 1).                    March 22, 2016. In advance of the conference, on March
about September 25, 2015. (Docket No. 55-1 at                                                                                       to
                                                                                                      parties to show good cause as
                                              the   Schlumberger         2016, this Court ordered the
As consideration      for participating in
                                                                                                                                  ent,
                                                  ”),                    why this case should not be dismissed due to the Agreem
Technology Corporation Severance Plan (the “STOPS
                                                                                                                            state law
                                                        at               which indicates that the Plaintiff had settled his
Plaintiff was required to execute the Agreement. (Id.
5[ 2). In return, Defendant was to: pay Plaintiff $924.00 ;              claimsasofOctober5,2015. 1 (DocketNo. 41). Plaintiff filed
pay Plaintiff an amount representing his applicable monthly              his response to the Show Cause Order on March 21, 2016,
                                                                                                                                22,
COBRA premium payment for a period of three (3) months;                  (Docket No. 43), to which Defendant responded on March

and provide Plaintiff with outplacement counseling for three             201 6 by filing a brief in opposition. (Docket No. 45).
                                                       waiver,
(3) months. Id. The Agreement contains a class action
                                                                                                                                 nt
which provides that "[Plain tiff] waives particip ation, to the          The Court held a case management conference/oral argume
                                                                                                                              Oral
extent permitted by law, in any class or collective action,
                                                               as        on March 22, 2016. (Docket No. 46). At Hearing and
                                                                                                                            above
either a class or collective action representative or particip
                                                              ant        Argument, this Court notified the parties that the
                                                                                                                              that
 as to those claims not released, by signing this Agreem
                                                             ent         discussed issues may be dispositive to the case, and
                                                                                                                            of his
 prior to the conditional certification of a class or collective         Mr. Kubischta may have released or waived many
                                                                                                                                      and
 action.” (Id. at 5). The Agreement also includes a choice of             claims by entering into the Agreement. Subsequently,
                                                                                                                  supplem ental briefs on
 law provision stating that the Agreement “shall be governe
                                                             d            with leave of Court, both parties filed
                                                                                                                                1, 2016,
 and conformed in accorda     nce with  the laws of the  State            April 8, 2016. (Docket Nos. 54, 55). Then, on April 1
                                                                                                                                     nt's
 of Texas...” (Id. at 1| 9). Plaintiff was presented with
                                                           the            this Court ordered the Plaintiff to respond to Defenda

 Agreement on September 25, 2015, and was informe
                                                     d that               Supplemental Memorandum at Section C entitled, “Under
                                                                                                                               a Class
 he had until November 9, 2015 to conside r and execute the               the Erie Doctrine, Kubischta's Right to Proceed with
                                                                                                                              Right,
 Agreement. (Id. at 11). Following Plaintiffs receipt
                                                        of the            Action Is a Procedural Right, and Not a Substantive
                                                                                                                    t Nos.  54, 58).
 Agreement, but before he signed and agreed to it, “[Plaint
                                                            iff]          And, As a result, Can Be Waived.” (Docke
                                                                                                                               d Class
 contacted [his current] attorneys to inquire about
                                                      potential           Plaintiff, on that same date, filed his First Amende
                                                                                                                         inserted
 wage claims he may have against       [Defend ant.]”  (Docket            Action Complaint, (Docket No. 59), in which he
                                                  on October
 No. 25 at 7). After consulting with his counsel,                         an individual claim under the FLSA. “ Defendant
                                                                                                                          answered
                                                         the
 5, 2015, Plaintiff executed the Agreement and returned                   Plaintiffs Amended Complaint on April 25, 2016.
                                                                                                                                 (Docket
                                                           nt
 signed copy to Defendant. (Docket No. 55-1 at 8). Defenda                No. 70). On the following day, this Court ordered the parties to
                                                 ns under the
 purports to have fulfilled all of its obligatio                          submit supplemental briefing on the Agreement under
                                                                                                                              Texas
                                                   has not
  Agreement, (Docket No. 45 at 2), which Plaintiff                         law, (Docket No. 71), which was submitted on May
                                                                                                                               17, 2016
                                                                                                                                     ion.
  refuted.                                                                 (Docket Nos. 79, 80). The matter is now ripe for disposit

                                                   lly the same
  Nevertheless, with the assistance of essentia
                                                          lawsuit
  counsel, Plaintiff proceeded to file this class action                     III. Legal Standard
                                                                                                                               Rules of
  on October 14, 2015, asserting claims under the
                                                  PMWA and                 *3 Heeding the directives in Rule 1 of the Federal
                                                                                                                                   sive
  the Ohio Acts in his own right and on behalf of MWD
                                                       Class               Civil Procedure to “secure the just, speedy, and inexpen
                                                                                                                                     Court
  Members. (Docket No. 1). The next day, Plaintiff
                                                     filed a               determination of every action and proceeding,” this
                                                                                                                                 waiver  at
  consent to opt-in to an FLS A collective action in Boudrea
                                                             ux v.         will address the enforceability of the class action
                                                                                                                                  Federal
  Schlumberger Tech Corp., Case No.      6:14-cv -02267, which  is         this time, in accordance with Rule 56. To this end,
                                                             District                                       provide s that “[a]fter giving
  still pending in the U.S. District Court for the Western                 Rule of Civil Procedure 56(f)(1)
                                                                                                                                        (1)
  of Louisiana. (Docke    t No.   18-4).  He then  sought   leave   to     notice and a reasonable time to respond, the court may:
                                                                                                                                    Circuit
  withdraw his opt-in from that lawsuit       one day  later,   which      grant summary judgment for a nonmovant.” The Third
                                                                a over                                          a district court  may   not
  was eventually granted by the District Court in Louisian                 has held that, “[u]nder our cases,
                                                                                                                              court  gives
  the objections   of Defenda nt. (See  Docket  No.  30). In  light of      grant summary judgment sua sponte unless the
                                                                                                                            judgment.”
  this ruling, Defendant withdre    w  its previou sly filed  motion       notice and an opportunity to oppose summary
                                                             filed its                                 l ofCity of Wilmington, 355 F.3d
  to dismiss, (Docket No. 18), in this Court and then                      Gibson v. Mayor and Counci
                                                                                                                 Elevator Co. v. George
  Answer to Plaintiffs initial Complaint on Februar
                                                         y 22, 2016.       215, 223 (3d Cir. 2004) (quoting Otis
                                                                                                                                  In the
   (Docket No. 32).                                                        Washington Hotel Corp., 27 F.3d 903 (3d Cir. 1994)).




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                                                                                     representative    or    participant   as
context of sua sponte summary judgment, the First Circuit has
                                                                                     to   those   claims   not released,   by
defined “notice” to mean “that the targeted party ‘had reason
                                                                                     signing this Agreement prior to the
to believe the court might reach the issue and received a fair
                                                                                     conditional certification of a class
opportunity to put its best foot forward.’ ” (Id. at 223-24)
                                                                                     or collective action. This Agreement
(quoting Leyva v. On the Beach, Inc., 171 F.3d 717, 720 (1st
                                                                                     does not waive participation in a class
Cir. 1999) (internal citations omitted)).
                                                                                     or collective action certified prior to

                                                                                     the date of the Employee's signature if
It is well-established that summary judgment is appropriately
                                                                                      the Employee meets the requirements
entered “if the movant shows that there is no genuine dispute
                                                                                      for the defined class or collective
as to any material fact and the movant is entitled to judgment
                                                                                      action.
as a matter of law.” FED. R. CIV. P. 56(a). “A fact is material
if it might affect the outcome of the suit under the governing
law.” Burton v. Teleflex Inc., 707 F.3d 417, 425 (3d Cir.
2013) (citation omitted). In deciding a motion for summary             (Docket No. 55-1 at *| 5 (emphasis added)). To reiterate,

judgment, the Court should not weigh the evidence, determine           Plaintiff executed this Agreement after consulting with his

the truth of the matters, or evaluate credibility. See Montone         counsel and then proceeded to file the instant class action

 v. City of Jersey City, et al., 709 F.3d 181 (3d Cir. 2013).          lawsuit against Defendant a mere nine (9) days later, despite

 Rather, the Court should only determine whether the evidence          the quoted language of the Agreement.        (See Docket No. 1 ;

 of record is such that a reasonable jury could return a verdict       55-1).
 for the non-moving party. Id. In evaluating the evidence, the
 Court must interpret the facts in the light most favorable to
 the non-moving party, and draw all reasonable inferences in             A. Choice of Law

 favor of the non-movant. Watson v. Abington Twp., 478 F. 3d            *4   As noted, the parties' Agreement provides that Texas

                                                                       law governs their contract. (Docket No. 55-1 at    9). In
 144, 147 (3d Cir. 2007).
                                                                       considering the class action waiver contained within  the

                                                                       Agreement, the Court must first determine the appropriate
    IV. Discussion                                                     state law governing the issue of whether and to what extent
 Defendant argues that the class action waiver is enforceable          the class action waiver is enforceable. “In federal diversity
 and that Plaintiff should not be permitted to proceed as              cases, a federal court must apply the conflict-of-law rules of
 the representative plaintiff in this class action lawsuit on          the forum state in which it sits, in this case, Pennsylvania.”
 behalf of similarly situated workers employed by Defendant             Cincinnati Insurance Company v. Jerry Ellis Construction,
 in Pennsylvania and Ohio. (Docket No. 45 at 13-16; 54 at               2016 WL 3211991 at *3 (W.D. Pa. Jun. 9, 2016) (citing
 7-11; 70 at Affirmative Defense No. 27). Plaintiff counters            Garcia v. Plaza Oldsmobile LTD., 421 F.3d 216, 219 (3d
 that the class action waiver clause is unenforceable under             Cir. 2005)). “As the Third Circuit has noted, Pennsylvania
                                                        to
  Pennsylvania law and that the Court should permit him                 courts generally honor the intent of the contracting parties
  proceed in a representative capacity on behalf of the proposed        and enforce choice-of-law provisions in contracts executed
  class. (Docket No. 55 at 13). Accordingly, the Court begins           by them if that state bears a reasonable relationship to the
  its analysis with the text of the class action waiver set forth in    contract.” Id. (citing Kruzits v. Okuma Mach. Tool, Inc., 40
  the Agreement, which provides:                                        F.3d 52, 55 (3d Cir. 1994)). Further, “Pennsylvania couits
                                                                        will only ignore a contractual choice of law provision if
                                                                        that provision conflicts with strong public policy interests.”
               This Agreement is not intended to                        Id. In order to determine whether the class action waiver
               release any claims, such as FLSA                         conflicts with strong public policy interests, rendering it
                claims,   that      the   employee      is    not       unconscionable, the Court now considers Pennsylvania and
                                                                                                                       5
                free to release on his own accord.                      Texas
                                                                                4
                                                                                    law regarding unconscionability.
                Employee waives participation, to
                the   extent     permitted        by   law,    in

                any class      or    collective    action,     as            B. Unconscionability Standard under Pennsylvania

                either a class or collective action                          Law




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                                                                     on the part of the other party regarding acceptance of the
Plaintiff asserts that the class action waiver contained
within the Agreement is unconscionable and, therefore,               provisions.’ ” Harris, 183 F.3d at 181 (quoting Bensalem

unenforceable. (Docket No. 55 at 13). Pursuant to
                                                                     Township v. International Surplus Lines Ins. Co., 38 F.3d

Pennsylvania   law,   “[u]nconscionability   is   a   ‘defensive     1303, 1 3 12 (3d Cir. 1994)).

contractual remedy which serves to relieve a party from an
unfair contract or from an unfair portion of a contract.’
                                                                       C. Unconscionability Standard Under Texas Law
Harris v. Green Tree Financial Corp., 183 F.3d 173, 181
                                                                     Given that the Agreement contains a choice of law provision
(3d Cir. 1999) (citing Germantown Mfg. Co. v. Rawlinson,
                                                                     applying Texas law, the Court briefly summarizes Texas'
341 Pa. Super. 42 (1985)). “The party challenging a contract
                                                                     law of unconscionability which is substantially similar to
provision as unconscionable generally bears the burden of
                                                                     Pennsylvania law.
proving unconscionability.” Harris, 183 F.3d at 181 (citing
Bishop v. Washington, 331 Pa. Super. 387 (1984)). To
                                                                     A citizen's freedom of contract is a paramount public policy
prove unconscionability under Pennsylvania law, Plaintiff
                                                                     of Texas. Provencher v. Dell, Inc., 409 F. Supp. 2d 1196,
must show the contract was substantively and procedurally
                                                                     1204 (C.D. Cal. 2006) (citing Wood Motor Co. v. Nebel, 150
unconscionable. Korea Week, Inc. v. Got Capital, LLC, 2016
                                                                     Tex. 86, 238 S.W.2d 181, 185-86 (1952)). Under Texas law,
WL 3049490, at *6 (E.D. Pa. May 27, 2016) (internal
                                                                     a court is not permitted to interfere with the parties' contract
citations omitted). “In determining unconscionability, the
                                                                     just because the court believes the contract is unwise and
Court of Appeals for the Third Circuit directs [that the
                                                                     unfair, or because one of the parties to the contract now
Court] apply a ‘sliding scale approach;’ ‘where the procedural
                                                                     wishes a provision did not exist. Id. The Texas Supreme Court
unconscionability is very high, a lesser degree of substantive
                                                                     gave Texas courts clear direction on how to approach legal
unconscionability may be required.’ ” Id. (quoting Quilloin v.
                                                                     challenges to contracts in Wood Motor Co. v. Nebel.
 Tenet Health System Phila., Inc., 673 F.3d 221, 230 (3d Cir.
 2012)).


                                                                                   if there is    one thing which more
 “Procedural unconscionability pertains to the process by
                                                                                   than another public policy requires is
 which an agreement is reached and the form of an agreement,
                                                                                   that men of full age and competent
 including the use therein of fine print and convoluted
                                                                                   understanding shall have the utmost
 or unclear language.” Harris, 183 F.3d at 181 (citing E.
                                                                                   liberty   of   contracting,   and   their
 ALLAN FARNSWORTH, CONTRACTS § 4.28 (2d ed.
                                                                                   contracts when entered into freely and
 1990)). “Under Pennsylvania law, a contract is considered
                                                                                   voluntarily shall be held sacred and
 procedurally unconscionable if it is a contract of adhesion;
                                                                                   shall be enforced by courts of justice.
 one that is a ‘standard form contract prepared by one party,
                                                                                   Therefore you have this paramount
 to be signed by the party in a weaker position, usually a
                                                                                   public policy to consider — that you
 consumer, who adheres to the contract with little choice
                                                                                   are not lightly to interfere with this
 about the terms.’ ” Korea Week, 2016 WL 3049490 at *7
                                                                                   freedom of contract.
 (internal citations omitted). “Factors to be considered in
 determining procedural unconscionability include: the take-
 it-or-leave-it nature of the standardized form of the document,
 the parties' relative bargaining positions, and the degree of        238 S.W.2d at 185-86 (emphasis in original). An individual's

 economic compulsion motivating the adhering party.” Id.              freedom of contract, however, is not limitless under Texas

 (internal quotations and citations omitted).                         law. If the complaining party can show that the contract is

                                                                      unconscionable, a Texas court will not enforce it. Provencher,

  *5   “Substantive unconscionability refers to contractual           409 F. Supp. 2d at 1 204. But, this showing is a difficult one for

 terms that are unreasonably or grossly favorable to one              the complaining party to make. Id. (citing AutoNation U.S.A.

 side and to which the disfavored party does not assent.”             Corp. v. Leroy, 105 S.W.3d 190, 198 (Tex. App. 2003)). To

 Harris,   183 F.3d at 181 (citing Germantown, 491           A. 2d    be unenforceable under Texas law, the contract must be both

 at 145-47). “Thus, ‘[u]nconscionability requires a two-fold          procedurally and substantively unconscionable. Provencher,

 determination: that the contractual terms are unreasonably           409 F. Supp. 2d at 1204 (citing In re Halliburton Co., 80

  favorable to the drafter and that there is no meaningful choice      S.W.3d 566, 571 (Tex. 2002)). A contract is procedurally




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unconscionable if a party has “no real choice” but to enter           was even encouraged in writing to consult with an attorney
                                                                      before signing and returning the Agreement. The Court notes
into the contract. Provencher, 409 F. Supp. 2d at 1 204 (citing
Dillee v. Sisters of Charity, 912 S.W.2d 307, 309 (Tex. App.          that Plaintiff did in fact consult with counsel after receipt of
1995)). “A contract is substantively unconscionable if it is so       and prior to execution of the Agreement. ' (Docket No. 25
one-sided that ‘no man in his senses and not under a delusion         at 7).

would enter into [it] and which no honest and fair person
would accept.’ ” Provencher, 409 F. Supp. 2d at 1204 (quoting         With regards to substantive unconscionability, this Court
Blount v. Westinghouse Credit Corp., 432 S.W.2d 549, 554              finds no evidence that the terms of the Agreement were
(Tex. Civ. App. 1968)).                                               unreasonably or grossly favorable to Defendant. In return
                                                                      for entering into the Agreement containing the class action
                                                                      waiver, Plaintiff was to receive: a lump sum payment;
   D. The Class Action Waiver is Enforceable Under                    three (3) months of COBRA payments; and outplacement
   Pennsylvania and Texas Law                                         counseling, compensation and benefits to which Plaintiff
In light of the above authority, and because there are no             was not previously entitled. (Docket No. 55-1 at          2). As
genuine disputes of material fact between the parties as
                                                                      the Court declines to opine on the validity of Plaintiffs
to the interpretation of the class action waiver, and the             waiver of his state law claims at this time, Plaintiff does
factual circumstances related thereto, the Court finds as a           not lose any statutory right to pursue his damages under the
matter of law that the class action waiver is enforceable             FLSA, the PMWA, or the Ohio Acts by virtue of the class
under both Pennsylvania and Texas law. 6 Accordingly,                 action waiver. These statutes provide for attorneys' fees to
 summary judgment will be entered in Defendant's favor and            the prevailing party in related litigation and therefore, the
 against Plaintiff on this issue. The Court's analysis of the         costs of proceeding individually will not effectively deny
 enforceability of the class action waiver follows.                   redress. Additionally, the First Amended Complaint asserts
                                                                       that Plaintiffs individual damages exceed $75,000.00, which
  *6   Review of the circumstances surrounding execution               is a far-cry from the small amount at issue for each individual
 of the Agreement illustrates that the Agreement was not               plaintiff in Thibodeau. (Docket No. 59 at        3). In sum, the

 a contract of adhesion, and Plaintiff did not lack any                Agreement is not substantively unconscionable.
 meaningful choice in entering into the Agreement. Therefore,

 the Agreement is not procedurally unconscionable. First,              Plaintiffs   main   argument   in   opposition    to   the   class
 Plaintiff was not required to enter into the Agreement at             action waiver is that “Pennsylvania's Supreme Court has
 the beginning of his employment; instead, Plaintiff was               consistently held that class action waivers are unenforceable
 provided with the Agreement on or about September 25,                 under circumstances like this one.” (Docket No. 65 at 1)
 2015, his last day of employment. (Docket No. 55-1 at 11).            (citing Thibodeau v. Comcast Corp., 912 A. 2d 874, 884
 As such, Plaintiff was not presented with a take-it-or-leave it       (Pa. Super. 2006)). Plaintiff contends that where “the cost
 contract at the beginning of his relationship with Defendant,         of lawyers, fees, and expert witnesses makes [an] individual
 as were plaintiffs in Thibodeau, discussed infra. Second, the         lawsuit ... completely impractical],]” a class action waiver

 Agreement contains a revocation provision, which permitted            will not be enforced. Id. Defendant counters that Thibodeau
 Plaintiff to revoke the Agreement for a period of seven (7)           does not undermine the provision in the present Agreement.
 calendar days following the execution of the Agreement.               (Docket No. 54 at 7-9). This Court agrees.
  (Docket No. 55-1 at     4). The Agreement was not to become

 effective until the revocation period had expired. Id. Third,          Plaintiffs reliance on the non-binding decision in Thibodeau
 the Agreement contains a notice advising that Plaintiff had            is unpersuasive as the facts underlying that decision are
  forty-five (45) days to consider the Agreement and to consult         readily distinguishable from the instant case. See Thibodeau,
  with an attorney prior to execution of the Agreement. (Docket         9 1 2 A.2d 874. Additionally, as is more fully discussed below,
  No. 55-1 at 8). All three of these factors persuade the Court         a more recent decision, Korea Week Inc. v. Got Capital, LLC,
  that the contract was not a contract of adhesion because              upheld a class action waiver in a contract between the parties
  Plaintiff did not lack any meaningful choice in entering into         that did not include a corresponding arbitration provision,
  the Agreement. Under its terms there is no “oppression” of or         akin to the Agreement here. 20 1 6 WL 3049490 (E.D. Pa. May
  “unfair surprise” to Plaintiff. Plaintiff was given ample time to     27, 2016). The Court turns first to its analysis of Thibodeau.
  review the Agreement, familiarize himself with its terms, and




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                                                                     KeHE Distributors, LLC. 76 1      F.3d 574 (6th Cir. 20 1 4),
In Thibodeau, plaintiff and other cable subscribers were
mailed a customer agreement containing terms unilaterally            cert denied, 135 S.Ct. 1745 (2015). In Killion, the Sixth

imposed by Comcast following its buyout of their previous            Circuit Court of Appeals found that a class action waiver

cable provider. Thibodeau. 912 A. 2d at 876. The agreement           in the absence of an arbitration provision was unenforceable

mandated individual arbitration and precluded class actions          because, without an arbitration clause, the waiver offered

by aggrieved customers. Id. at 876-77. Thibodeau filed suit          no countervailing federal policy to outweigh the FLSA's

on behalf of a putative class of Comcast customers, averring         policy allowing employees to bring actions to recover unpaid

they had been improperly billed. Id. at 877. The court found         overtime pay on behalf of themselves and other employees

that the subject agreements were contracts of adhesion, as           similarly situated. Id. Applying that logic here, Plaintiff

customers had no opportunity to negotiate or assent to the           suggests that the absence of countervailing federal policy

mandated individual arbitration and preclusion of class action       renders the class action waiver unconscionable. (Docket No.

litigation provisions, and customers were forced to accept           65 at 8, 9).

every word of the agreement or be without cable television.
Id. at 885. As the allegedly unlawful charge was only $9.60          This Court is not persuaded by the reasoning of the Sixth

per month, Thibodeau and his class members were claiming             Circuit Court of Appeals in Killion. Instead, the Court looks

minimal damages. Id. The court in Thibodeau found that               to Korea Week, where the U.S. District Court for the Eastern

such claims would never be arbitrated on an individual               District of Pennsylvania found class action waivers outside of

basis, as no individual would expend the time, fees, costs           an arbitration agreement to be enforceable, thereby rendering

and other expenses necessary for individual litigation or            plaintiffs inadequate class representatives. 2016 WL 3049490

individual arbitration. Id. at 885-86. Thus, Thibodeau appears       (E.D. Pa. May 27, 2016). There, the plaintiffs had entered

to stand for the proposition that “if the costs associated with      into merchant cash advance financing arrangements with

arbitrating a single claim effectively deny consumer redress,        defendants which allegedly violated the Racketeer Influenced

prohibiting class action litigation or class action arbitration is   Corrupt Organizations Act (“RICO”). Id. at *1. Plaintiffs

unconscionable.”/^, at 883.                                          brought suit on behalf of a putative class of small businesses
                                                                     that had obtained similar financing arrangements. Id.         at

 *7   As Defendant cites in its submissions, courts have             *2. Each of the plaintiffs' arrangements with defendants

refused to follow Thibodeau in relation to employment                included a class action waiver. Id. at *2-4. In ruling that

agreements that include both an arbitration provision and            these waivers prohibited plaintiffs from serving as adequate

 a class action waiver. (Docket No. 54 at 7). In Brown v.             class representatives, the court rejected plaintiffs' arguments

 Trueblue, Inc., the U.S. District Court for the Middle District      that class action waivers outside of an arbitration clause are

 of Pennsylvania upheld employment agreements including               substantively unconscionable. Id. at *8-10. The court found

 arbitration and waiver of jury clauses, as well as provisions        the Supreme Court's decision in American Express Co. v.

 requiring pursuit of any relief individually, rather than on         Italian Colors Restaurant, 133 S.Ct. 2304 (2013) supported

 a class basis. Brown v. Trueblue, Inc., 2012 WL 1268644              its conclusion that class action waivers outside of arbitration

 (M.D. Pa. Apr.     16, 2012). In doing so, the court noted           are enforceable. Id. at *9. In reaching this decision, the court

 that it had relied on AT&T Mobility LLC v. Concepcion.               found that the class action waivers were enforceable, as they

 563 U.S. 333 (2011) in granting defendants' motion to                were not unconscionable under the applicable state law, nor

 compel arbitration, which held that state rules requiring the        was there evidence of “legislative intent or policy reasons

 availability of classwide arbitration were preempted by the          weighing against enforcement” of the waivers. Id. at *10.

 Federal Arbitration Act. Id. at *7 . The court also found that       The Korea Week plaintiffs' motion for class certification was

 Thibodeau was no longer good law. Id.                                denied. Id. at 1 1 .



 Plaintiff concedes that no court considering the Pennsylvania        As the court in Korea Week was unable to find any legislative

 Superior Court's ruling in Thibodeau has held that class             intent in RICO weighing against the enforcement of the class

 action waivers outside of the arbitration context are per se         action waiver, this Court is unable to locate any “legislative

 unenforceable, yet maintains that his class action waiver is         intent or policy reasons weighing against enforcement” of the

 unconscionable under Pennsylvania law. (Docket No. 65 at             class action waiver as to the wage and hour claims brought

 8). Plaintiff cites to a decision of the Sixth Circuit Court         pursuant to the PMWA and the Ohio Acts. Plaintiff maintains

 of Appeals, Killion v. KeHE Distributors, LLC. Killion v.            that “Pennsylvania state law governs the enforceability of




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                                                                     holds that the class action waiver is not unconscionable
contracts related to rights created under Pennsylvania state
                                                                     under Texas law for the same reasons that the waiver is not
law,” (Docket No. 65 at 5), but cites to no statutory provisions
                                                                     unconscionable under Pennsylvania law.
or case law prohibiting class action waivers in the context of
the PMWA and Ohio Acts' claims. As this Court finds the
class action waiver is not unconscionable under Pennsylvania           V. Conclusion
law, and there is no evidence of legislative intent under the        Plaintiff seeks to be appointed as a class representative
PMWA or the Ohio Acts to prohibit the class action waiver,           even though he agreed to waive “participation, to the extent
this Court will follow the ruling in Korea Week and enforce          permitted by law, in any class or collective action, as either
the class action waiver.                                             a class or collective action representative or participant as
                                                                     to those claims not released, by signing this Agreement
 *8 Any argument by Plaintiff that the class action waiver           prior to the conditional certification of a class or collective
contained within the Agreement is unenforceable under Texas          action.” (Docket No. 55-1 at      5). Despite consulting with
law fails as well. Texas courts have expressly held that             counsel regarding potential state law claims following the
class action waivers are permissible and are not per se              receipt of the Agreement, and prior to its execution, Plaintiff
unconscionable. See AutoNation USA Corp. v. Leroy, 105               now seeks to void the class action waiver as unconscionable.
S.W.3d 190 (Tex. App. 2003) (finding that class actions are          As set forth above, Plaintiff has not shown procedural nor
procedural devices, and “may ‘not be construed to enlarge            substantive unconscionability of the waiver provision under
or diminish any substantive rights or obligations of any             Pennsylvania or Texas law. Hence, summary judgment is
parties to any civil action.’ ” (citation omitted)). Federal         entered against Plaintiff as to any class action claims he has
courts in Texas also have held that class action waivers may         asserted. The case may proceed in this Court as to Plaintiffs
be enforceable under both Texas and federal law. See, e.g.,          individual claims upon his filing of a Second Amended
 Carter v. Countrywide Credit Industries, Inc., 362 F.3d 294          Complaint. An appropriate Order follows.
 (5th Cir. 2004) (rejecting appellants' claim that their inability
to proceed collectively deprived them of substantive rights
 available under the FLSA); In re Online Travel Co. (OTC)             All Citations

 Hotel, 953 F. Supp. 2d 713, 721-22 (N.D. Tex. 2013) (antitrust
                                                                      Not Reported in Fed. Supp., 2016 WL 3752917, 2016 Wage
 case finding class arbitration waiver was enforceable, even
                                                                      & Hour Cas.2d (BNA) 226,672
 if high fees for expert witnesses would make individual
 arbitration economically irrational). Consequently, this Court




                                                             Footnotes


                                                                                          any claims under the FLSA
 1       The Agreement, under “General Release of Claims,” explicitly disclaims waiver of
         that Plaintiff may have. (Docket No. 55-1 at 5] 5).

                                                                                               jurisdiction pursuant to 28
 2       Although the original Complaint states that "[tjhis Court has original subject matter
                                                                                             (Docket    No. 1 at U 3), it did
         U.S.C. § 1331 because this action involves a federal question under the FLSA,”
         not contain any count asserting a FLSA claim.

                                                                                               District of Louisiana ten
 3       Plaintiff also submitted the opt-in form in the FLSA collective action in the Western
                                                                                                 consent of that Court.
         (10) days after signing the agreement, although his opt-in was later withdrawn with the
          (See Docket No. 30).

                                                                                             and enforce choice-of-law
 4        Because Pennsylvania courts generally honor the intent of the contracting parties
                                                                              ability of the waiver under Ohio law. In
          provisions in contracts, the Court need not address the unconscion
                                                                                   Ohio law. (See Docket No. 45 at
          any event, as Defendant argues, the waiver is not unconscionable under
                                                                                            was amended to prohibit
          14-16). At oral argument, Plaintiffs counsel suggested that the Ohio constitution




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                                                          Supp. (2016)
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                                                                                    in the supplemental briefing.
         such clauses to which the Court directed counsel to provide such authority
                                                                        argument and does not even address it in the
         (Docket No. 46). However, Plaintiff has failed to support this
                                                                        Nos. 55, 65, 79).
         many subsequently filed briefs related to this matter. (Docket

                                                               of law for the court” to decide. Stanley A. Klopp, Inc.
5        The Court notes that "unconscionability is a question
         v. John Deere Co., 510 F. Supp. 807, 810 (E.D. Pa. 1981).

                                                                             supplemental briefing on the Agreement
6        Despite the Court's Order of April 26, 2016 that the parties submit
                                                                         class action waivers under Texas law. The
         under Texas law, (Docket No. 71), Plaintiff failed to address
                                                                            well as the Court's independent research,
         supplemental briefing provided by Defendant, (Docket No. 80), as
                                                                      and is enforceable under Texas law.
         indicates that the class action waiver is not unconscionable

                                                                      without regard to whether the terms thereof
7        “Contracting parties are normally bound by their agreements,
                                                                    the agreements embodied reasonable or good
         were read and fully understood and irrespective of whether
         bargains.” Simeone v. Simeone, 525 Pa. 392 (1990).




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                                                                       Lloyd is a New Jersey resident who purchased merchandise
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        Only the Westlaw citation is currently available.
                                                                       from TJX through the TJ Maxx 1 website (the “Website”)
                                                                       on April 6, 2019, May 21, 2019, July 31, 2020, November
          United States District Court, D. New Jersey.
                                                                       11, 2020, May 20, 2021, and October 21, 2021. Mot. at

                   LLOYD, et al., Plaintiffs,                          *5. On or about May 9, 2019, Lloyd attempted a return or
                                v.                                     exchange of certain of the previously purchased merchandise
                                                                       at a TJ Maxx retail store. Compl. •) 35, [Dkt. 1 ] (“Complaint”).
       The RETAIL EQUATION, INC., et al., Defendants.
                                                                       At the time of the attempted return or exchange, the sales
                        Civil No. 21-17057                             associate allegedly “communicated to [Lloyd] ... that the
                                     I                                 return or exchange was flagged as potentially fraudulent and
                    Signed December 29, 2022                           that future attempts by [Lloyd] ... to return or exchange
                                                                       merchandise without a receipt would be declined based upon
Attorneys and Law Firms                                                the recommendation of TRE ...” Id. 1fl[ 43-44.

Bradley Keith King, Ahdoot & Wolfson, PC, Burbank, CA,
                                                                       TRE is a corporate defendant named in this action but not
for Plaintiffs.
                                                                       a party to this instant motion whom TJX contracted with in
                                                                       an effort to combat retail fraud. TRE provides a “software-
 Stephen Steinlight, Troutman Pepper Hamilton Sanders LLP,
                                                                       as-a-service” that uses statistical modeling and analytics
 Tyler Baker, Sheppard Mullin Richter & Hampton LLP, New
                                                                       to detect fraudulent behavior when returns are processed
 York, NY, Mark Albert Fiore, Morgan, Lewis & Bockius LLP,
                                                                       at a retailer's return counter. Compl. UH 15, 28. Using its
 Princeton, NJ, for Defendants.
                                                                       patented software, TRE generates “risk scores” for individual
                                                                       customers attempting to return or exchange items and makes
                                                                       recommendations to the Retail Defendants about whether
                             OPINION
                                                                       to approve or deny the processing of same. Id. HH 14, 28.

 Joseph H. Rodriguez, United States District Judge                     These risk scores are calculated with a mix of data collected
                                                                        by retailers, both Consumer Commercial Activity Data and
  *1    Presently before the Court is the motion by defendant           Consumer ID Data. Id. | 2. Consumer Commercial Activity
                             seeking an order (i)      compelling
 TJX     Companies,   Inc.                                              Data includes purchase and return history as well as the
 arbitration of all claims asserted by plaintiff Carol Lloyd,           contents, method, and frequency of consumer purchases. Id.
 individually and on behalf of a putative class, pursuant to the        H 18 Consumer ID Data contains information available on
 Federal Arbitration Act (“FAA”), 9 U.S.C. § 1 et seq., and             various forms of identification and includes “name, date of
 (ii) dismissing without prejudice Counts One, Three and Five           birth, race, sex, photograph, complete street address, and zip
 in the Complaint asserted by plaintiff Carol Lloyd or, in the          code.” Id. H 19.
 alternative, staying these causes of action and claims [Dkt.
  1 5], The Court is in receipt of the opposition filed by plaintiff     *2   Lloyd alleges she was harmed by: (a) the sharing of
 Carol Lloyd [Dkt. 22] as well as the reply of TJX Companies,           her Consumer Commercial Activity Data and Consumer ID
 Inc. [Dkt. 27]. For the reasons set forth herein, the motion will      Data by TJX; (b) the receipt of her Consumer Commercial
 be granted in part and denied in part.                                 Activity Data and Consumer ID by TRE; and (c) the use of
                                                                        her Consumer Commercial Activity and Consumer ID Data.
                                                                        Id. *| 19. Lloyd claims that as a result of these practices, she is
  I. Background
                                                                        prevented from making future returns or exchanges without
  This matter is a putative class action concerning the alleged
                                                                        a receipt. Id. H 45. The Complaint pleads the following
  unlawful collection of consumer data and its use in approving
                                                                        causes of action against TJX stemming from the alleged
  or denying consumers returns or exchanges at certain retail
                                                                        conduct: invasion of privacy (Count One); violation of the
  stores. Plaintiff Carol Lloyd (“Lloyd”), on behalf of herself
                                                                        New Jersey Consumer Fraud Act N.J. Stat. Ann. § 56:8-1,
  and the putative class(es) she seeks to represent, initiated
                                                                        et seq. (“NJCFA”) (Count Three); and, unjust enrichment
  this suit on September 16, 2021         against defendants The
                                                                         (Count Five). See Dkt. 1 .
  Retail Equation, Inc. (“TRE”) and The TJX Companies, Inc.
  (“TJX”) (among other defendants).



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                                                                        basis. The arbitrator can decide only your and/or the TJX
On January 28, 2022, TJX filed the instant motion to compel
                                                                        Businesses’ individual Claims. The arbitrator may not
Lloyd's claims to arbitration on the asserted basis that “she
                                                                        consolidate or join the claims of other persons or parties
agreed to arbitrate all disputes with TJX - including any
                                                                        who may be similarly situated.
dispute related to TJX's collection, use, or transmission of
customer information.” Mot. at *1. In support of the motion,                                           * * *


TJX introduces a declaration made on the personal knowledge
of Caitlin Kobelski, Vice President, Digital Experience and             THIS         SECTION       LIMITS      CERTAIN       RIGHTS,

Site Operations (“Kobelski”), containing exhibits purporting            INCLUDING THE RIGHT TO MAINTAIN A COURT
to be screenshots showing the “checkout flow” process “as               ACTION, THE RIGHT TO A JURY TRIAL, THE RIGHT
it would have appeared to Lloyd[.]” Kobelski Decl.       3,
                                                                        TO PARTICIPATE IN ANY FORM OF CLASS OR
Exhibit B. TJX maintains that Lloyd agreed to arbitrate any
                                                                        REPRESENTATIVE CLAIM, THE RIGHT TO ENGAGE
dispute with TJX each time she made a purchase through                  IN DISCOVERY EXCEPT AS PROVIDED IN AAA
TJX's TJ Maxx website by clicking an icon displaying the                 RULES, AND THE RIGHT TO CERTAIN REMEDIES
words “PLACE ORDER” appearing on the final page of the                   AND FORMS OF RELIEF. OTHER RIGHTS THAT YOU
Website's “checkout flow” process. The screenshot shows the              OR THE TJX BUSINESSES WOULD HAVE IN COURT
“PLACE ORDER” icon displayed directly below a notice                     ALSO MAY NOT BE AVAILABLE IN ARBITRATION.
appearing in black font against a white background and
comparatively smaller in size. The notice provides that “By            *3 Id.

placing your order, you agree to the T.J. Maxx terms ofuseM”
 The underlined phrase “terms of use” was a hyperlink that,            In the same location on the “checkout flow” interface where

 when selected, caused the Terms Of Use (“TOU”) to appear              the hyperlink to the TOU appear, the website presents a

 in a new browser window.                                              separate hyperlink to its Privacy Policy, which the TOU
                                                                       purport to “incorporate[ ] ... by reference[.]” Id. The Privacy

 TJX   also   introduces copies    of the TOU as         it would      Policy addresses

 have appeared on various dates corresponding to Lloyd's
                                                                         1. the information TJX “may collect ... from [a consumer]
 purchases. Kobelski Decl. ffi[ 4-7, Exhibits C, D, E, F. Since at
                                                                         in connection with [his or her] activities at T.J. Maxx, such
 least January 2019, the TOU have provided, in relevant part
                                                                          as when [the consumer] shop[s] on [its] websites or in [its]
   Arbitration Agreement & Waiver Of Certain Rights You                   stores;

   and the TJX Businesses agree that we will resolve any
                                                                          2. how TJX uses the information it collects from consumers
    disputes between us through binding and final arbitration
                                                                          including, inter alia, to (a) “[p]rocess, manage, complete
    instead of through court proceedings. You and the TJX
                                                                          and account for transactions, including purchases and
    Businesses hereby waive any right to a jury trial of any
                                                                          refund, exchange and layaway requests,” (b) “[p]rovide
    Claim. All controversies, claims, counterclaims, or other
                                                                          [its] products and services to [consumers] and fulfill [their]
    disputes arising between you and the TJX Businesses
                                                                          orders,” (c) “[v]erify [a consumer's] identity in certain
    relating to these Terms or the Website (each a “Claim”)
                                                                          instances (such as when [the consumer] pay[s] by check,
    shall be submitted for binding arbitration in accordance
                                                                          retum[s] merchandise, or requests] a refund),” and (d)
    with the Rules of the American Arbitration Association
                               arbitration   will   be   heard   and      “[s]ecure [its] operations and protect against, identify and
    (“AAA     Rules”).   The
                                                                          help prevent fraud, unauthorized activity, claims and other
    determined by a single arbitrator. The arbitrator's decision
                                                                          liabilities and minimize credit risk”; and
    in any such arbitration will be final and binding upon the
    parties and may be enforced in any court of competent
                                                                          3.     how and with whom TJX may share consumer
    jurisdiction
                                                                          information including “with partners or third parties who
                                 * * *                                        perform services for [TJX] or with [TJX] contracts] for the
                                                                              purposes described in th[e] Privacy Notice.”

    Neither you nor the TJX Businesses may act as a class
                                                                        Id.
    representative or private attorney general, nor participate as
    a member of a class of claimants, with respect to any Claim.
    Claims may not be arbitrated on a class or representative




                                                                                Works.
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                                                                    on both counts, the FAA requires the court to enforce the
In opposition to the motion, Lloyd argues that when she made
                                                                    arbitration agreement in accordance with its terms. LoMonico
her purchases TJX failed to provide adequate notice that she
                                                                    v. Foulke Mgmt. Corp., No. CV 18 11 511, 2020 WL 831 134,
would be contractually bound to the TOU by making those
purchases and, therefore, she could not have assented to the        at *3 (D.N.J. Feb. 20, 2020); see also 9 U.S.C. § 4. “It is well
                                                                    established that the [FAA] reflects a ‘strong federal policy
TOU. Opp. at *1. Further, Lloyd contends that when she
made her purchases, she was not informed that the TOU to            in favor of the resolution of disputes through arbitration.’ ”

which she was purportedly agreeing included a mandatory             Kirleis v. Dickie, McCamey & Chilcote, PC., 560 F.3d 156,
                                                                    160 (3d Cir. 2009) (quoting Alexander v. Anthony Int'l, L.P,
arbitration provision and her waiver of her right to a jury
trial in the event of a dispute, and thus she never entered into    341 F.3d 256, 263 (3d Cir. 2003)). "But this presumption

an agreement to arbitrate. Id. Finally, Lloyd submits that the      in favor of arbitration ‘does not apply to the determination

Kobelski declaration and the exhibits thereto are inaccurate        of whether there is a valid agreement to arbitrate between

and contain inconsistencies rendering them unreliable and           the parties.’ ” Id. (quoting Fleetwood Enters, v. Gaskamp,

inadmissible. Id.                                                   280 F.3d 1069, 1073 (5th Cir. 2002)); see also Flintkote
                                                                    Co. v. Aviva PLC, 769 F.3d 215, 220 n.3 (3d Cir. 2014)
                                                                    (the presumption in favor of arbitrability “applies only
II. Legal Standard                                                  when interpreting the scope of an arbitration agreement,
The Federal Arbitration Agreement (“FAA”) “creates a body           and not when deciding whether a valid agreement exists.”);
of federal substantive law establishing and regulating the          Jaludi v. Citigroup, 933 F.3d 246, 255 (3d Cir. 2019) (“The
duty to honor an agreement to arbitrate.” Moses H. Cone             presumption of arbitrability enters at the second step—it
Mem'l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 25 n.32           applies to disputes about the scope of an existing arbitration
(1983)); Harris v. Green Tree Fin. Corp., 183 F.3d 173, 179         clause.”).
 (3d Cir. 1 999). Section 2 of the FAA provides that “[a] written
provision in ... a contract evidencing a transaction involving       To determine whether the parties have agreed to arbitrate,
 commerce to settle by arbitration a controversy thereafter          courts apply “ordinary state-law principles that govern the
 arising out of such contract ... shall be valid, irrevocable,       formation of contracts.” Century Indem. Co., 584 F.3d at 524;
 and enforceable, save upon such grounds as exist at law or          see also Aliments Krispy Kernels, Inc. v. Nichols Farms, 85 1
 in equity for the revocation of any contract.” 9 U.S.C. § 2.        F.3d 283, 289 (3d Cir. 2017). When “applying the relevant
 The “saving clause” in Section 2 indicates that the purpose of      state contract law, a court may also hold that an agreement
 Congress “was to make arbitration agreements as enforceable         to arbitrate is unenforceable based on a generally applicable
 as other contracts, but not more so.” Prima Paint Corp. v.          contractual defense, such as unconscionability.” Parilla v.
 Flood & Conklin Mfg. Co., 388 U.S. 395, 404 n.12 (1967).            IAP Worldwide Servs., VI, Inc., 368 F.3d 269, 276 (3d Cir.
 Under Section 3 of the FAA, a party may apply to a federal          2004) (internal citations and quotations omitted).
 court for a stay of the trial of an action “upon any issue
 referable to arbitration under an agreement in writing for such     The Third Circuit has established a two-tiered framework
 arbitration.” 9 U.S.C. § 3. Section 4 of the FAA directs courts     for assessing motions to compel arbitration. See Guidotti
 to compel parties to arbitration so long as “the making of the      v. Legal Helpers Debt Resolution, L.L.C., 716 F.3d 764,
 agreement for arbitration or the failure to comply therewith is     776 (3d Cir. 2013). Where it is apparent on the face of the
 not in issue.” 9 U.S.C. § 4. As such, under these provisions a      complaint, or in documents relied upon in the complaint,
 federal court may compel arbitration if one party has failed to     that the claims at issue in the case are subject to arbitration,
 comply with an agreement to arbitrate and stay proceedings in       the case is considered pursuant to the motion to dismiss
 any matter subject to arbitration. Romanov v. Microsoft Corp.,      standard as applied under Fed. R. Civ. P. 12(b)(6). Id. at 774-
 No. CV 21-03564, 2021 WL 3486938, at *3 (D.N.J. Aug. 9,             76. However, where the complaint does not establish on its
 2021).                                                              face that the parties have agreed to arbitrate, or where the
                                                                     party opposing arbitration has come forward with reliable
  *4   On a motion to compel arbitration, the Court must             evidence that it did not intend to be bound by an arbitration
 determine: (1) whether the parties entered into a valid             agreement, then the parties are entitled to limited discovery
  arbitration agreement; and (2) whether the dispute at issue        on the question of arbitrability before a renewed motion
  falls within the scope of the arbitration agreement. Century        to compel arbitration is decided on a summary judgment
  Indem. Co. v. Certain Underwriters at Lloyd's, 584 E3d              standard as under Fed. R. Civ. P. 56. Id.
  513, 522-23 (3d Cir. 2009). If the response is affirmative



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                                                                      and New Jersey apply the same standard for determining
                                                                      if an online agreement exists.”); Opp. at *14 (“New
In sum, “the legal standard is simply that [courts] apply the
relevant state contract law to questions of arbitrability, which      Jersey, Massachusetts, and Delaware all apply the same
                                                                      standards[.]”). Lloyd and TJX both agree that under New
may be decided as a matter of law only if there is no genuine
issue of material fact when viewing the facts in the light most       Jersey, Massachusetts, and Delaware law, online agreements

favorable to the nonmoving party.” Aliments Krispy Kernels,           are enforceable if there exists: (1) reasonable notice of

Inc., 851 F.3d at 288-89 (3d Cir. 2017).
                                                                      the terms; and (2) manifestation of assent to those terms.
                                                                      See, e.g., Mucciariello v. Viator, Inc., No. 18-cv-14444,
                                                                      2019 WL 4727896, at *7 (D.N.J. Sept. 27, 2019) (finding
III. Discussion                                                       online agreement binding under New Jersey law where
                                                                      there was reasonable notice and manifestation of assent);
   a. Choice of Law
                                                                      Holdbrook Pediatric Dental, LLC v. Pro Computer Serv.,
The FAA “reflects the fundamental principle that arbitration
                                                                      LLC, No. 14-cv-6115, 2015 WL 4476017, at *4 (D.N.J.
is a matter of contract.” Rent-A-Ctr., W„ Inc. v. Jackson, 561        July 21, 2015) (finding that for party to be bound by
U.S. 63, 67 (2010). Accordingly, “courts should generally
                                                                      online agreement under New Jersey law it “must have had
look to the relevant state contract law to determine whether a
                                                                      reasonable notice of and manifested assent to the ... terms”);
valid agreement to arbitrate exists.” Aliments Krispy Kernels,
                                                                      Tantillo v. CitiFinancial Retail Servs., Inc., No. 12-cv-51 1,
/nc., 851 F.3d at 288.
                                                                      2013 WL 622147, at *7 (D.N.J. Feb. 19, 2013) (“Delaware
                                                                      law concerning the formation and validity of arbitration
“In a diversity case filed in New Jersey, New Jersey choice
                                                                      agreements accords with New Jersey law”); Kauders v.
of law rules govern.” See Lebegern v. Forman, 471 F.3d
                                                                      Uber Techs., Inc., 486 Mass. 557, 572, 159 N.E.3d 1033,
424, 428 (3d Cir. 2006); see also Aliments Krispy Kernels,
                                                                       1049 (2021) (finding online agreement enforceable under
Inc., 851 F.3d at 289. New Jersey uses the most-significant
                                                                      Massachusetts law if there was “reasonable notice of the
relationship test, which consists of two prongs. Maniscalco
                                                                      terms” and “reasonable manifestation of assent to those
 v. Brother Int'l Corp. (USA), 793 F. Supp. 2d 696, 704
                                                                      terms ...”); Newell Rubbermaid Inc. v. Storm, No. CV 9398-
 (D.N.J. 2011), affd sub nom. Maniscalco v. Brother Int'l
                                                                      VCN, 2014 WL 1266827, at *6 (Del. Ch. Mar. 27, 2014)
 (USA) Corp., 709 F.3d 202 (3d Cir. 2013). First, die court
                                                                       (online “contract formation” under Delaware law requires
 must determine whether a conflict actually exists between the
                                                                       “reasonable notice, either actual or constructive, of the terms
 potentially applicable laws. P. V. v. Camp Jaycee, 1 97 N.J. 1 32,
                                                                       of the putative agreement and ... manifestfation of] assent to
 143, 962 A. 2d 453 (2008) (“Procedurally, the first step is to
                                                                       those terms”).
 determine whether an actual conflict exists. That is done by
 examining the substance of the potentially applicable laws
                                                                       Because the law of the states having interests in this matter
 to determine whether there is a distinction between them.”)
                                                                       accord, the Court will resolve the motion without making a
 (internal quotations omitted). “If no conflict exists, the law of
                                                                       choice of law determination and will apply the law of New
 the forum state applies.” Snyder v. Farnam Cos., Inc., 792 F.
                                                                       Jersey, the forum state. See Tantillo, TAo. CIV. A. 12-51 1, 2013
 Supp. 2d 712, 71 7 (D.N.J. 201 1) (citing P. V, 197 N.J. at 143,
                                                                       WL 622147, at *7 (D.N.J. Feb. 19, 2013).
 962 A. 2d 453). If the difference between the substantive laws
 presents a nonexistent or “false conflict,” wherein “the laws
 of the ... jurisdictions would produce the same result on the            b. Formation of Web-Based Agreements
 particular issue presented,” the forum state's law will govern.       As discussed, for a contract to be binding under New
  Williams v. Stone, 109 F.3d 890, 893 (3d Cir. 1997). When a          Jersey law each party must have “reasonable notice” of
 conflict exists, the court moves to the second prong, which           and “mutually agreed” upon the contract term. Hoffman v.
 requires determining “which state has the ‘most significant           Supplements Togo Mgmt., LLC, 419 N.J. Super. 596, 606-08
 relationship’ to the claim at issue by weighing the factors” in       18 A. 3d 210, 216 (App. Div. 2011); see also Bacon v. Avis
 the applicable section of the Restatement (Second) of Conflict        Budget Grp., Inc., 959 F.3d 590, 602 (3d Cir. 2020).
 of Laws. P. V., 197 N.J. at 143,962 A.2d 453.

                                                                       “While new commerce on the Internet has exposed courts to
  *5 Here, the parties concede that the states with relationships      many new situations, it has not fundamentally changed the
  to this action apply the same legal standard regarding               principles of contract.” Register.com, Inc. v. Verio, Inc., 356
  formation. See Reply at *3 n.2 (“Massachusetts, Delaware,            F.3d 393, 403 (2d Cir. 2004). “Courts around the country



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have recognized that [an] electronic ‘click’ can suffice to         look to the “design and content of the relevant interface” to

signify the acceptance of a contract,” and “[t]here is nothing      determine if the contract terms were presented to the offeree
                                                                    in a way that would put it on inquiry notice of such terms.
automatically offensive about such agreements, as long as the
layout and language of the site give the user reasonable notice     Aminojf & Co. LLC v. Parcel Pro, Inc., No. 21CV10377,

that a click will manifest assent to an agreement.” Sgouros v.      2022 WL 987665, at *3 (S.D.N.Y. Apr. 1, 2022). “When

TransUnion Corp., 817 F.3d 1029, 1033-34 (7th Cir. 2016).           terms are linked in obscure sections of a webpage that users
                                                                    are unlikely to see, courts have refused to find constructive

Web-based agreements are often distinguished as “clickwrap”         notice.”.James, 852 F.3d at 267. However, “where the website

or   “browsewrap”    agreements.    Mucciariello,   2019      WL    contains an explicit textual notice that continued use will act

4727896, at *3. Clickwrap agreements require a user to              as a manifestation of the user's intent to be bound, courts have

“consent to any terms or conditions by clicking on a dialog         been more amenable to enforcing browsewrap agreements.”

box on the screen in order to proceed with the internet             Id. quoting Nguyen, 763 F.3d at 1177 (internal quotations

transaction.” Feldman v. Google, Inc., 513 F.Supp.2d 229,           omitted).

236 (E.D.Pa. 2007). Browsewrap agreements are typically
                                                                     *6     Here,         Lloyd contends     that the     TOU represent     a
presented in a hyperlink on the bottom of the homepage of
a website and purport to bind users to the terms by virtue of       browsewrap agreement. Opp. at *19. TJX maintains that

simply visiting or “browsing” the site. See Nguyen v. Barnes        the agreement was neither a clickwrap nor a browsewrap

& Noble Inc., 763 F.3d 1 1 71, 1 176 (9th Cir. 2014); see also      agreement but rather something of a hybrid of the two. Mot.

Fteja v. Facebook, Inc., 841 F. Supp. 2d 829, 837 (S.D.N.Y.         at * 1 6-1 7. A purchaser using the TJ Maxx website's checkout

2012) (“in a pure-form browsewrap agreement, the website            process was not required to click an “I agree” dialogue box

will contain a notice that—by merely using the services of,         upon being presented with the hyperlink to the Terms of Use.

obtaining information from, or initiating applications within       Nor was a purchaser simply left to “browse” the page or

the website—the user is agreeing to and is bound by the site's      told he or she has assented to the TOU by simply passively

 terms of service.” (internal citation and quotations omitted).     viewing one screen. Instead, a notice was presented on the
                                                                     final page of the checkout flow process indicating that by

 Courts   routinely uphold    clickwrap   agreements    for   the    taking the action of clicking “Submit Order” the purchaser

principal reason that the user has affirmatively assented to         was assenting to the hyperlinked Terms of Use. Thus, for

 the terms of agreement by clicking “I agree.” See Fteja,            purposes of this motion, the Court finds that the agreement

 841 F.Supp.2d at 837 (collecting cases). Unlike clickwrap           represented a hybrid between the clickwrap and browsewrap

 agreements, “where users must click on an acceptance after          varieties. ~ In making this finding, the Court does not opine on
 being presented with terms and conditions ... browsewrap            the sufficiency of hybrid or modified or hybrid browsewap/
 agreements do not require users to expressly manifest assent.”      clickwrap agreements generally. Regardless of the precise
 HealthplanCRM, LLC v. AvMed, Inc., 458 F. Supp. 3d 308,             label given, though, the pertinent inquiry is whether the user
 331 (W.D. Pa. 2020). Thus, browsewrap agreements are not            was provided with reasonable notice of the applicable terms,
 automatically deemed valid where it is not shown that the user      based on the design and layout of the website. See Hoffman,
 had actual notice of the agreement. Nguyen, 763 F.3d at 1 1 76—     419 N.J. Super, at 611, 18 A.3d210.
 77 (9th Cir. 2014) (emphasis added). As the Third Circuit has
 explained, “[t]here is an evolving body of caselaw regarding
 whether the terms and conditions in browsewrap agreements                c. Existence of a Valid Agreement to Arbitrate

 are enforceable, often turning on whether the terms or a            Lloyd contests the existence of a valid agreement to arbitrate,

 hyperlink to the terms are reasonably conspicuous on the            arguing that TJX did not provide adequate notice of its terms

 webpage.” James v. Glob. TelLink Corp., 852 F.3d 262, 267           and conditions when Lloyd made her purchases and that she

 (3d Cir. 201 7); see also Hoffman, 419 N.J. Super, at 608, 611,     did not assent to the arbitration provision.

 18 A. 3d 210 (assessing the enforceability of a forum selection
 clause in an internet website on the basis of “fundamental
 standards of reasonable notice,” which involves examining                 i. Applicable Legal Standard and Factual Disputes
 “the style or mode of presentation, or the placement of
 the provision”). In other words, when evaluating whether a          “To     determine        whether there      is   a valid agreement to

 plaintiff assented to the terms of a web-based contract, courts     arbitrate      ...    [courts]   must   initially   decide   whether   the




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                                                                      documents that the complaint relies on, a motion to compel
determination is made under Fed. R. Civ. P. 12(b)(6) or
                                                                      arbitration can be resolved under the same kind of standard
56” and thus, what materials may be considered. Sanford v.
                                                                      applicable to a motion to dismiss under Federal Rule of Civil
Bracewell & Guiliani, LLP, 618 F. App’x 114, 117 (3d Cir.
                                                                      Procedure 12(b)(6).” Noble v. Samsung Elecs. Am., Inc., 682
2015).
                                                                      F. App'x 113, 115 (3d Cir. 2017).

The Third Circuit has held that a motion to compel arbitration
will be reviewed under the Rule 12(b)(6) standard “when it is         TJX advocates for the application of Rule 56. On the other

apparent, ‘based on the face of a complaint, and documents
                                                                      hand, Lloyd does not state a position as to which standard
                                                                      —Rule 12(b)(6) or Rule 56—is proper here. The Court finds
relied upon in the complaint,’ that certain of a party's
claims ‘are subject to an enforceable arbitration clause ...’         this motion is appropriately governed under the Rule 1 2(b)(6)
                                                                      standard.
” Guidotti v. Legal Helpers Debt Resolution, L.L.C., 716
F.3d 764, 776 (3d Cir. 2013) (quoting Somerset Consulting,
                                                                      Here, the arbitration agreement (and the TOU in which it
LLC v. United Capital Lenders. LLC, 832 F.Supp.2d 474, 481
(E.D. Pa. 2011); see also MZM Construction Co., Inc. v. N.J.          appears) is not attached to, affirmatively incorporated into,

Building Laborers Statewide Benefits Fund, Nos. 18-3791 &             or specifically mentioned in the Complaint.     Nevertheless,

 19-3102, 2020 WL 5509703, at *14 (3d Cir. Sept. 14, 2020).           the practices of TJX concerning the return of the purchased
Conversely, the Rule 56 standard will apply “when either the          merchandise and its use of customer information are
motion to compel arbitration does not have as its predicate           foundational to Lloyd's allegations. The TOU containing
a complaint with the requisite clarity to establish on its face       the agreement to arbitrate at issue incorporates by reference
that the parties agreed to arbitrate,” or when “the opposing          a Privacy Policy specifically addressing the collection and
party has come forth with reliable evidence that is more than         use of personal customer information - the conduct at the
a naked assertion ... that it did not intend to be bound by the       crux of this matter. Among other claims, Lloyd alleges
 arbitration agreement).]” Guidotti, 716 F.3d at 774 (internal         in the Complaint that TJX acted unlawfully in violation
 citations and quotations omitted). Stated differently, Guidotti       of the NJCFA when it “intended to mislead consumers
 provides two pathways to reach summary judgment on the                and induce them to rely on their misrepresentations and
 issue of arbitrability: either the parties’ agreement to arbitrate    omissions, and Plaintiffs and Class Members did rely on
 the dispute is not clear on the face of the complaint (or             their misrepresentations and omissions relating to their use,
 incorporated documents), or the non-movant comes forward              sharing, and security of their data, and the return and/
 with additional facts that put an otherwise facially-apparent         or exchange process.” CompL          103. Lloyd's theory of

 agreement to arbitrate at issue. Horton v. FedChoice Fed.             liability therefore necessarily implicates these provisions
 Credit Union, 688 F. App'x 153, 156 (3d Cir. 2017).                   incorporated in the TOU, and the TOU contains the subject
                                                                       arbitration agreement. These circumstances weigh decidedly
  *7     While “courts generally consider only the allegations         in favor of applying the standard under Rule         12(b)(6).

 contained in the complaint, exhibits attached to the complaint        Moreover, Lloyd has not produced any affidavits denying
 and matters of public record” in deciding a motion to dismiss,        having received, viewed, understood or assented to the TOU
 Pension Benefit Guar. Corp. v. White Consol. Indus., Inc.,            containing the arbitration agreement. See, e.g., Sorathia
 998 F.2d 1192, 1196 (3d Cir. 1993), “an exception to the              v. Fidato Partners, 2020 WL 5121473, at *3 (E.D. Pa.
 general rule is that a document integral to or explicitly             Aug. 3 1 , 2020) (applying the Rule 1 2(b)(6) standard where
 relied upon in the complaint’ may be considered without               defendants attached agreement containing arbitration clause
 converting the motion into one for summary judgment.” In re           to the motion to compel arbitration, plaintiff did not dispute
 Burlington Coat Factory) Sec. Litig., 1 14 F.3d 1410, 1426 (3d        receiving it, and “the crux of the dispute between the parties
 Cir. 1997) (internal citation and quotations omitted); see also       centerfed] on the scope and enforceability of that arbitration
 In re Burlington Coat Factory Sec. Litig., 114 F.3d at 1426.          agreement.”). Under the circumstances where these matters
 “[W]hat is critical is whether the claims in the complaint are        have not been contested with evidence, Lloyd has not placed
  ‘based’ on an extrinsic document and not merely whether              the issue of arbitrability sufficiently at issue to trigger the
  the extrinsic document was explicitly cited.” In re Burlington       Rule 56 standard by simply challenging the validity of the
  Coat Factory Sec. Litig., 1 14 F.3d at 1426. Further, “[w]hen         agreement to arbitrate. Indeed, “that interpretation would
  the merit, or lack thereof, in the affirmative defense of            render the Rule 12(b)(6) standard a nullity; if a party has

  arbitrability can be discerned from the face of a complaint or        filed a motion to compel arbitration, then the other party




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                                                                   May 20, 2021, and October 21, 2021. Lloyd also disputes
necessarily questioned arbitrability.” Silfee v. Automatic Data
                                                                   the veracity of Kobelski's statements purporting to describe
Processing, Inc., 696 F. App'x 576, 578 (3d Cir. 2017);
                                                                   how the hyperlink to the terms of use appeared at the time of
see also Benedict v. Guess, Inc., No. 5:20-CV-4545, 2021
                                                                   purchase. Lloyd contends that these statements are unreliable
WL 37619, at *4 (E.D. Pa. Jan. 5, 2021) (“The purposes
                                                                   considering the absence of further documentary evidence and
of the Act would be frustrated if plaintiffs could avoid
having their claims quickly compelled to arbitration simply        where Kobelski failed to explain the basis for her supposed

by failing to mention the existence of clearly applicable          knowledge of how the hyperlink was presented.

arbitration agreements in their complaints.”) (internal citation
                                                                   Contrary to Lloyd's argument, the Court may properly
and quotations omitted).
                                                                   consider the proffered declaration and exhibits in determining
                                                                   whether there existed reasonable notice and assent to the
 *8 Turning then to the second Guidotti scenario, the Court
considers whether Lloyd has come forward with enough               arbitration agreement in the TOU. Courts confronted with

evidence to put the question of arbitrability at issue in light    this same issue have regularly relied on the same type of
                                                                   evidence provided by TJX and consider statements by those
of the record. See Horton v. FedChoice Fed. Credit Union,
                                                                   with personal knowledge about what “would have appeared”
688 F. App'x 153, 156 (3d Cir. 2017). In opposition to the
motion, Lloyd challenges the admissibility and sufficiency         on a user's screen. See, e.g., Meyer v. Uber Technologies, Inc. ,
                                                                   868 F.3d 66, 70-72 (2d Cir. 201 7) (relying on screenshots and
of the screenshots depicting the “checkout flow” process
and the TOU as well related statements introduced in the           a declaration that represented that Uber maintained records

Kobeski declaration made by TJX's Vice President of Digital        from which the company could see what a user had seen

Experience and Site Operations.                                    and done); Cordas v. Uber Technologies, Inc., 228 F. Supp.
                                                                   3d 985, 988-989 (N.D. Cal. 2017) (relying on testimony

As an initial matter, the Court recognizes that the appearance     about what a prospective user would have seen and had to

 and presentation of the “checkout flow” process and the           do to create an account); Fteja, 841 F. Supp. 2d at 834-35
                                                                   (allowing declarations with testimony and screenshots of
 TOU bear on the question of whether Lloyd had notice
 of and properly assented to the terms of use. See Hite v.         what a user did and would have seen); Maynez v. Walmart,

 Lush Internet Inc., 244 F.Supp.3d 444, 451 (D.N.J. 2017)          Inc., No. CV200023, 2020 WL 4882414 (C.D. Cal. Aug. 14,

 (examining whether a website gave reasonable notice of            2020) (“The Court is satisfied that the checkout process for

 the terms of use and recognizing that New Jersey courts            the Walmart app described in the Deverkonda Declaration

 apply a reasonable notice standard to the manner in which          accurately reflects the process that Plaintiff encountered in

 contract terms are displayed in determining whether they           April of 2019.”); Bernardino v. Barnes & Noble Booksellers,

 are enforceable, including looking to the style or mode of         Inc., No. 17CV04570, 2017 WL 7309893, at *7 (S.D.N.Y.

 presentation, and the placement of the provision); see also        Nov. 20, 2017), report and recommendation adopted as

 Stacy v. Tata Consultancy Sen’s., Ltd., No. CV1813243, 2019        modified, No. 17-CV-4570, 2018 WL 671258 (S.D.N.Y. Jan.

 WL 1233081, at *6 (D.N.J. Mar. 14, 2019). If Lloyd was             3 1 , 20 1 8) (B&N has offered the sworn testimony of the person

 not given reasonable notice of the TOU, then she could not         responsible for overseeing the implementation of a change to

 have assented to them and thus would not be bound by               its website that required certain notice language to be added

 any arbitration provision found therein. It follows that if the    directly beneath the “Submit Order” button. Bernardino

 evidence presented by TJX concerning the checkout flow             offered no evidence whatsoever to suggest that the website

 process or the TOU is inadmissible or otherwise insufficient,      on February 3, 2017 did not look the way declarant stated.).

 the Court may lack a proper basis to find there was a valid        Further, Lloyd has not produced any affidavits denying that

 agreement to arbitrate. Each of the asserted factual disputes      the “checkout flow” process appeared as depicted in the dated

 are addressed, in turn.                                            screenshots introduced by the Kobelski declaration. Because
                                                                    courts regularly rely on the type of evidence presented in

 First, Lloyd challenges the admissibility and sufficiency          the Kobelski declaration, and in the absence of any affidavit

 of the screenshots depicting the “checkout flow” process.          or other evidence contradicting that the screenshots reflect

 Because the screenshots of the “checkout flow” process were        the “checkout flow” process as it would have appeared on

 printed on January 10, 2022, Lloyd challenges whether they         the dates of purchase, Lloyd's challenge in this regard is

 accurately reflect the process as it would have appeared on the    speculation insufficient to create a genuine dispute regarding

 purchase dates of April 6, 2019, May 21, 2019, July 31 , 2020,




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the existence or authenticity of the subject agreement to            agreement to arbitrate. First, as with the screenshots of the
arbitrate.
                                                                     checkout flow process, the TOU screenshots are based on the
                                                                     personal knowledge of Kobelski. See, e.g. Snow v. Eventbrite,

 *9 Second, Lloyd attempts to add another dimension to the           Inc., No. 3:20-CV-03698, 2021 WL 3931995, at *6 (N.D.

parties’ factual dispute over whether she agreed to arbitrate        Cal. Sept. 2, 2021) (“a sworn declaration authenticating

by challenging the authenticity of the TOU screenshots               the agreements is sufficient to meet [defendant's] burden.

introduced in the Kobelski declaration. Specifically, Lloyd          It is the type of evidence courts usually examine in these

presents screenshots from the Wayback Machine purporting             cases.”). Second, it is unclear whether screenshots from the
                                                                     Wayback Machine are admissible in the Third Circuit absent
to represent an alternative version of the terms of use that
                                                                     authentication by an Internet Archive employee. See United
would have appeared on the May 9, 2019 date of attempted
                                                                     States v. Bansal, 663 F.3d 634, 667 (3d Cir. 2011) (“This
return or exchange and on other various dates. Lloyd argues
                                                                     Court generally agrees that, to satisfy the requirements of
that:
                                                                     Rule 901, screenshots from the Wayback Machine must be
                                                                     authenticated by an Internet Archive employee or another
                                                                     individual with experience in its operation and reliability.”).
               Although Ms. Kobelski             states that
                                                                     Third, and most significantly, the Lloyd has not shown that
               Exhibit C is an accurate reflection of
                                                                     the differences contained in the Wayback Machine version
               the Terms as they appeared on between
                                                                     would render notice inadequate. Upon conducting a side-by-
               January 17, 2019 and April 24, 2019,
                                                                     side review, the Court is unable to discern anything about the
               its   appearance      differs    significantly
                                                                     de minimus variations in the versions of the TOU presented
               from    the   versions    that    appear    on
                                                                     that would create a dispute of fact material to the issue of
               the Wayback Machine for the dates
                                                                     reasonable notice of the agreement to arbitrate his claims
               most closely preceding and following
                                                           C          and their intent to delegate arbitrability. See Snow, 2021
               the    period   for    which      Exhibit
                                                                      WL 3931995, at *6 (“The plaintiffs also contend that there
               (of unknown provenance) is offered.
                                                                      is no way to know precisely what the [terms of service]
               Exhibits      A and B      to the Kelston
                                                        terms         looked like without [metadata] ... but they offer no reason
               Declaration,    versions        of the
                                                                      that a slight change in the look of the TOS itself ... would
               obtained from the Wayback Machine
                                               and   May   9,         alter the analysis.”). Both are titled “arbitration agreement
                for October 4,       2018,
                                                                      & waiver of certain rights”, both appear on page six of
               2019, are consistent: the background
                                                                      each ten pages exhibit, and both contain the same language.
               is white, the headers are lowercase,
                                                                      Because the arbitration clauses bear no material differences
               the spacing is consistent, and bullet
                                                                      in terms of their visibility and conspicuousness and are
               points are used in various sections.
                                                                      otherwise substantively the same, the Court is not persuaded
                Kobelski Exhibit C, on the other hand,
                                                                      that the Wayback Machine screenshots would sway the issue
                which supposedly appeared between
                                                                      of formation even if they were presented in admissible form.
                January 17, 2019 and April 24, 2019,
                                                                      For these reasons, the Wayback Machine screenshots neither
                has a grey background, the headers
                                                                      render TJX's evidence inadmissible, nor do they create a
                are uppercase, the spacing is different,
                                                                      material dispute of fact.
                and there are no bullet points in any
                sections.
                                                                       *10 Upon review of the foregoing arguments and assertions

                                                                      of fact - which are presented in a vacuum without any
                                                                      sworn statement by Lloyd herself that she did not assent to
  Opp. at *10. Lloyd contends that “these differences are not
                                                                      the TOU - the Court concludes that Lloyd has not “come
  insignificant” because “the appearance and readability of
                                                                      forth with reliable evidence that is more than a ‘naked
  the Terms impact the adequacy of the notice provided to
                                                                      assertion ... that [she] did not intend to be bound’ by the
  Plaintiff of the content of the Terms, including the arbitration
                                                                      arbitration agreement[.]” Guidotti, 716 F.3d at 774 (quoting
  provision.” Id.
                                                                      Par—Knit Mills, Inc. v. Stockbridge Fabrics Co., Ltd., 636
                                                                       F.2d 5 1 , 55 (3d Cir. 1980)). Lloyd, therefore, has not triggered
  The Court finds these matters insufficient to create a genuine
                                                                       the application of the discovery and summary judgment
  dispute regarding the existence or authenticity of the subject




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review framework set forth in Guidotti. Because the facts              was placed in “isolation,” with “no statement that signing
and evidence pennit the Court to determine whether or not              the agreement indicated acceptance of the” terms and

Lloyd is entitled to arbitration at this juncture as a matter of       conditions.); Hines v. Overstock.com, Inc., 668 F. Supp. 2d

law, the correct standard of review for this motion is under           362, 367 (E.D.N.Y. 2009) (finding insufficient notice where

Rule 12(b)(6). In making that determination, the Court is              the hyperlinked terms were inconspicuously located at the

permitted to “consider the substance of the contract) ] that           bottom of a webpage, which did not include a statement

ostensibly compel [s] arbitration.” CardioNet, Inc. v. Cigna           advising assent)). Distinguishing cases in which hyperlinked

Health Corp., 751 F.3d 165, 168 n.2 (3d Cir. 2014) (citation           terms were unaccompanied by a notification, the court in

omitted); see also Noble, 682 F. App'x at 1 1 5 (3d Cir. 2017).        Mucciariello enforced a forum selection clause contained
                                                                       within hyperlinked terms upon finding that the website
                                                                       satisfied reasonable notice. Mucciariello, 20 1 9 WL 4727896,
                                                                       at *6-7, 10 n.3 (“Significantly, unlike those cases, Viator's
                ii. Reasonable Notice and Assent
                                                                       checkout page included a statement of notice, within close
                                                                       proximity to the ‘Book Now’ icon”).
The Court is       satisfied that the design and content of
the “checkout flow” process website and the agreement's
                                                                 in     *11   Here, in addition to the hyperlink appearing directly
webpage demonstrate that TJX presented the TOU
                                                                       above the “PLACE ORDER” button that Lloyd was required
a manner sufficient to give Lloyd reasonable notice. 4
                                                                       to click to complete the purchase, the page also contained
Specifically, the presentation of the TOU hyperlink in clear
                                                                       a textual notification in the same area indicating that “By
font in a relatively uncluttered location of the screen and its
                                                                       placing your order, you agree to the TJ MAXX terms of
proximity to the “PLACE ORDER” button, coupled with the
                                                                       use ...” Kobelski Decl.      3, Exhibit B. Where a website
textual notification, is enough to place a reasonably prudent
                                                                       contains an explicit textual notice that continued use will
user on notice.
                                                                       act as a manifestation of the user's intent to be bound, as in
                                                                       Mucciariello, courts have been more amenable to enforcing
The “terms of use” hyperlink appears in legible, underlined,
bolded black font against a white background. Given its
                                                                       browsewrap agreements. 5
placement in a relatively uncluttered location on the final
                                                                        Thus, the TJ Maxx website included precisely the type
 screen of the “checkout flow” interface directly above the
                                                                       of textual notice capable of transforming an otherwise
“PLACE ORDER” icon that Lloyd was required to click
                                                                       unenforceable arbitration agreement into an enforceable
 to make her purchase, the hyperlink was spatially and
                                                                        one. Specifically, the evidence pertaining to the “checkout
 temporally proximate - not hidden in an area that she was
                                                                        flow” process introduced by TJX reflects that the TJ Maxx
 unlikely to see or that required scrolling to view. Although
                                                                        website set forth a conspicuous notification directly above
 it was possible for Lloyd to make the purchases without
                                                                        the “PLACE ORDER” providing that “By placing your order,
 clicking the hyperlink, the likelihood of Lloyd completing
                                                                        you agree to the T.J. Maxx terms of use!.]”
 them without observing the hyperlink is improbable.


                                           that    proximity     or     As a further matter, the location of the notice and hyperlink
 The    Court     recognizes,   however,
                                                                        in TJ Maxx's “checkout flow” process above the “PLACE
 conspicuousness alone may not be enough to give rise
                                                                        ORDER” icon differentiates this case from Wollen where that
 to reasonable notice. In several cases where browsewrap
                                                  the websites   in     notice and hyperlink appeared below the “View Matching
 agreements have been deemed invalid,
                                                                        Pros” submission button. See n. 3, supra. The facts attendant
 question often failed to include a statement informing the
                                                                        to the instant motion are distinguishable from those of Specht
 user that, by clicking on a button, he or she was agreeing
                                                                        for similar reasons. In Specht, the Second Circuit refused to
 to be bound by hyperlinked terms. Mucciariello, 2019 WL
                                                                  at    enforce an arbitration provision in a website's licensing terms
 4727896, at *6 (string citing Nguyen, 763 F.3d 1171
                                                                        where the hyperlink to the terms was located at the bottom
 1179   (refusing to enforce hyperlinked terms, where the
                                                                        of the page, hidden below the “Download” button that users
 defendant's website did not include text informing the user
                                                                        had to click to initiate the software download. See Specht, 306
 that, by clicking on a button, he or she was providing
                                                                        F.3d at 30. The Second Circuit held that that “a reference to
 consent); Holdbrook Pediatric Dental, LLC, No. 14-6115,
                                                                        the existence of license terms on a submerged screen is not
 2015 WL 4476017, at *6 (D.N.J. July 21, 2015) (holding
                                                                        sufficient to place consumers on inquiry or constructive notice
 that hyperlinked terms were invalid, because the hyperlink




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of those terms.” Id. at 32. By contrast, here the hyperlink to       terms, including an arbitration clause, will only be binding

the TOU appears directly above the “PLACE ORDER” button              when they are reasonably conspicuous rather than proffered

that a user must click on to complete his or her order and           unfairly, or with a design to de-emphasize its provisions.”

is viewable without the need to scroll. Moreover, unlike the         Id. Although Lloyd's expression of assent to arbitration was

plaintiff in Specht, Lloyd was not required to visit another         not separate from her assent to place the order, and therefore

webpage in order to understand that a binding contract was           not as explicit as in a true clickwrap agreement, the Court is

created upon confirming her purchase of the merchandise.             convinced that it was nevertheless unambiguous in light of the
                                                                     conspicuous and objectively reasonable notice of the terms,

 *12 In addition to the existence of reasonable notice, there        as discussed in detail above.

is evidence that Lloyd had actual notice of the agreement to
arbitrate. To the extent Lloyd completed the “checkout flow”          *13   The Third Circuit's discussion in Noble v. Samsung

process several times after TJX moved to compel her claims           Electronics America is instructive on the adequacy of notice

to arbitration in the Central District of California arising out     issue for purposes of determining mutual assent. See Noble

of similar facts (see action entitled Shadi Hayden, et al. v.        v. Samsung Elec. Am., Inc., 862 F. App'x 113 (3d Cir. 2017).

The Retail Equation, Inc., et al., Case No. 8:20-cv-01203-           Noble involved consumer fraud claims brought in the context

DOC-DFM), and insofar as Lloyd's claims and/or alleged               of a class action by the consumer of a smartwatch containing

damages here arise from purchases and/or attempted returns           an alleged defect. Id. at 114. A motion to compel arbitration

post-dating that motion, Lloyd may have been on actual notice        was filed by the defendant supplier of the product based on
                                                                     an arbitration agreement set forth in a booklet inserted in
of the agreement to arbitrate. 6
                                                                     the product packaging. The district court denied the motion
                                                                     on the grounds that the arbitration clause was unreasonably
The Court must also disagree with Lloyd that there was
                                                                     hidden and thus the agreement was not enforceable. Id. at
no manifestation of assent because the arbitration clause
                                                                      115. The arbitration clause was set forth at page 97 of
was “buried in the Terms).]” See Opp. at *21. Agreements
                                                                     a 143-page booklet included in the smartwatch packaging,
similar to the one here - where the relevant terms and
                                                                     entitled “Health and Safety and Warranty Guide.” Id. The
provisions are hyperlinked and the user is notified that he or
                                                                     key issue on appeal to the Third Circuit was whether the
she must perform an action to provide assent, such as, for
                                                                     consumer plaintiff had assented to the arbitration clause set
example, clicking on a button - have been found enforceable
                                                                     forth in the in-box booklet. Id. at 1 16-17. The Third Circuit
under New Jersey law. Beture v. Samsung Elecs. Am., Inc.,
                                                                      determined he had not. Id. Distinguishing the agreement
 No. 17-5757, 2018 WL 4259845, at *5-6 (D.N.J. July 18,
                                                                      from enforceable agreements, the Third Circuit observed that
 2018) (“[M]odified browsewrap agreements are valid and
                                                                      “Here, the document in which the Clause was included did
 enforceable under New Jersey law.”); Holdbrook Pediatric
                                                                      not appear to be a bilateral contract, and the terms were
Dental, LLC, 2015 WL 4476017, at *2-3 (D.N.J. July 21,
                                                                      buried in a manner that gave no hint to a consumer that an
 2015); Mucciariello, 2019 WL 4727896, at *6 (D.N.J. Sept.
                                                                      arbitration provision was within ... More particularly, there
 27, 2019). This understanding comports with New Jersey
                                                                      was no indication on the outside of the Guide that it was a
 law governing contract formation, which establishes that
                                                                      bilateral contract or included any terms or conditions.” Id. at
 the element of assent exists when the parties “been fairly
                                                                      1 1 6. The court concluded that, under those circumstances, a
 informed of the contract's terms before entering into the
                                                                      consumer would have no reasonable notice he was assenting
 agreement.” Hoffman, 419 N.J. Super, at 606, 18 A.3d at
                                                                      to a bilateral contract, much less an agreement to arbitrate
 2 1 0; see also Mucciariello, 2019 WL 4727896, at *3. Equally
                                                                      disputes. Id. at 1 1 7-18.
 well-established under New Jersey law is the precept that
 “[n]o particular form of words is necessary to accomplish a
                                                                      Here, it is much clearer that Lloyd knew or should have
 clear and unambiguous waiver of rights,” and the arbitration
                                                                      known the TOU was a bilateral contract where Lloyd was
 clause “will pass muster when phrased in plain language that
 is understandable to the reasonable consumer.” Atalese v. U.S.       making a transaction for the sale of goods 7 and the hyperlink
                                                                      appearing    directly above the   “PLACE ORDER” button
 Legal Sen’s. Grp., L.P., 219 N.J. 430, 443 (2014). Applying

 New Jersey contract law, the Third Circuit has held that for a       contained textual notifications indicating that by placing

 party to have reasonable notice, the writing must “appear to         the order, Lloyd agreed to the TOU and Privacy Policy.

 be a contract” and “be called to the attention of the recipient.”    Further distinguishing the instant motion from Noble where

 Noble, 682 F. App'x at 116. Stated differently, “contractual         the arbitration clause was set forth at page 97 of a 143-page




                                                                                                                                 10
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                                                                 the strong federal policy favoring arbitration for matters
booklet, the evidence of record shows the TOU is significantly
                                                                 concerning the scope of arbitrability, 1 () the Court concludes
shorter in length and the provision titled “Arbitration
                                                                 that this action should be referred to arbitration with a stay
Agreement & Waiver Of Certain Rights” much earlier
                                                                 implemented for the pendency of that proceeding or until
in the document. Accordingly, the Court disagrees with
                                                                 further order.
Lloyd that there was no manifestation of assent because the
arbitration clause was unreasonably hidden or “buried in the

Terms).]” 8                                                      IV. Conclusion

                                                                  *14 For the reasons set forth herein TJX's motion will be
                                                                 granted in part and denied in part. The Motion will be granted
     d. Scope of Arbitration
                                                                 to the extent it seeks an order compelling arbitration of all
Having determined that the parties entered into a valid
                                                                 claims asserted by Lloyd and staying those claims for the
agreement to arbitrate, the remaining issue is whether the
                                                                 pendency ofthat proceeding or until further order. The Motion
dispute falls within the scope of the arbitration agreement.
                                                                 will be denied insofar as it requests an order for dismissal of
See Century Indem. Co., 584 F.3d at 522-23 (on a motion
                                                                 Count One, Count Three, and Count Five asserted by Lloyd
to compel arbitration, the Court must determine: (1) whether
                                                                 in the Complaint. An appropriate order will follow.
the parties entered into a valid arbitration agreement; and
(2) whether the dispute at issue falls within the scope of
the arbitration agreement.). Because it is not disputed that     All Citations
the language of the arbitration clause delegates questions
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encompassed by this action to the arbitrator, ' and given




                                                          Footnotes


                                                                                        , Inc.
 1        TJ Maxx and Marshalls together form the Marmaxx division of The TJX Companies

                                                                                     the TOU represent a pure
 2        The Court disagrees with Lloyd that Wollen compels the conclusion that
                                                                                 s is placement in a submerged
          browsewrap agreement. A characteristic feature of browsewrap agreement
                                                                                               Division, found instructive
          and hidden area. In its decision in Wollen, the New Jersey Superior Court, Appellate
                                                                                              17, 32 (2d Cir. 2002). See
          the Second Circuit's decision in Specht v. Netscape Commc'ns Corp., 306 F.3d
                                                                                        499, 259 A.3d 867, 876-77 (App.
          Wollen v. Gulf Stream Restoration & Cleaning, LLC, 468 N.J. Super. 483,
                                                                             nearly twenty-yea r-old decision in Spechtf.]”).
          Div. 2021 ) (“we continue to find instructive the Second Circuit's
                                                                                           presentation of the hyperlink on
          Paramount to the holding in Specht was the Second Circuit's view that the
                                                                                                  . Specht, 306 F.3d at 32;
          a “submerged screen" rendered notice to the terms contained within insufficient
                                                                                          where the arbitration clause was
          Wollen, 468 N.J. Super, at 499, 259 A.3d at 877 (“the court concluded that
                                                                    the program    but was   “submerged” elsewhere on the
          not visible before the users clicked the icon to download
                                                                                        Wollen where the hyperlink to the
          website, the users could not be said to have given consent.”). Unlike in
                                                                                           in this case the evidence shows
          subject terms appeared below the “View Matching Pros” submission button,
                                                                                          placement of the hyperlink in this
          the TOU are directly above the “PLACE ORDER” icon. In other words, the
                                                                                            below or “submerged.” For this
          case was more closely approximated to ensure assent as it was not hidden
                                                                                               case as a “browsewrap-type”
          reason, the Wollen court's characterization of the terms and conditions in that
                                                                          this relevant factual  distinction, and considering
          agreement are not dispositive of the question here. In light of
                                                                                                to the one in this case as a
          the body of caselaw (discussed infra) treating web-based agreements similar
                                                                                       Lloyd's comparison to Wollen
           modified or hybrid rather than a true browsewrap agreement, the Court finds
           less helpful.

                                                                                        ], that fact does not foreclose
  3        Where a plaintiffs complaint “makes no mention of the [arbitration agreement
                                                   Benedict v. Guess, Inc., No. 5:20-CV-45  45, 2021 WL 37619, at *4
           operation of a Rule 12(b)(6) standard.”



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                                                                                                                    at
        (E.D. Pa. Jan. 5, 2021) (quoting Sorathia v. Fidato Partners, LLC, No. CV 19-4253, 2020 WL 5121473,
                                                                                review  of a complaint  under the Rule
        *3 (E.D. Pa. Aug. 31, 2020) (internal quotations omitted). “Precluding
                                                                                                                 would
        12(b)(6) standard simply because a plaintiff has avoided reference to an existing arbitration agreement
                                                                                                           to a contract
        frustrate the purpose of the FAA: to facilitate expedited resolution of disputes where the parties
                                                                                                                  (1967)
        have opted for arbitration.” Id. (citing Prima Paint Corp. v. Flood & Conklin Mfg. Co., 388 U.S. 395, 404
                                                                                arbitration procedure, when  selected by
        (observing “the unmistakably clear congressional purpose that the
        the parties to a contract, be speedy and not subject to delay and obstruction in the courts.”)).

                                                                                                         agreement
4       The relevant inquiry for assessing reasonable notice is whether “the specifics surrounding [the]
                                                          known  about the existence  of the terms and conditions! .]”
        revealed either that the user knew or should have
                                                                                               at *4 (D.N.J. Nov.
        Liberty Syndicates at Lloyd's v. Walnut Advisory Corp., No. 09-1343, 201 1 WL 5825777,
        16, 2011) (applying New Jersey law).

                                                                                             in this case, amount
5       See, e.g., Mucciariello, 2019 WL 4727896, at *6 (“hyperlinked terms, such as the one
                                                                                                      to manifest
        to an enforceable agreement when ‘reasonable notice’ is provided and a button is designated
                                                                                                 be bound by the
        assent, near a statement informing the user that, by clicking, he or she is agreeing to
                                                                Inc., No. 04-04825,  2005  WL 756610,  at *2, *4-5
        hyperlinked terms”); Cairo, Inc. v. Crossmedia Servs.,
                                                                                                   every  page on
        (N.D. Cal. Apr. 1, 2005) (enforcing forum selection clause in website's terms of use where
                                                                                                this site, you agree
        the website had a textual notice that read: “By continuing past this page and/or using
                                                                             l use of any information   on this site”);
        to abide by the Terms of Use for this site, which prohibit commercia
                                                                                             website  clicked  a “Sign
        Fteja, 841 F. Supp. 2d at 835 (reasonable notice where users of a social networking
                                                                                                       that you have
        Up” button immediately above a sentence that read “[b]y clicking Sign Up, you are indicating
                                                                                               v. O'Neil & Assocs.,
         read and agree to the [hyperlinked] Terms of Service.”); Snap-On Bus. Solutions Inc.
                                                                                                user “clicked on an 'Enter
         708 F. Supp. 2d 669, 682-83 (N.D. Ohio 2010) (finding sufficient notice, where the
         button’ to proceed,” underneath which the webpage stated: “[t]he use of ... this site is subject to the terms and
                                                                                                  ...”); 5381 Partners LLC
         conditions,” which were viewable in “a green box with an arrow that users must click
                                                                                                      online agreement
         v. Shareasale.com, Inc., No. 12-4263, 2013 WL 5328324, at *7 (E.D.N.Y. 2013) (enforcing
                                                                                                  and an  accompanying
         where defendant's reference to the hyperlinked terms were near an “activation button,”
                                                                                                             d] terms and
         statement which read, “[b]y clicking and making a request to Activate, you agree to the [hyperlinke
                                                                                                (N.D. Cal. 2011) (enforcing
         conditions.”); Swift v. Zynga Game Network, Inc., 805 F. Supp. 2d 904, 908, 912
                                                                                    underneath   which was a statement in
         online agreement where users clicked on an “allow” button, directly
                                                                                             of the blue hyperlinked “terms
         “smaller grey font,” indicating that clicking on the button constituted acceptance
                                                                                                    where the user had to
         of service”); Bernardino, 2017 WL 7309893, at *5 (upholding an online agreement
                                                                              this purchase you  are agreeing to out Terms
         “click on a ‘Submit Order’ button with the language ‘[b]y making
                                                                                              .
         of Use and Privacy Policy’ immediately below it in order to complete her purchase.”)

                                                                                                  of the agreement. See,
    6    Courts frequently enforce web-based agreements where the user had actual notice
                                                                                                likelihood  of success on
         e.g., Register.com, Inc. v. Verio, Inc., 356 F.3d 393, 401-04 (2d Cir. 2004) (finding
                                                                                       that ... it was fully aware of the
         the merits in a breach of browsewrap claim where the defendant “admitted
                                                                                          , 2007 WL 4823761, at *4-6
         terms” of the offer); Sw. Airlines Co. v. BoardFirst, L.L.C., No. 3:06-CV-0891
                                                                          where  defendant   continued its breach after
         (N.D. Tex. Sept. 12, 2007) (finding proper contract formation
                                                                                            Tickets. Com, Inc., No. CV-
         being notified of the terms in a cease and desist letter); Ticketmaster Corp. v.
                                                                                                 judgment motion
         997654, 2003 WL 21406289, at *2C (C.D.Cal. Mar. 7, 2003) (denying defendants’ summary
                                                                                     after receiving letter quoting
         on browsewrap contract claim where defendants continued breaching contract
         the browsewrap contract terms).

                                                                                           Super. 483, 259 A. 3d 867.
    7    This point similarly differentiates this motion from Wollen. See Wollen, 468 N.J.

                                                                                   of contract law to determine the
    8    Additionally, under New Jersey law “ ‘applying the “fundamental precepts”
                                                                                          users ... where a website
         enforceability of contracts formed over the internet between companies and their
                                                                                      to it even if the party did not
         provides reasonable notice of the hyperlinked agreement, users will be bound



                                                                                                                        12
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         review the terms and conditions of the hyperlinked agreement before assenting to them.” Hite v. Lush Internet
         Inc., 244 F. Supp. 3d 444, 451 (D.N.J, 2017) (internal citations and quotations omitted); see also Singh v.
         Uber Tech., Inc., 235 F.Supp.3d 656, 2017 WL 396545, at *4 (D.N.J. Jan. 30, 2017).

9        See AT&T Tech., Inc. v. Commc'n Workers, 475 U.S. 643, 650 (1986) (“arbitration should only be denied
         where it may be said with positive assurance that the arbitration clause is not susceptible of an interpretation
         that covers the asserted dispute.”) (internal quotations omitted”).


10       See Moses H. Cone Memorial Hosp., 460 U.S. 1, 24-25 (“[A]ny doubts concerning the scope of arbitrable
          issues should be resolved in favor of arbitration.”).




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                                                                      Plaintiffs   allege   that   Defendant   arbitrarily    priced     its
                      2017 WL 4799795
                                                                      equipment and services, provided deficient services and
       Only the Westlaw citation is currently available.
                                                                      equipment, left promotional literature on door knobs,
                 NOT FOR PUBLICATION
                                                                      abandoned equipment, used confusing contractual and
         United States District Court, D. New Jersey.
                                                                      promotional language, and provided deficient customer
                                                                      service. (Id.    17-24).
              Judith NOONAN, at al. Plaintiffs,
                               V.
                                                                      Defendant seeks to compel arbitration and stay litigation.
               COMCAST CORP. Defendant.
                                                                      Defendant contends that Plaintiffs are bound by an arbitration
                                                                      agreement in their Comcast Agreement for Residential
             Civil Action No. 3: 16—cv-00458 (PGS)
                                    I                                 Services (the “Subscriber Agreement”). Comcast provided

                        Signed 10/23/2017
                                                                      copies of the Subscriber Agreement to Plaintiffs as an insert

                                    I                                 in a monthly billing statement and as part of a welcome kit

                         Filed 10/24/2017
                                                                      when services were installed. (See Def.'s Br. 4; ECF No. 1 8).


Attorneys and Law Firms                                               For the purposes of this motion, the parties have submitted a
                                                                      Stipulation as to which versions of the Subscriber Agreements
Paul Anthony Leodori, Medford, NJ, for Plaintiffs.
                                                                      were in place at the time the Plaintiff received services. 1
                                                                       (See Slip. 1-2; ECF No. 23-1). The stipulation is significant
Michael P. Daly, Drinker, Biddle & Reath, LLP, Florham
                                                                       because the language of the current Subscriber Agreement
 Park, NJ, Michael W. Mctigue, Jr., Drinker, Biddle & Reath,
                                                                       available on Defendant's website differs from those in dispute.
 LLP, Katie Bailey Garayoa, Rinker Biddle & Reath LLP,
                                                                       (See Pl.'s Br. 4-5; ECF No. 36). In particular, the Defendant
 Philadelphia, PA, for Defendant.
                                                                       revised Section 13 which contains the arbitration provision.
                                                                       (See Def.'s Br. at Exhibit “A”; ECF No. 18-2).

              MEMORANDUM AND ORDER
                                                                       All three Subscriber Agreements in dispute have nearly

 PETER G. SHERIDAN, U.S.D.J.                                           identical arbitration provisions made up of 1 1 paragraphs

                                                                       a-k, are approximately thirty pages, over 3,000 words, and
  *1   This matter comes before the Court on Defendant's               single spaced with no table of contents. (ECF No. 23-1) (See
 Renewed Motion to Compel Arbitration and Stay Litigation.             Def.’s Br. 6; Opp. Br. 10). The sections in the arbitration
 (ECF No. 31).                                                         provision are as follows: a. Purpose; b. Definitions; c. Right
                                                                       to Opt Out; d. Initiation of Arbitration Proceeding/Selection
                                                                       of Arbitrator; e. Arbitration Procedures; f. Restrictions; g.
                                                                       Location of Arbitration; h. Payment of Arbitration Fees
              Factual & Procedural Background
                                                                       and Costs; i. Severability; j. Exclusions from Arbitration;

 On December 8, 2015, Plaintiffs initiated this class action            k. Continuation. (See Exhibit “B”; ECF No. 23-1 at 44-

 in Superior Court, Ocean County. On January 27, 2016,                 47.) The 2008 agreement has no page numbers while the

 Defendant removed the matter to this Court pursuant to the             2011 and 2012 agreements have page numbers and a separate

 Class Action Fairness Act of 2005 (“CAFA”), 28 U.S.C.                  notice on customer privacy. The following memorandum

 § 1332 et seq. (ECF No. 1, Notice of Removal). Plaintiffs              refers to all three agreements, starting with Ex. B, the 2008

 allege: (1) declaratory relief; (2) violations of the Plain            Agreement, and citing to the corresponding page numbers for

 Language Act, N.J.S.A. § 56:12-1 et seq.', (3) violations of           Exhibits C and D when the language used is identical." Any
  the Consumer Fraud Act, N.J.S.A. § 56:8-1 etseq.\ (4) breach          minor language differences present in relevant sections of the
  of contract; (5) bad faith; and (6) prima facie tort, arising out     disputed versions of the agreements are quoted accordingly.
  of Comcast's allegedly arbitrary pricing, deficient telephone,
  television, and computer services, deficient equipment, and            *2   On the first page of the 2008 Subscriber Agreement
  abandoned equipment and advertising material. (ECF No. 1,             located three-quarters      of the way down,         in   bold   type
  Compl.).                                                              (surrounded by other bold type) is the following language:




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                                                                     (ECF 23-1 Ex. D at 1 15.) Plaintiff points to the permissive
                                                                     language in the above section and contends that a customer
            Note: This Agreement contains a
                                                                     unacquainted with the law would not deduce that the
            binding     arbitration   provision    in
                                                                     provision is a waiver of the right to access the court system
             Section 13 that affects your rights
                                                                     (See Pl.'s Br. 2).
             under this Agreement with respect

             to all Services.
                                                                     Plaintiff compares the 2008 agreement to the current version
                                                                     on Defendant's website with a strengthened introductory note,
                                                                     underlined and capitalized, in addition to bold:
(ECF 23-1 Ex. B at 28; Ex. C at 69; Ex. D at 102). Section
13 is roughly three-and-a-half pages, the first section listed is
the ‘‘Purpose”:                                                                    Note:        THIS              AGREEMENT

                                                                                   CONTAINS                  A         BINDING
   13. BINDING ARBITRATION
                                                                                   ARBITRATION               PROVISION            IN

                                                                                   SECTION            13    THAT       AFFECTS
     a. Purpose. If you have a Dispute (as defined below)
                                                                                   YOUR        RIGHTS             UNDER       THIS
     with Comcast that cannot be resolved through the
     informal dispute resolution process described in this                         AGREEMENT WITH RESPECT

     Agreement, you or Comcast may elect to arbitrate that                         TO ALL SERVICE(S). These terms
                                                                                    and      conditions       are      subject     to
     Dispute in accordance with the terms of this Arbitration
     Provision rather than litigate the Dispute in court.                           applicable tariffs and service guides.

     Arbitration means you will have a fair hearing before a
     neutral arbitrator instead of in a court by a judge or jury.
                                                                      (See Def.'s Br. at Exhibit “A”; ECF No. 1 8-2). Section 1 3 has
 (ECF 23-1 Ex. B 43 —44). The language of this section in the
                                                                      also been changed in Defendant's current version with more
 201 1 agreement states as follows:
                                                                      succinct and forceful language:

   13. BINDING ARBITRATION
                                                                         13. BINDING ARBITRATION


   a. Purpose. If you have a Dispute (as defined below)                    a. Purpose. Any Dispute involving you and Comcast
   with Comcast that cannot be resolved through the infonnal                                                                     arbitration.   In
                                                                           shall be resolved through individual
   dispute resolution with Comcast, you or Comcast may elect
                                                                            arbitration, there is no judge or jury and there is less
   to arbitrate that Dispute in accordance with the terms of
                                                                            discovery and appellate review than in court.
   this Arbitration Provision rather than litigate the Dispute in
   court. Arbitration means you will have a fair hearing before       (See Def.'s Br. at Exhibit “A” ECF No. 18-2).
   a neutral arbitrator instead of in a court by a judge or jury.

                                                                      The disputed agreements continue with the “b. Definitions”
 (ECF 23-1 Ex. C at 80). The language of this section in the
                                                                      and “c. Right to Opt Out” paragraphs. Of note is what
 2012 agreements states:
                                                                      the Supreme Court has called a delegation clause, Rent-A-
                                                                      Center, West, Inc. v. Jackson, 561 U.S. 63, 68-69 (2010),
    13. BINDING ARBITRATION
                                                                      which arguably exists in the “b. Definitions” paragraph,
                                                                                       any    dispute      will   go   to   an   arbitrator     and
    a. Purpose. If you have a Dispute (as defined below)              stating   that

    with Comcast that cannot be resolved through the infonnal         that “includes the validity, enforceability or scope of this

    dispute resolution with Comcast, you or Comcast may elect         Arbitration Provision.” The Defendant notes that the “c.

    to arbitrate that Dispute in accordance with the terms of         Right to Opt Out” paragraph is a clear signal that arbitration

    this Arbitration Provision rather than litigate the Dispute in    is binding. (See Def.'s Br. 4).

    court. Arbitration means you will have a fair hearing before
                                                                          *3 b. Definitions. As used in this Arbitration Provision,
    a neutral arbitrator instead of in a court by a judge or jury.
                                                                         the    term      “Dispute”     means       any     dispute,    claim    or
    Proceeding in arbitration may result in limited discovery
                                                                         controversy between you and Comcast regarding any
    and may be subject to limited review by courts.




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                                                                            tort), or Arbitration Provision (with the exception of the
  aspect of your relationship with Comcast that has
                                                                            enforceability of the class action waiver clause provided in
  accrued or may hereafter accrue, whether based in
                                                                            paragraph 1 3(f)(2)). “Dispute” is to be given the broadest
  contract, statute, regulation, ordinance, tort (including,
                                                                            possible meaning that will be enforced. As used in this
  but not limited to, fraud, misrepresentation, fraudulent
                                                                            Arbitration Provision, “Comcast” means Comcast and its
  inducement, negligence or any other intentional tort),
                                                                            parents, subsidiaries and affdiated companies and each of
  or any other legal or equitable theory, and includes
                                                                            their respective officers, directors, employees and agents.
  the validity, enforceability or scope of this Arbitration
  Provision (with the exception of the enforceability of the
                                                                             c. Right to Opt Out. IF YOU DO NOT WISH TO BE
  class action waiver clause provided in paragraph F(2)).
                                                                             BOUND BY THIS ARBITRATION IF YOU DO NOT
  “Dispute is to be given the broadest possible meaning that
                                                                             WISH TO BE BOUND BY THIS ARBITRATION
  will be enforced. As used in this Provision, “Comcast”
  means Comcast Cable Communications, LLC., its officers,                    PROVISION,          YOU       MUST          NOTIFY     COMCAST

  directors, employees and agents, and all entities using                    IN    WRITING           WITHIN          30>    DAYS     OF    THE

  the brand name "Comcast”, including your local cable                       DATE       THAT         YOU        FIRST        RECEIVE       THIS

  company, its employees, authorized agents, and its parents,                AGREEMENT BY VISITING WWW.COMCAST.COM/
   subsidiaries and affiliated companies. As used in this                    ARBITRATIONOPTOUT, OR BY MAIL TO COMCAST
   Provision, the term “Arbitration Provision” means all the                 1701 JOHN F. KENNEDY BLVD., PHILADELPHIA,
   terms of this Section 13.                                                 PA    19103-2838,        ATTN:          LEGAL      DEPARTMENT/

                                                                             ARBITRATION.            YOUR WRITTEN               NOTIFICATION
   c. Right to Opt Out. IF YOU DO NOT WISH TO                                                                                   YOUR      NAME,
                                                                             TO    COMCAST           MUST       INCLUDE
   BE BOUND BY THIS ARBITRATION PROVISION,
                                                                             ADDRESS        AND COMCAST ACCOUNT NUMBER
   YOU     MUST       NOTIFY        COMCAST            IN   WRITING
                                                                             AS     WELL        AS    A    CLEAR           STATEMENT       THAT
   WITHIN      30    DAYS      OF    THE     DATE       THAT     YOU
                                                                             YOU      DO    NOT      WISH           TO   RESOLVE     DISPUTES
   FIRST RECEIVE THIS AGREEMENT BY VISITING
                                                                              WITH COMCAST THROUGH ARBITRATION. YOUR
   WWW.COMCAST.COM/ARBITRATIONOPTOUT. OR
                                                                              DECISION TO OPT OUT OF THIS ARBITRATION
   BY MAIL TO DEPARTMENT/ARBTTRATION. YOUR
                                                                              PROVISION WILL HAVE NO ADVERSE EFFECT ON
   WRITTEN NOTIFICATION TO COMCAST MUST
                                                                              YOUR RELATIONSHIP WITH COMCAST OR THE
   INCLUDE YOUR NAME, ADDRESS AND COMCAST
                                                                              DELIVERY OF SERVICES TO YOU BY COMCAST. IF
   ACCOUNT          NUMBER          AS   WELL      AS       A   CLEAR
                                                                              YOU HAVE PREVIOUSLY NOTIFIED COMCAST OF
   STATEMENT          THAT      YOU        DO    NOT        WISH     TO
                                                                              YOUR DECISION TO OPT OUT OF ARBITRATION,
   RESOLVE DISPUTES WITH COMCAST THROUGH
                                                                              YOU DO NOT NEED TO DO SO AGAIN.
   ARBITRATION. YOUR DECISION TO OPT OUT OF
   THIS ARBITRATION PROVISION WILL HAVE NO                                  (See ECF No. 23-1 Ex. C at 80; Ex. D at 116).
   ADVERSE EFFECT ON YOUR RELATIONSHIP WITH
   COMCAST OR DELIVERY OF SERVICES TO YOU BY                                Paragraph “f. Restrictions,” point 2, Defendant bars class
   COMCAST. IF YOU HAVE PREVIOUSLY NOTIFIED                                 actions in arbitration or litigation:
    COMCAST OF YOUR DECISION TO OPT OUT OF
    ARBITRATION, YOU DO NOT NEED TO DO SO
    AGAIN.                                                                                                                 TO       THE
                                                                                           ALL        PARTIES

                                                                                           ARBITRATION                   MUST        BE
 (See Exhibit “B”; ECF No. 23-1 at 43—44). The 2011 and
                                                                                           INDIVIDUALLY NAMED. THERE
 20 1 2 versions of the agreement mentions the same with slight
                                                                                           SHALL          BE    NO         RIGHT    OR
 variation in wording:
                                                                                           AUTHORITY FOR ANY CLAIMS
                                                                                                               ARBITRATED            OR
    b. Definitions. The term “Dispute” means any dispute,                                  TO        BE

    claim, or controversy between you and Comcast regarding                                LITIGATED ON A CLASS ACTION
                                                                                                                            BASIS    OR
    any aspect of your relationship with Comcast, whether                                  OR    CONSOLIDATED

    based in    contract,   statute,     regulation,    ordinance,   tort                  ON BASES INVOLVING CLAIMS

    (including, but not limited to, fraud, misrepresentation,                              BROUGHT             IN    A     PURPORTED

    fraudulent inducement, negligence, or any other intentional                            REPRESENTATIVE CAPACITY ON




                                                                                Works.                                                        3
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                 BEHALF          OF        THE       GENERAL                    JURISDICTION OF A COURT WHICH IS LIMITED TO

                 PUBLIC     (SUCH          AS    A    PRIVATE                   ADJUDICATING SMALL CLAIMS.” (Id. at 46 -47; Id. at

                 ATTORNEY         GENERAL),             OTHER                   82; Id. at 117.)

                 SUBSCRIBERS,                 OR        OTHER

                 PERSONS SIMILARLY SITUATED                                     The arbitration provision further provides for a convenient

                 UNLESS THE STATUTE UNDER                                       location, and a single neutral arbitrator with either party able

                 WHICH           YOU          ARE        SUING                  to appeal a decision to a three-arbitrator panel. The provision

                 PROVIDES OTHERWISE                                             also contains a severability clause. Defendant advances all
                                                                                fees and arbitration costs, but a customer must pay if he or she
                                                                                loses. (Id. at 45—47; Id. at 81-82; Id. at 1 17).

 *4      In the 2008 and 2011 version the paragraph also
states    in    point 3   that    “ALL        PARTIES         WAIVE    ANY

CLAIM TO INDIRECT, CONSEQUENTIAL, PUNITIVE,                                                             Legal Standard

EXEMPLARY OR MULTIPLIED DAMAGES. (Id. at 45; Id.
at 81 .) The 2012 version states:
                                                                                Motions to compel arbitration should be analyzed under a
                                                                                Rule 12(b)(6) standard when arbitrability is apparent on the
                                                                                face of the complaint and/or documents relied upon in the
                                                                                complaint. Guidotti v. Legal Helpers Debt Resolution, LLC,
                 ALL        PARTIES                TO         THE
                                                                BE
                                                                                639 Fed.Appx. 824, 826-27 (3d Cir. 2016) (Guidotti II).
                 ARBITRATION                    MUST
                                                                                Where the complaint does not establish with clarity that the
                  INDIVIDUALLY NAMED. THERE
                                                                OR
                                                                                parties have agreed to arbitrate, or when the party opposing
                  SHALL        BE        NO      RIGHT
                                                                                arbitration has come forward with reliable evidence that it
                  AUTHORITY FOR ANY CLAIMS
                                                                                did not intend to be bound by an arbitration agreement, a
                  TO      BE          ARBITRATED                OR
                                                                                 Rule 12(b)(6) standard is not appropriate because the motion
                  LITIGATED ON A CLASS ACTION
                                                                                 cannot be resolved without consideration of evidence outside
                  OR    CONSOLIDATED                 BASIS      OR
                                                                                 the pleadings, and, if necessary, further development of the
                  ON BASES INVOLVING CLAIMS
                                                                                 factual record. Id. In such circumstances, the motion should
                  BROUGHT             IN    A    PURPORTED
                                                                                 be adjudicated under the Rule 56 standard for summary
                  REPRESENTATIVE CAPACITY ON
                                                                                judgment. Id. at 827.
                  BEHALF         OF        THE       GENERAL

                  PUBLIC       (SUCH AS            A PRIVATE
                                                                                 Beyond the parties' regarding the Subscriber Agreements in
                  ATTORNEY            GENERAL),              OTHER
                                                                                 place at the time of the dispute, this motion presents no
                  SUBSCRIBERS,                  OR           OTHER
                                                                                 need to explore factual issues beyond the Complaint and
                  PERSONS.
                                                                                 the Exhibits attached. This Motion can be resolved without
                                                                                 further development of the factual record, and thus the Court

                                                                                 will apply the Rule 12(b)(6) standard of analysis to this
 In point 3 of the same paragraph, Defendant bars class
                                                                                 Motion. To meet that standard, the Defendant must show,
 actions in arbitration or litigation: “ALL PARTIES TO THE
                                                                                 through the facts alleged, that it is entitled to the relief sought.
 ARBITRATION MUST BE INDIVIDUALLY NAMED.”
                                                                                 Fowler v. UPMC Shadyside, 578 F.3d 203, 21 1 (3d Cir. 2009).
 The paragraph also states that “ALL PARTIES WAIVE ANY
 CLAIM TO INDIRECT, CONSEQUENTIAL, PUNITIVE,
                                                                                 On a motion to compel arbitration, the Court must inquire: ( 1 )
 EXEMPLARY OR MULTIPLIED DAMAGES ...” (Id. at
                                                                                 whether the parties entered into a valid arbitration agreement;
 45; Id. at 81). The 2012 version does not include point 3. (Id.
                                                                                  and (2) whether the dispute at issue falls within the scope
 at 117).
                                                                                  of the arbitration agreement. Century Indem. Co. v. Certain
                                                                                  Underwriters at Lloyd's, 584 F.3d 513, 523 (3d Cir. 2009).
 In paragraph “j. Exclusion from Arbitration,” Defendant
                                                                                  When performing this inquiry, courts apply “ordinary state
 allows        for individual     small claims          to    be brought that
                                                                                  law principles that govern the formation of contracts,” Kirleis
 are      “NOT     AGGREGATED               WITH        THE      CLAIM    OF
                                                                                  v. Dickie, McCamey & Chilcote, 560 F.3d 156,              160 (3d
  ANY OTHER SUBSCRIBER AND WHOSE AMOUNT
                                                                                  Cir. 2009) (quotations and citations omitted), and, “when
  IN     CONTROVERSY                IS     PROPERLY           WITHIN     THE



                                                                                                                                                   4
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determining whether [a] particular dispute falls within a valid     Defendant and Plaintiffs. When performing an inquiry into

arbitration agreement's scope, ‘there is a presumption of           a motion to compel arbitration, the court applies “ordinary

arbitrabilityf:] an order to arbitrate the particular grievance     state-law principles that govern the formation of contracts.”

should not be denied unless it may be said with positive            Kirleis v. Dickie, McCamey & Chilcote, 560 F.3d 156, 160

assurance that the arbitration clause is not susceptible of an      (3d Cir. 2009). Contracts in New Jersey are enforceable where

interpretation that covers the asserted dispute.’ ” Century         there is “a bargained for exchange of promises or performance

Indem.     Co, 584 E3d at 524 (quoting AT&T Techs,             v.   that may consist of an act, a forbearance, or the creation,

Cownuns. Workers of Am., 475 U.S. 643, 650, 106 S. Ct.              modification, or destruction of a legal relation.” Martindale

1415, 89 L.Ed. 2d 648 (1986)).                                      v. Sandvik, 173 N.J. 76, 88 (2002).



 *5 The purpose of the Federal Arbitration Act (“FAA”) is           The Supreme Court of New Jersey held that an arbitration

“to reverse the longstanding judicial hostility to arbitration      provision in a consumer contract must state in a clear

agreements that had existed at English common law and had           and unambiguous way that arbitration is a substitute for a

been adopted by American courts, and to place arbitration           consumer's right to pursue relief in a court of law. Atalese v.

agreements upon the same footing as other contracts.” Beery         U.S. Legal Servs. Grp., 99 A. 3d 306, 3 16 (2014), cert, denied,

v. Quest Diagnostics, 953 F.Supp.2d 531, 536-37 (D.N.J.             135 S. Ct. 2804 (2015). In so holding, the court imposed

2013) (internal quotation and citation omitted). In order to        no greater burden on an “arbitration agreement than on any

achieve this end, the FAA provides that contracts containing        other agreement waiving constitutional or statutory rights.”

arbitration clauses “shall be binding” and allows for a federal     Id. New Jersey contract law demands that any “wavier-

court to stay proceedings in any matter referable to arbitration.   of-rights provision must reflect that [the party] has agreed

9 U.S.C. §§ 2, 3, 4. Moreover, “any doubts concerning               clearly and unambiguously” to its terms. Leodori v. CIGNA

the scope of arbitrable issues should be resolved in favor          Corp., 175 N.J. 293, 302 (2003), cert, denied, 540 U.S.

of arbitration.” Beery, supra, 953 F.Supp.2d at 537. The            938 (2003); see, e.g., Dixon v. Rutgers, the State Univ, of

Supreme Court confirmed that the FAA preempts state laws            N.J., 110 N.J. 432, 460-61 (1988) (holding that collective

“that apply only to arbitration or that derive their meaning        bargaining agreement cannot deprive one of statutory rights

from the fact that an agreement to arbitrate is at issue.” AT&T     to evidentiary materials in anti-discrimination case because

Mobility LLC v. Concepcion, 563 U.S. 333, 339 (2011).               “[u]nder New Jersey law[,] for a waiver of rights to be
                                                                    effective it must be plainly expressed”); Red Bank Reg'l Educ.

The Supreme Court has established two types of challenges to        Ass'n v. Red Bank Reg'l High Sch. Bd. of Educ., T& N.J. 122,

the validity of an arbitration provision pursuant to the “save       1 40 ( 1 978) (explaining, in public-employment labor-relations

upon” clause in § 2 of the FAA. Rent-A-Center, West, Inc.           context, that any waiver of statutory right to file grievances

 v. Jackson, 561 U.S. 63, 70 (2010). “One type challenges           “must be clearly and unmistakably established”).

 specifically the validity of the agreement to arbitrate,” and
 “[tjhe other challenges the contract as a whole, either on a
 ground that directly affects the entire agreement (e.g., the                                  ARGUMENTS
 agreement was fraudulently induced), or on the ground that
 the illegality of one of the contract's provisions renders the      *6       Comcast seeks to compel this dispute to arbitration
 whole contract invalid.” Buckeye Check Cashing, Inc., v.            because     Plaintiffs   knowingly and voluntarily   agreed to

 Cardegna, 546 U.S. 440, 444 (2006). The Supreme Court               arbitration. (See Def.'s Suppl. Br. 6). Defendant argues that
 has held that only first type of challenge can be successful        their arbitration clause passes muster under the Atalese
 in stripping an arbitration provision of its enforceability. See    standard and, even if it did not, that Atalese should not
 Prima Paint Corp. v. Flood & Conklin Mfg. Co., 388 U.S.             be followed because the decision is “flawed as a matter of
 395, 403-404 (1967); Buckeye, supra, at 444-446; Preston            common law and preempted as a matter of federal law.” (Id.
 v. Ferrer, 552 U.S. 346, 353-354, (2008). If the contract is        at 8).
 attacked as a whole, it must go to an arbitrator. Preston, supra
 at 353.                                                             Pointing to Atalese, Defendant notes that “no particular
                                                                     form of words is necessary” for an arbitration clause to be
 First, the Court must determine if the Subscription Agreement       enforceable so long as the clause explains “that arbitration is
 is in fact a valid agreement to arbitrate disputes between          a waiver of the right to bring suit in a judicial forum.” (Id.




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at 6) (quoting Atalese, 99 A. 3d at 313-314). Defendant finds          suing in court, but does not make clear that it is a waiver of

its agreement distinguishable from the one in Atalese because          a constitutional right.

Defendant's agreement states that disputes will be resolved
in arbitration and that arbitration is well defined. (Id. at 8).       Plaintiffs emphasize the permissive language in the clause

The Subscriber Agreement defines arbitration under a bold              and the use of the word “may.” (See Pl.'s Suppl. Br. 2). The

heading “13. BINDING ARBITRATION,” and states at the                   opening clause states “you or Comcast may elect to arbitrate

end of the paragraph, “Arbitration means you will have a fair          [a] Dispute in accordance with the terms of this Arbitration

hearing before a neutral arbitrator instead of in a court by a         Provision rather than litigate the Dispute in court. Arbitration

judge or jury.” (See ECF No. 23—1 at 43-44, Id. at 80; Id. at          means you will have a fair hearing before a neutral arbitrator

115).                                                                  instead of in a court by a judge or jury.” Plaintiffs perceive
                                                                       this provision to be written as a choice and that a reasonable

The arbitration provision also contains “c. Right to Opt               consumer, unaware of the difference between alternative

Out. IF YOU DO NOT WISH TO ARBITRATE DISPUTES,                         dispute resolution and litigation, would not understand the

YOU MAY DECLINE TO HAVE YOUR DISPUTES WITH                             repercussions of such an agreement. (Id. at 2).

COMCAST ARBITRATED BY NOTIFYING COMCAST

IN WRITING, WITHIN 30 DAYS                  ....” (Def.'s Br. 4).       *7   Plaintiffs compare this clause with Comcast's current

The paragraph furthers that a decision to opt out will                 provision available on its website: “Any Dispute involving

have no adverse effect on the customer's relationship with             you and Comcast shall be resolved through individual

the company. Defendant contends that the aforementioned                arbitration. In arbitration, there is no judge or jury and there is

clauses put Plaintiffs on notice as to the definition of               less discovery and appellate review than in court.” Plaintiffs

arbitration and that the arbitration is a substitute for a right to    argue that the current company provision is clear in describing

bring suit in court.                                                   that arbitration is a binding substitute for a right to sue in
                                                                       court, as opposed to the provisions in dispute. (Id. at 5).

Defendant further argues that Atalese should not be followed.
(Def.'s Suppl. Br. 8). The Third Circuit reversed a trial              Plaintiffs also compare Defendant's arbitration clause with

court decision that denied a motion to compel arbitration              the one found to be unenforceable by the Supreme Court

because the plaintiff could not read English. Morales v.               of New Jersey in Atalese and find the two clauses similar.

Sun     Constructors,   Inc.,   541   F.3d 218   (3d Cir.   2008).     Both provisions are found in consumer contracts over twenty

Defendant urges this Court to apply the same logic to                  pages in length. In Atalese, the arbitration clause is part of
the current Plaintiffs who did not understand the word                 a legal services contract for debt-adjustment, and reads, “In

“arbitration.” (Def.'s Suppl. Br. 8).                                  the event of any claim or dispute between Client and USLSG
                                                                       related to this Agreement or related to any performance of any

Defendant also cites the FAA and claims that Plaintiffs                services related to this Agreement, the claim or dispute shall

are asking this Court to apply a heightened standard of                be submitted to binding arbitration upon the request of either

enforceability to arbitration agreements. Indeed, Defendant            party.” The Atalese clause does not describe what arbitration

 claims that the Supreme Court of New Jersey erred in                  means. (Id. at 7). “The meaning of arbitration is not self-

Atalese because the decision applies a heightened standard to           evident to the average consumer, who will not know, ‘without

 arbitration agreements over other areas of contract law, which         some explanatory comment),] that arbitration is a substitute

 the Supreme Court of the United States has ruled against.              for the right to have one's claim adjudicated in a court of law.’

 Concepcion, 563 U.S. at 339.                                           ” Morgan v. Sanford Brown Inst., l37A.3d 1168, 1180(2016)
                                                                        (quoting Atalese 99 A. 3d at 442).

 Plaintiffs argue that the Defendant's arbitration clause fails
 to explain that arbitration is a substitute for the time-              Further, Plaintiffs point out the confusing nature of the

 honored right to sue in court and, therefore, no valid                 small claims language. (See Pl.'s Br. 6; ECF No. 22). In

 agreement to arbitrate exists. (See Pl.'s Suppl. Br. 6). Plaintiffs    paragraph “j. Exclusions from Arbitration,” which allows

 claim the arbitration clause does not satisfy the “clear and           for an individual claim “NOT AGGREGATED WITH THE

 unambiguous” standard put forth in Atalese and Leodori for             CLAIM OF ANY OTHER SUBSCRIBER AND WHOSE

 waiving access to the court system. The clause appears to              AMOUNT IN CONTROVERSY IS PROPERLY WITHIN

 give the customer an option to elect an arbitrator instead of          THE JURISDICTION OF A COURT WHICH IS LIMITED




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                                                                   provides for a reasonable avenue to decline arbitration as a
TO ADJUDICATING SMALL CLAIMS.”3 (See ECF No.
                                                                   form of dispute resolution. Plaintiffs do not dispute that they
23-1 at 43^14). Plaintiffs argue this exclusion serves to
                                                                   chose not to opt out. The provision is made of the following
further confuse the consumer. (Tr. of Oral Arg. 7). By granting
                                                                   paragraphs detailing the terms of arbitration: a. Purpose; b.
a claim in a certain court and excluding it from others,
                                                                   Definitions; c. Right to Opt Out; d. Initiation of Arbitration
Defendant expects a reasonable consumer to understand
                                                                   Proceeding/Selection of Arbitrator; e. Arbitration Procedures;
the structure of small claims courts and regular courts,
                                                                   f. Restrictions; g. Location of Arbitration; h. Payment of
jurisdiction, exclusion, and arbitration, all at the time of
                                                                   Arbitration Fees and Costs; i. Severability; j. Exclusions from
 attempting to complete a contract for wireless internet. (See
                                                                   Arbitration; k. Continuation. The actions of the parties and
Pl.’s Br. 6-7; ECF No. 22).
                                                                   the provision as a whole, makes clear that the parties agreed
                                                                   to arbitrate.


                           Analysis                                Next, the Court inquires whether this dispute falls within the
                                                                   scope of the arbitration agreement. Plaintiffs do not make
The Court finds the Plaintiffs' arguments unpersuasive.
                                                                   specific arguments as to the scope of the provision being
Plaintiffs do not deny that all the agreements were agreed to,     insufficient to cover their claims against the Defendant. Under
and those agreements all contain valid arbitration provisions.
                                                                   “b. Definitions,” the provision provides that
Under Atalese, a contract must make clear that a consumer is
waiving his or her constitutional right to sue in court when
agreeing to arbitration. When read by a reasonable person, the
                                                                                   any    dispute,    claim      or    controversy
arbitration provision is clear and unambiguous in its waiver
                                                                                   between you and Comcast regarding
 of rights. The provision satisfies the Atalese requirement in
                                                                                   any    aspect     of    your        relationship
 defining what arbitration means, and goes on to describe the
                                                                                   with    Comcast        that        has   accrued
process in detail. The agreement's description includes eleven
                                                                                   or    may   hereafter      accrue,       whether
explanatory paragraphs. The court in Atalese acknowledges
                                                                                   based in contract, statute, regulation,
 that “[n]o particular form of words is necessary to accomplish
                                                                                   ordinance,      tort   (including,       but   not
 a clear and unambiguous waiver of rights.” 99 A. 3d at 444.
                                                                                   limited to, fraud, misrepresentation,
                                                                                   fraudulent inducement, negligence or
 The Court does not elect to disregard Atalese as Defendant
                                                                                   any other intentional tort), or any other
 argues. Those concerns have been duly addressed in the case
                                                                                   legal or equitable theory.... Dispute
 law. Atalese has been cited by the Third Circuit a number
                                                                                   is to be given the broadest possible
 of times. Aliments Krispy Kernels, Inc. v. Nichols Farms,
                                                                                   meaning that will be enforced.
 851 F.3d 283 (3d Cir. 2017); James v. Global TelLink Corp.,
 852 F.3d 262 (3d Cir. 2017); Noble v. Samsung Elecs. Am..
 Inc., No. 16-1903, 2017 WL 838269, at *1 (3d Cir. Mar. 3,
                                                                    (See ECF No. 23-1 at 43-44; Id. at 80; Id. at 116). Plaintiffs'
 2017); Guidotti v. Legal Helpers Debt Resolution. LLC, 639
                                                                    claims for breach of contract, bad faith and other tort claims
 Fed.Appx. 824 (3d Cir. 2016). Rather, the Court finds that
                                                                    fall under dispute as defined in the arbitration provision.
 the arbitration provision satisfies the clear and unambiguous
 standard for a waiver of rights.


  *8   When comparing Defendant's provision with the one                                           Conclusion
 in Atalese, the Court finds that Defendant's          provision

  is distinguishable. The provision in Atalese is only one           For the foregoing reasons, Defendant's Motion to Compel

 paragraph, and never defines arbitration. Here, the provision       Arbitration and Stay Litigation is granted.

  adequately defines arbitration: “Arbitration means you will
 have a fair hearing before a neutral arbitrator instead of
 in a court by a judge or jury.” (See ECF No. 23-1 at                                                ORDER
  43- 44; Id. at 80; Id. at 115). The provision begins with
  the subheading “BINDING ARBITRATION.” After two                    This matter having come before the Court on Defendant's
  introductory paragraphs, the “c. Right to Opt Out” paragraph       renewed motion to Compel Arbitration and Stay Litigation



                                                                                                                                        7
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(ECF No. 31); and the Court having fully considered the
                                                              ORDERED that this case is dismissed without prejudice.
submissions of the parties;



It is on this 23rd day of October, 2017;                      All Citations


ORDERED that Defendant's motion to Compel Arbitration         Not Reported in Fed. Supp., 2017 WL 4799795

and Stay Litigation is granted; and it is further




                                                      Footnotes



                                                                                           Claudia Salcedo. (ECF No.
1        Plaintiffs' Subscriber Agreements are exhibits to the Supplemental Declaration of
                                                                                         in 2008, Exhibit C is relevant
         23-1). Exhibit B is relevant to Plaintiffs Noonan and Stella Cristiano received
                                                                                                 ss received in 2012.
         to Plaintiff Reinhard received in 2011, and Exhibit D is relevant to Plaintiff McGuinne
         (See Stip. ECF No. 23-1).

                                                                                    analysis, however, in the interest
2        The minor language differences in the agreements do not affect the general
         of comprehensiveness we include all different versions.

                                                                                     affect the overall meaning of the
3        The 201 1 and 2012 version include a slight wording variation that does not
                                                                                        BER AND WHOSE AMOUNT
         sentence. “NOT AGGREGATED WITH THE CLAIM OF ANY OTHER SUBSCRI
                                                                       A COURT THAT IS LIMITED TO
         IN CONTROVERSY IS PROPERLY WITHIN THE JURISDICTION OF
         ADJUDICATING SMALL CLAIMS’’ (ECF No. 23-1 at 82; Id. at 117.)




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                                                                    claims. 1 See Not. Remov. at Ex. A (Compl.) fl 6, 7, & 17,
                     2022 WL 16749033
                                                                    ECF No. 1 . Checkr removed the action to this Court, based on
                                                                    the alleged Fair Credit Reporting Act violation. Not. Remov.
       Only the Westlaw citation is currently available.
                                                                    at p. 3. Defendant subsequently filed a Motion to Compel
       United States District Court, E.D. Pennsylvania.
                                                                    Arbitration and Stay Proceedings, arguing that Pricharda
                Michael PRICHARDA, Plaintiff,                       agreed to Checkr's Terms of Service, which included an
                               v.                                   Arbitration Clause, when using Checkr's website.          Mot.

                  CHECKR, INC., Defendant.                          Compel. Attached to the motion is the declaration of Jason
                                                                    Goodman, Checkr's Senior Staff Product Manager for Product
                        No. 5:22-cv-3180                            & Engineering, stating that he reviewed and was familiar with
                                    I                               Pricharda's consumer file and the Terms of Service as they
                    Signed November 7, 2022                         existed at the time Pricharda used Checkr's website, and that
                                                                    Checkr identified Pricharda's use of Checkr's website through
Attorneys and Law Firms                                             Pricharda's consumer file and IP address. Mot. Compel,

                                                                    Goodman Dec. fl 5-9, ECF No.           15. In his response, “
Michael Pricharda, Reading, PA, Pro Se.
                                                                    Pricharda does not allege that he rejected the Arbitration
Kacie Elisabeth Kergides, John G. Papianou, Montgomery              Clause, but rather, asserts that the Terms of Service do not
McCracken Walker & Rhoads LLP, Philadelphia, PA, for                apply to him or, alternatively, are unconscionable and should
Defendant.                                                          not be enforced. See Pl. Resp. T| 5, 7, ECF No. 16.


                                                                    In or around May 2022, Checkr prepared a background

                          OPINION                                   report on Pricharda at the request of Pricharda's prospective
                                                                    employer, Alliance Marketing Partners. See Compl. fl 5-7;
                                                                    Goodman Dec. 51 6. In connection with this report, Pricharda
         Defendant's Motion to Compel Arbitration
                                                                    accessed Checkr's “Candidate Portal” through its website on
        and Stay Proceedings, ECF No. 15 - Granted
                                                                     two occasions. Goodman Dec.      6. On both occasions, before

                                                                     Pricharda was granted access to the portal, he was required
 Joseph F. Leeson, Jr., United States District Judge
                                                                     to enter personal identifying information, including his Social
 I. INTRODUCTION                                                     Security Number and date of birth, and he was presented

  *1   Plaintiff Michael Pricharda filed a Complaint in the          with Checkr's Terms of Service. Id. On May 20, 2022, and

 Court of Common Pleas of Berks County against Defendant             June 7, 2022, Pricharda consented electronically to the Terms

 Checkr, Inc., a consumer reporting agency, for allegedly            of Service by clicking a box which read, “By checking this

 providing false information about Pricharda in a background         box, I agree to Checkr's Terms of Service (set forth above).”

 check provided to prospective employers. Checkr removed             Goodman Dec. fl 6, 8-9.

 the action to this Court based on federal question jurisdiction,
 maintaining its assertion that Pricharda agreed to the Terms of      *2 The Terms of Service contained an Arbitration Clause,

 Service on Checkr's website, which included an Arbitration          providing the following:

 Clause. Defendant filed a Motion to Compel Arbitration and
 Stay Proceedings. Pricharda opposes the motion. For the
 reasons set forth below, the Motion to Compel Arbitration and                    In exchange for the benefits of the
 Stay Proceedings is granted, and the matter is stayed pending                    speedy,   economical,   and   impartial

 arbitration.                                                                     dispute    resolution   procedure     of

                                                                                  arbitration, You and Checkr mutually
                                                                                  agree to give up our right to resolve
 II. BACKGROUND
                                                                                  disagreements in a court of law by a
 In July 2022, Pricharda instituted this action against Checkr,
                                                                                  judge or jury, and, as described below,
 for allegedly providing false information about Pricharda
                                                                                  agree to binding and final arbitration
 in a background check given to prospective employers in
 violation of the Fair Credit Reporting Act, among other




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            pursuant to the Federal Arbitration                     2021) (quoting Henry Schein, Inc. v. Archer & White Sales,

            Act, 9 U.S.C. § 1, et seq.                              Inc.,      U.S.      , 139 S. Ct. 524, 530, 202 L.Ed.2d 480
                                                                    (20 1 9)). See also MXM Constr Co. v. N.J. Bldg. Laborers
                                                                    Statewide Benefit Funds, 974 F.3d 386, 402 (3d Cir. 2020)
                                                                    (“[U]nder section [four] of the [Federal Arbitration Act],
Mot. Compel, Ex. 2 (“TOS”) at p. 15, 3 § 14, ECF No.                courts retain the primary power to decide questions of
15. In addition, a notice appeared in bold, all capital letters
                                                                    whether the parties mutually assented to a contract containing
in the first paragraph of the Terms of Service advising
                                                                    or incorporating a delegation provision.”). Therefore, “if a
users of a binding arbitration provision and class action
                                                                    valid agreement exists, and if the agreement delegates the
waiver in the TOS. TOS at p. 7. A second paragraph
                                                                    arbitrability issue to an arbitrator, a court may not decide
also appeared in all capital      letters advising users that
                                                                    the arbitrability issue.” Henry Schein, Inc., 139 S. Ct. at
Section 14 of the Terms of Service required all claims and
                                                                    530. Additionally, “unless the party opposing arbitration
disagreements to be resolved through binding arbitration. Id.
                                                                    challenges the delegation provision specifically, the district
The Arbitration Clause also included a delegation clause,
                                                                    court must treat it as valid and must enforce it by sending
which explained that “disagreement about the arbitrability of
                                                                    any challenge to the validity of the underlying arbitration
any Claim (including questions about the scope, applicability,
                                                                    agreement to the arbitrator.” MXM Constr. Co., 974 F.3d
interpretation, validity, and enforceability of this arbitration
                                                                    at 399 (citing Rent-A-Center, W, Inc. v. Jackson, 561 U.S.
agreement) ... shall be delegated to the arbitrator (not a court)
                                                                    63, 72 (2010)) (“Think of a delegation provision as a mini
[,]” and “the arbitrator shall have initial authority to resolve
                                                                    arbitration agreement within a broader arbitration agreement
such threshold disagreements.” TOS at p. 15, § 14. The
                                                                    within a broader contract, something akin to Russian nesting
Terms of Service informed Pricharda of his right to reject the
                                                                    dolls.”) (cleaned up).
Arbitration Clause within thirty days, the details the written

rejection notice must contain, and the address to send the
                                                                     *3     A “clickwrap” agreement is one that “appears on an
rejection notice. TOS at p. 17, § 14(H).
                                                                    internet webpage and requires that a user consent to any
                                                                    terms or conditions by clicking on a dialog box on the
For the reasons set forth below, the Motion to Compel
                                                                     screen in order to proceed with the internet transaction.”
Arbitration and Stay Proceedings is granted.
                                                                     Feldman v. Google, Inc., 513 F. Supp. 2d 229, 236 (E.D. Pa.
                                                                     2007) (citation omitted). “To determine whether a clickwrap
                                                                     agreement is enforceable, courts presented with the issue
III. LEGAL STANDARDS
                                                                     apply traditional principles of contract law and focus on

   A. Motion to Compel Arbitration - Review of                       whether the plaintiffs had reasonable notice of and manifested

   Applicable Law                                                    assent to the clickwrap agreement.” Lewis v. Nat'l Bd. of
 “It is well established that the Federal Arbitration Act (FAA),     Osteopathic Med. Examiners, Inc. , No. 20-cv-4368, 2020 WL
 reflects a strong federal policy in favor of the resolution of      7260747, at *4, 2020 U.S. Dist. LEXIS 232062, at *10-11
 disputes through arbitration.” Kirleis v. Dickie, McCamey &         (E.D. Pa. Dec. 10, 2020) (internal quotation and citation

 Chilcote, PC., 560 F.3d 156, 160 (3d Cir. 2009) (internal           omitted). Courts in this district have regularly held “that
 quotations omitted). “Before compelling a party to arbitrate        ‘clickwrap’ agreements manifest sufficient agreement to the

 pursuant to the FAA, a court must determine that (1) there          terms in the contract.” Dobbs v. Health IQ Ins. Servs. , No. 2 1 -
 is an agreement to arbitrate and (2) the dispute at issue falls     cv-5276, 2022 WL 2974713, at *4, 2022 U.S. Dist. LEXIS
 within the scope of that agreement.” Century Indem. Co. v.          133182, at *8 (E.D. Pa. July 27, 2022) (citing Zabokritsky

 Certain Underwriters at Lloyd's, 584 F.3d 513, 522 (3d Cir.         v. JetSmarter, Inc., No. 19-cv-273, 2019 WL 2563738, at
 2009).                                                              *3 n.30 (E.D. Pa., 2019)). See also Putt v. Tripadvisor Inc.,
                                                                     No. 20-cv-3836, 2021 WL 242470, at *6, 2021 U.S. Dist.

 “However, when an arbitration provision, by ‘clear and              LEXIS 12997, at *15 (E.D. Pa. Jan. 25, 2021) (“Clickwrap
 unmistakable evidence,’ contains a valid delegation clause,         agreements are ‘routinely enforced by the courts. ’ ” (internal
 the court's inquiry is limited to the first step: determining       citation omitted)). When reviewing these routine internet
 whether a valid agreement to arbitrate exists.” Coulter v.          transactions, “the occurrence of mutual assent ordinarily
 Experian Info. Sols., Inc., No. 20-cv-l 814, 2021 WL 735726,        turns on whether the consumer had reasonable notice of the
 at *4, 2021 U.S. Dist. LEXIS 35175, at *9 (E.D. Pa. Feb. 25,        merchant's terms of service agreement.” Dobbs, 2022 WL




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 2974713, at *3, 2022 U.S. Dist. LEXIS 133182, at *8 (citing             at 324, 1 06 S.Ct. 2548; Matsushita Elec. Indus. Co. v. Zenith
 Nguyen v. Barnes & Noble Inc., 763 F.3d 1171, 1 1 77 (9th Cir.          Radio Corp., 475 U.S. 574, 586, 106 S.Ct. 1348, 89 L.Ed.2d
 2014)).                                                                 538 ( 1 986) (stating that the non-moving party “must do more
                                                                         than simply show that there is some metaphysical doubt as to

                                                                         the material facts”).
    B. Motion to Compel Arbitration - Standard of

    Review
                                                                          *4   The party opposing the motion must produce evidence
 In deciding whether to compel arbitration, a district may
                                                                         to show the existence of every element essential to its case,
 either employ the motion to dismiss standard under Federal
                                                                         which it bears the burden of proving at trial, because “a
 Rule of Civil Procedure 12(b)(6) or the motion for summary
                                                                         complete failure of proof concerning an essential element of
 judgment standard under Federal Rule of Civil Procedure 56.
                                                                         the nonmoving party's case necessarily renders all other facts
 See MacDonald v. Unisys Corp., 951 F. Supp. 2d 729, 732
                                                                         immaterial.” Celotex, 477 U.S. at 323, 106 S.Ct. 2548. See
 (E.D. Pa. 2013). If arbitrability is not apparent on the face of
                                                                         also Antkowiak v. Taxmasters, 455 F. App'x 156, 159 (3d Cir.
 the complaint or if the non-moving party has “come forth with
                                                                         2011) (citing Green Tree Fin. Corp. -Ala. v. Randolph, 531
 reliable evidence that is more than a naked assertion ... that it
                                                                         U.S. 79, 92, 121 S.Ct. 513, 148 L.Ed.2d 373 (2000)) (“A party
 did not intend to be bound by the arbitration agreement, ... the
                                                                         opposing a motion to compel arbitration bears the burden
 issue should be judged under the Rule 56 standard.” Guidotti
                                                                         of proving the arbitration clause unenforceable.”). The court
 v. Legal Helpers Debt Resolution L.L.C., 716 F.3d 764, 776
                                                                        must consider the evidence in the light most favorable to the
 (3d Cir. 2013) (internal quotations omitted). The summary
                                                                        non-moving party. Scott v. Harris, 550 U.S. 372, 378, 127
judgment standard is also applied if the parties rely on factual
                                                                         S.Ct. 1 769, 167 L.Ed.2d 686 (2007). See also Antkowiak, 455
 evidence outside the pleadings in arguing that arbitration is
                                                                        F. App'x at 159 (“All reasonable inferences from the evidence
 or is not appropriate. See Smeck v. Comcast Cable Communs.
                                                                        are to be granted to the party opposing arbitration.”).
Mgmt.. LLC, No. 19-CV-3625-JMY, 2020 WL 694001 1 at *3,
 2020 U.S. Dist. LEXIS 22 1 526 at *8 (E.D. Pa. Nov. 25, 2020).

                                                                        IV. DISCUSSION
 Here,   arbitrability is   not   apparent   on   the   face   of the   For the following reasons, the Motion to Compel Arbitration
complaint and Checkr's motion is therefore evaluated under              is granted. First, the Court finds there was an agreement
the summary judgment standard.                                          to arbitrate: the Terms of Service - a clickwrap agreement.
                                                                        Pricharda's assent to the clickwrap agreement is sufficient
                                                                        to indicate his intent to be bound by the Terms of Service.
   C. Motion for Summary Judgment under Rule 56 -
                                                                        Although Pricharda argues that the Terms of Service did not
   Review of Applicable Law

Summary judgment is appropriate “if the movant shows that
                                                                        apply to him or, in the alternative, were unconscionable, 4
there is no genuine dispute as to any material fact and the
                                                                        Pricharda   does   not dispute   using   Checkr's   website   or
                                                                        manifesting assent to the Terms of Service by clicking “I
movant is entitled to judgment as a matter of law.” Fed. R.
                                                                        agree.” Moreover, Pricharda's “conclusory statement that he
Civ. P. 56(a). A disputed fact is “material” if proof of its
                                                                        did not enter into any agreement with [Checkr] is insufficient
existence or nonexistence might affect the outcome of the
                                                                        to create an issue of material fact.” See Dobbs, 2022 WL
case under applicable substantive law. Anderson v. Liberty)
                                                                        29747 1 3, at *4, 2022 U.S. Dist. LEXIS 133 182, at * 1 1. Most
Lobby. Inc., 477 U.S. 242, 248, 106 S.Ct. 2505, 91 L.Ed.2d
                                                                        significantly, Pricharda was reasonably on notice of the Terms
202 (1986). An issue of material fact is “genuine” if the
                                                                        of Service when he assented to the clickwrap agreement,
evidence is such that a reasonable jury could return a verdict
                                                                        which alerted him to the presence of the Arbitration Clause
for the nonmoving party. Id. at 257, 106 S.Ct. 2505. The
                                                                        in bold and all capital lettering at the very beginning of
party moving for summary judgment bears the burden of
showing the absence of a genuine issue as to any material
                                                                        the Agreement. Accordingly, this Court finds that Pricharda

fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323, 106 S.Ct.
                                                                        assented to Checkr's Teims of Service and, in doing so
                                                                        assented to the Arbitration Clause contained within. As a
2548, 91 L.Ed.2d 265 (1986). Once such a showing has been
                                                                        result, the parties entered into a valid arbitration agreement,
made, the non-moving party must go beyond the pleadings
                                                                        and this matter must be referred to arbitration.
with affidavits, depositions, answers to interrogatories or the

like in order to demonstrate specific material facts which give

rise to a genuine issue. Fed. R. Civ. P. 56(c); Celotex, 477 U.S.




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    Second, the Court finds that Pricharda agreed to delegate
    issues of arbitrability to the arbitrator. Although Pricharda
                                                                     V. CONCLUSION
    argues that the Terms of Service is unconscionable and
                                                                      *5   Pricharda voluntarily assented to Checkr's clickwrap
challenges its validity as a whole, nowhere in his opposition
                                                                     Terms    of Service,   which   contained a valid arbitration
to Checkr's motion does Pricharda mention the delegation
                                                                     agreement. Because of the enforceable delegation clause
provision, let alone specifically argue it is unenforceable or
                                                                     contained within the clickwrap agreement and Pricharda's
unconscionable. Therefore, without a specific challenge to
                                                                     failure to challenge the delegation clause itself, his arguments
the delegation provision, this Court is required to treat the
                                                                     about arbitrability    and unconscionability must      also   be
provision as valid and enforce it pursuant to section four
                                                                     arbitrated. Checkr's Motion to Compel Arbitration is therefore
of the Federal Arbitration Act. Accordingly, pursuant to the
                                                                     granted, and the above-captioned case is stayed pending
language in the Terms of Service requiring questions of
                                                                     resolution of arbitration.
arbitrability to go to arbitration, Pricharda's unconscionability
challenges are for the arbitrator to decide, not this Court.
                                                                     A separate Order follows.

Accordingly, this Court finds that Pricharda assented to

Checkr's Terms of Service and, in doing so assented to the
                                                                     All Citations
Arbitration Clause contained therein. As a result, the parties
entered into a valid arbitration agreement, and this matter          Slip Copy, 2022 WL 16749033
must be referred to arbitration.




                                                            Footnotes


1         Although the Fair Credit Reporting Act is not specifically mentioned as a cause
                                                                                                of action in Pricharda's
          complaint, pro se pleadings are “liberally construed” by this Court. See Estelle v. Gamble,
                                                                                                       429 U.S. 97, 106,
          97 S.Ct. 285, 50 L.Ed.2d 251 (1976).


2         Although titled a “Motion to Strike," see ECF No. 16, this Court views Pricharda's
                                                                                             filing as a response in
          opposition to the motion to compel due to its substance.


3         This Court uses the pagination assigned by the Electronic Filing System.


4         Notably, Pricharda does not specifically mention the Terms of Service at issue,
                                                                                                  but argues that “[a]ny
          language that may exist by and between ShiftSmart app and Checkr Inc. are terms
                                                                                                and conditions pertinent
          to their contract together, but that relationship does not extend to the consumer and
                                                                                                if any language like that
          may exist in provisions extended to the consumer, that language must be found to be
                                                                                              unconscionable[.]" PI.
          Resp. V 7. The Court interprets Pricharda's argument as one generally contesting the enforceabilit
                                                                                                            y of the
          Terms of Service as to him.




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                                                                        instead mandates that district courts shall direct the parties

                        2015 WL 12656919                                to proceed to arbitration on issues as to which an arbitration

        Only the Westlaw citation is currently available.               agreement has been signed.” Dean Witter Reynolds Inc. v.

         United States District Court, C.D. California.                 Byrd, 470 U.S. 213, 218 (1985). “The court's role under the

                                                                        Act is therefore limited to determining (1) whether a valid
              Sue RODRIGUEZ, et al., Plaintiffs,                        agreement to arbitrate exists and, if it does, (2) whether the

                                  v.                                    agreement encompasses the dispute at issue.... If the response

       EXPERIAN SERVICES CORP., et al., Defendants.                     is affirmative on both counts, then the Act requires the court
                                                                        to enforce the arbitration agreement in accordance with its
                       Case No. CV 15-3553-R                            terms.” Chiron Corp., 207 F.3d at 1130.
                                       I
                          Signed 10/05/2015                             The arbitration agreement subject to dispute here was found
                                                                        under the “Terms of Use” of the Defendants’ website.
 Attorneys and Law Firms
                                                                        Contracts formed on the Internet come primarily in two

                                                                        flavors: “clickwrap” agreements, in which website users are
 Edward H. Nicholson, Jr., Nicholson Law Firm PA, Andrew
                                                                       required to click on an “I agree” box after being presented
 J. Schwaba, Schwaba Law Firm, Charlotte, NC, R. Kevin
                                                                       with a list of terms and conditions of use; and “browsewrap”
 Fisher, Fisher and Krekorian, Los Angeles, CA, for Plaintiffs.
                                                                       agreements, where a website's terms and conditions of use are

Levi    William      Heath,   Jonathan     Boustani,    Barnes   and   generally posted on the website via a hyperlink at the bottom

Thornburg LLP, Los Angeles, CA, Mark W. Bayer, Barnes                  of the screen. Nguyen v. Barnes & Noble Inc., 763 F.3d 1171,

and Thornburg LLP, Dallas, TX, Jaclyn B. Stahl, John A.                 1175-76 (9th Cir. 2014). The Defendants’ website features

Vogt, Jones Day, Irvine, CA, for Defendants.                           the “browsewrap” agreement that does not require an express

                                                                       agreement to the “Terms and Conditions” of its website.


                                                                       “The defining feature of browsewrap agreements is that the
            ORDER GRANTING DEFENDANTS’
                                                                       user can continue to use the website or its services without
           MOTION TO COMPEL ARBITRATION
                                                                       visiting the page hosting the browsewrap agreement or even
MANUEL L. REAL, UNITED STATES DISTRICT JUDGE                           knowing that such a webpage exists.” Id. at 1 1 76 (quoting Be
                                                                       In. Inc. v. Google Inc., 2013 WL 5568706, at *6 (N.D.Cal.
 *1    Before the Court is Defendants’ Motion to Compel                Oct. 9, 2013)). “Because no affirmative action is required by
Arbitration, which was filed on September 3, 2015. Having
                                                                       the website user to agree to the terms of a contract other than
been thoroughly briefed by both parties, this Court took the
                                                                       his or her use of the website, the determination of the validity
matter under submission on September 29, 2015.
                                                                       of the browsewrap contract depends on whether the user has
                                                                       actual or constructive knowledge of a website's terms and
“The    [Federal    Arbitration   Act (“FAA”) ]        provides that   conditions.” Id. (quoting Van Tassell v. United Mktg. Grp..
any arbitration agreement within its scope ‘shall be valid,
                                                                       LLC, 795 F.Supp.2d 770, 790 (N.D.I11. 2011)).
irrevocable, and enforceable,’ and permits a party ‘aggrieved
by the alleged ... refusal of another to arbitrate’ to petition any
                                                                        *2   In Nguyen, there was no evidence that the website
federal district court for an order compelling arbitration in the
                                                                       user had actual knowledge of the agreement; therefore, the
manner provided for in the agreement.” Chiron Corp. v. Ortho
                                                                       validity of the browsewrap agreement turned on whether the
Diagnostic Systems, Inc. , 207 F.3d 1126, 1 1 30 (9th Cir. 2000)
                                                                       website put a “reasonably prudent user on inquiry notice of
(quoting Title 9 U.S.C. § 4). The FAA reflects both a “liberal
                                                                       the terms of the contract.” Id. at 1 1 77. The Ninth Circuit held
federal policy favoring arbitration” and the “fundamental
                                                                       that where a website makes its terms of use available via
principle that arbitration is a matter of contract.” AT & T            a conspicuous hyperlink on every page of the website, but
Mobility LLC v. Concepcion, 131 S.Ct. 1740, 1745 (2011).               otherwise provides no notice to users nor prompts them to
“In line with these principles, courts must place arbitration
                                                                       take any affirmative action to demonstrate assent, even close
agreements on an equal footing with other contracts, and
                                                                       proximity of the hyperlink to relevant buttons users must click
enforce them according to their terms.” Id. The FAA “leaves
                                                                       on—without more—is insufficient to give rise to constructive
no place for the exercise of discretion by a district court, but
                                                                       notice. Id. at 1178—79 (emphasis added). The without more




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refers to additional language found in other cases such as                              for the contract to be declared unenforceable, they need not
Fteja v. Facebook, Inc., 841 F.Supp.2d 829 (S.D.N.Y. 2012).                             be present to the same degree.” Id.

In Fteja, a Southern District Court in New York enforced a
forum selection clause in the website’s terms of service where                          “In assessing procedural unconscionability, the court, under
a notice below the “Sign Up” button stated, “By clicking                                California   law,   focuses   on     the   factors     of surprise   and

Sign Up, you are indicating that you have read and agree                                oppression in the contracting process, including whether the

to the Terms of Service.” Id. at 838-40. Likewise in Graf v.                            contract was one drafted by the stronger party and whether the

Match.com, LLC, the court held that an arbitration clause was                           weaker party had an opportunity to negotiate.” Id. Oppression
valid since all users of the Match.com website were required                            arises “from an inequality of bargaining power [that] results

to affirmatively agree to the Terms of Use when they clicked                            in no real negotiation and an absence of meaningful choice.”
on a “Continue” where it was explained that by clicking on                              Circuit City Stores, Inc. v. Mantor, 335 F.3d 1101, 1106 (9th
that button, the user was affirming that they would be bound                            Cir. 2003) (quoting Stirlen v. Supercuts, Inc., 51 Cal.App. 4th
by the Terms of Use, which were always hyperlinked and                                  1519, 1532(1997)). Surprise “involves the extent to which the

available for review. 2015 WL 4263957, at *4 (C.D. Cal.                                 contract clearly discloses its terms as well as the reasonable
July 10, 2015). These types of “browsewrap” agreements                                  expectations of the weaker party,” Chavarria, 733 F.3d at 922,
commonly used to bind a website user to a website's terms of                            and “involves the extent to which the supposedly agreed-upon
use are “consistently enforced.” Nguyen, 763 F.3d at 1176.                              terms of the bargain are hidden in the prolix printed form
                                                                                        drafted by the party seeking to enforce the disputed terms.”
Like the disclosures in Fteja and Graf, the Defendants’                                 Stirlen, 5 1 Cal.App. 4th at 1532.
website contains the exact disclosure that the Ninth Circuit

found was missing in Nguyen. Their website contained a                                  The     arbitration       agreement        is        not    procedurally
hyperlink to the Terms of Use at the bottom of every page                               unconscionable. It is not oppressive because Plaintiffs had
and included an express disclosure and acknowledgment,                                  plenty of alternative options to locate other debt relief

which stated, “By clicking the button above ... you agree to                            providers. It cannot be said that these two parties had unequal
our Terms of Use.” This disclosure and acknowledgment is                                bargaining power since Plaintiffs could have easily gone
exactly the type of notice the Ninth Circuit in Nguyen required                         elsewhere for debt relief options. Plaintiffs cannot claim
and approved of when it said that more than a conspicuous                               surprise. The Terms of Use during all relevant times were
hyperlink was required.                                                                 between three to four pages long. It contained normal size

                                                                                        font and all the headings were bolded. In fact, the entire
Plaintiff also argues that the arbitration agreement contained                          arbitration provision appears in all caps in the 2012 version.
in    the   Terms    of Use         is        unenforceable    because        it   is   See Graf, 2015 WL 4263957 at *5 (finding that although
unconscionable. “Like other contracts, arbitration agreements                           the terms of use were drafted by defendant, the arbitration
can be invalidated for fraud, duress, or unconscionability.”                            provision was presented as its own section of the Terms of
Chavarria      v.   Ralphs       Grocery         Co.,   733    F.3d    916,    921      Use, used bold type to draw the reader's attention to it, and its
(9th Cir. 2013).         “Unconscionability under California law                        terms were clearly explained in the “Notice of Rights” section

‘has both      a procedural         and        a substantive element, the               immediately following the arbitration provision).
former focusing on oppression or surprise due to unequal

bargaining     power,      the    latter        on    overly   harsh    or    one        *3   The arbitration agreement is also not substantively
sided results.’      ”    Kilgore        v.    KeyBank     Nat 'I Ass'n,       673      unconscionable.       A   contract    term      is    not   substantively
F.3d    947,   963   (9th    Cir.        2012)       (quoting Armendariz v.             unconscionable when it merely gives one side a greater
Foundation Health Psychcare Services, Inc., 24 Cal.4th 83,                              benefit; rather, the term must be so one-sided as to shock the

114 (2000)). California courts apply a ‘sliding scale’ analysis                         conscience. Pinnacle Museum Tower Assn. v. Pinnacle Mkt.
in determining unconscionability: “the more substantively                               Dev. (US), LLC, 55 Cal. 4th 223, 246 (2012). Plaintiff argues
oppressive the contract term, the less evidence of procedural                           that the arbitration clause is substantively unconscionable
unconscionability is required to come to the conclusion that                            because the Defendants’ Terms of Use allow the Defendants
the term is unenforceable and vice versa.” Pokorny v. Quixtar,                          to change the arbitration clause at any time, without notice.
Inc., 601 F.3d 987, 996 (9th Cir. 2010). “Thus, although both                           While this provision does give the Defendants’ side a greater
procedural and substantive unconscionability must be present                            benefit, California courts have rejected such an argument

                                                                                        because the Defendants are still             bound by the implied




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covenant of good faith and fair dealing. See Casas v. Carmax              a contract defense, the party asserting the defense bears the

Auto Superstores Cal. LLC, 224 Cal. App. 4th 1233, 1237                   burden of proof.”).

(2014); 24 Hour Fitness, Inc., v. Superior Court, 66 Cal.

App. 4th 1199, 1214 (1 998) (“[W]here the contract specifies              IT IS HEREBY ORDERED that Defendants’ Motion to

performance the fact that one party reserves the power to vary            Compel Arbitration is GRANTED. (Dkt. No.              24) Since

it is not fatal if the exercise of the power is subject to ... good       Plaintiffs do not dispute that each of their claims plead in this

faith and in accordance with fair dealings.”).                            case fall within the scope of the arbitration agreement, this
                                                                          action is dismissed. All remaining Motions are now moot.

Because Plaintiffs have failed to meet their burden, the Court            (Dkt. Nos. 26, 35, 36, and 37).

finds that the provision is not procedurally or substantively
unconscionable. See Sanchez v. Valencia Holding Co., LLC,
                                                                          All Citations
61 Cal. 4th 899, 911 (2015) (“Because unconscionability is

                                                                          Not Reported in Fed. Supp., 2015 WL 12656919


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                                                                           Plaintiff Gregory Selden, who is African American, signed up
                                                                           with the popular residential rental service Airbnb in advance
      KeyCite Yellow Flag - Negative Treatment
                                                                           of a weekend getaway to Philadelphia. He created the required
Distinguished by    Wilson v. Redbox Automated Retail, LLC.   N.D.I11.,
                                                                          user profile, including his photograph, and contacted an
March 25, 2020
                                                                           Airbnb “host” about a promising listing. The host allegedly

                         2016 WL 6476934                                  responded that the residence was not available. Smelling a

       Only the Westlaw citation is currently available.                  rat, Selden created a second account under a pseudonym,

      United States District Court, District of Columbia.                 with a photograph of a white person in the user profile, and

                                                                          contacted the same host about the same accommodation. This

               Gregory SELDEN, et al., Plaintiffs,                        time, Selden claims, the host was only too happy to rent the

                                  v.                                      residence.

                    AIRBNB. INC., Defendant.
                                                                          Selden filed suit against Airbnb for race discrimination
                    Case No. 16-CV-00933 (CRC)                            on     behalf       of   himself   and     fellow     African-American
                                       I                                  travelers who have reported similar treatment on Airbnb.
                          Signed 11/01/2016                               See,       e.g.,    Elaine   Glusac,     As     Airbnb        Grows.     So
                                                                          Do     Claims       of   Discrimination.      N.Y.    Times    (June     26,
Attorneys and Law Firms
                                                                          20 1 6),      http://www.nytimes.com/201 6/06/26/travel/airbnb-
                                                                          discrimination-lawsuit.html. Likening Airbnb to a hotel and
Andrew Nyombi, Ikechukwu Emejuru, Emejuru andNyombi,
                                                                          its hosts to rental agents or hotel employees, Selden seeks
LLC, Silver Spring, MD, for Plaintiffs.
                                                                          to hold the company responsible under federal civil rights

Ellen S. Kennedy, Sean Marotta, Hogan Lovells US LLP,                     laws for the discriminatory conduct of those who offer

Washington, DC, for Defendant.                                            accommodations on its website. Airbnb contests liability,
                                                                          although that issue is not before the Court because the
                                                                          company’s          standard Terms of Service—which              it claims
                                                                          Selden accepted by signing up to use the site—contain a
                   MEMORANDUM OPINION
                                                                          clause requiring all disputes to be resolved by an arbitrator.

CHRISTOPHER R. COOPER, United States District Judge                       Civil lawsuits with a potential jury trial are prohibited. As are
                                                                          class actions.
 *1   All of us who have signed up for an online service
recently will recall the experience. After entering the service           Invoking this clause, Airbnb moves to compel arbitration of
provider’s website, we were presented with a “sign up”                    Selden’s claims. Selden responds that no contract exists—
or “create account” button prominently displayed on the
                                                                          and therefore the arbitration clause does not apply—because
screen. Next to the button—less prominent, no doubt—was
                                                                          the sign-up process did not place him on adequate notice
the ubiquitous advisory that, by signing up, we would be
                                                                          that he was agreeing to Airbnb’s Terms of Service, including
accepting the provider’s “terms of service.” Perhaps there was            mandatory arbitration. He further argues that, even if a
a separate check-box prompting us to indicate our agreement               contract was formed, the arbitration provision does not apply
to those terms. Regardless, eager to begin using the service
                                                                          to discrimination suits and is unconscionable in any event.
and realizing that the provider’s contractual terms are non-
negotiable, most of us signed up without bothering to click                *2    The Court must grant Airbnb’s motion. No matter
the accompanying link to reveal the contractual terms. Those              one’s opinion of the widespread and controversial practice
who did undoubtedly found numerous pages of legalese. The
                                                                          of requiring consumers to relinquish their fundamental
intrepid few who actually read all the terms almost certainly
                                                                          right to a jury trial—and to forego class actions—as a
learned that one of them requires users to relinquish their right
                                                                          condition of simply participating in today’s digital economy,
to have a jury resolve any dispute with the provider. And                 the applicable law is clear: Mutual arbitration provisions
that another bars class actions. This experience, shared by               in    electronic     contracts—so      long    as    their   existence       is
countless people each day, gives rise to the dispute presently            made reasonably known to consumers—are enforceable, in
before the Court.
                                                                          commercial disputes and discrimination cases alike. And
                                                                          Airbnb’s sign-up procedures were sufficiently clear to place




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Mr. Selden on notice that he was agreeing to the company’s         accommodation was not available. Id. at         7. While browsing

Terms of Service when he created an account. While that            Airbnb later that day, however, Selden noticed that the listing
result might seem inequitable to some, this Court is not the       was still posted. Id. at     8. Suspecting that he was denied

proper forum for policy objections to mandatory arbitration        accommodations due to his race, Selden created two fictitious

clauses in online adhesion contracts. Such objections should       Airbnb accounts with profile photos depicting white men. Id.

be taken up with the appropriate regulators or with Congress.      He then used those accounts to apply to the same listing,
                                                                   and, he claims, the host accepted both. Id. Selden later
                                                                   took to social media with his claims of discrimination, and
  I. Background & Procedural Posture                               the hashtag “#airbnbwhileblack” quickly went viral. Second
                                                                   Amend. Compl. H 50.

                 A. Selden’s Use of Airbnb


Gregory Selden and a friend planned a trip to Philadelphia in
                                                                                     B. Airbnb’s Terms of Service
March 2015. Second Amend. Compl.          28-35. To book their
accommodations, Selden turned to Airbnb, which describes           Airbnb’s Terms of Service at the time Selden signed up for
itself as “a trusted community marketplace for people to           Airbnb spanned seventeen single-spaced pages and began
list, discover, and book unique accommodations all around          with the following statement:
the world.” About Us, Airbnb, http://www.airbnb.com/about/
aboutus (last visited Oct. 24, 2016). Airbnb allows property
owners or their representatives—“hosts” in the company’s                        PLEASE        READ       THESE      TERMS
parlance—to list their accommodations on the platform,                                               CAREFULLY             AS
                                                                                OF     SERVICE
where travelers then attempt to book them. Def.'s Mot.                                     CONTAIN          IMPORTANT
                                                                                THEY
Compel Arbitration (“MCA”), Decl. of Kyle Miller              2.
                                                                                INFORMATION                REGARDING
While Airbnb facilitates the transactions, the hosts, alone, are                                                   RIGHTS,
                                                                                YOUR             LEGAL
responsible for deciding to whom they will offer their homes                                             OBLIGATIONS.
                                                                                REMEDIES AND
for short-term stays. Id,                                                                                         VARIOUS
                                                                                THESE           INCLUDE

                                                                                LIMITATIONS AND EXCLUSIONS,
Selden first created his Airbnb account in March 2015,
                                                                                A CLAUSE THAT GOVERNS THE
using an iPhone mobile device. Pl.'s Opp'n MCA, Decl. of
                                                                                JURISDICTION AND VENUE OF
Gregory Selden U 2; Supp. Decl. of Kyle Miller             2, 4.
                                                                                DISPUTES,        AND      OBLIGATIONS
Airbnb’s mobile sign-up screen, attached as an appendix
                                                                                TO COMPLY WITH APPLICABLE
to this Memorandum Opinion, presented Selden with three
                                                                                LAWS AND REGULATIONS.
options in descending order: “Sign up with Facebook,” “Sign
up with Google,” and “Sign up with Email.” See Appendix.
Below the “Sign up with Email” button was text that read:
                                                                    *3 Pl.'s MCA, Ex. B, 2. The “Dispute Resolution” clause, by
“By signing up, I agree to Airbnb’s Terms of Service, Privacy
                                                                   which Airbnb seeks to compel arbitration, appeared on page
Policy, Guest Refund Policy, and Host Guarantee Terms.” Id.
                                                                    fifteen of the document:
The text contained hyperlinks to these various agreements. Id.
 Airbnb’s Terms of Service include, among other provisions,
 a mandatory arbitration clause. Def’s MCA, Ex. B, 16-18.
                                                                                 You    and     Airbnb    agree    that    any
 Selden clicked “Sign up with Facebook” at the top of the page,
                                                                                 dispute, claim or controversy arising
 and proceeded to create his Airbnb profile in order to use the
                                                                                 out of or relating to these Terms or
 service. Decl. of Gregory Selden    6.
                                                                                 the breach, termination, enforcement,
                                                                                 interpretation or validity thereof, or
 Selden’s profile included a photograph of his face, along
                                                                                 to the use of the Services or use of
 with other details like his name, age, and education. Shortly
                                                                                 the Site or Application (collectively,
 after creating his account, he inquired with a host about
                                                                                 “Disputes”) will be settled by binding
 the availability of a listing that met his needs. Id. at *]5I
                                                                                 arbitration,   except    that    each    party
 6-7. According to Selden, the host informed him that the
                                                                                 retains the right to seek injunctive




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               or other equitable relief in a court                               D.C. Circuit has held that “any doubts concerning the scope
               of competent jurisdiction to prevent                               of arbitrable issues should be resolved in favor of arbitration.”
               the actual or threatened infringement,                             Wolff v. Westwood Mgmt., LLC, 558 F.3d 517, 520 (D.C,

               misappropriation        or violation         of a                  Cir. 2009). Notwithstanding a prior agreement to arbitrate,

               party’s copyrights, trademarks, trade                              plaintiffs often attempt to resolve disputes in federal court.

               secrets, patents, or other intellectual                            Section 4 of the FAA provides a remedy for the defendant: “A

               property rights. You acknowledge and                               party aggrieved by the alleged failure, neglect, or refusal of

               agree that you and Airbnb are each                                 another to arbitrate under a written agreement for arbitration

               waiving the right to a trial by jury                               may petition any United States district court ... for an order

               or to     participate    as    a plaintiff or                      directing that such arbitration proceed in the manner provided

               class member in any purported class                                for in such agreement.” 9 U.S.C. § 4.

               action or representative proceeding.
               If this    specific     paragraph       is    held                 Such a petition is often called a motion to compel arbitration,

               unenforceable, then the entirety of this                           and is properly resolved under the summary judgment

               “Dispute Resolution” section will be                               standard. Aliron Intern., Inc, v. Cherokee Nation Indus., Inc.,

               deemed void. Except as provided in                                 531 F.3d 863, 865 (D.C. Cir. 2008). The Court may consider

               the preceding sentence, this “Dispute                              evidence outside of the Complaint and shall grant the motion

               Resolution” section will survive any                               if “there is no genuine dispute as to any material fact and the

               termination of these Terms.                                        movant is entitled to judgment as a matter of law.” Fed. R. Civ.
                                                                                  P. 56(a). And in making this determination, the Court shall
                                                                                  view the facts “in the light most favorable to the nonmoving
                                                                                  party.” Chambers v. U.S. Dept, of Interior, 568 F.3d 998, 1 000
Def.'s MCA, Ex. B,           16 (emphasis added). The section
                                                                    shall   be    (D.C. Cir. 2009).
continued      that    any   arbitration       proceedings

administered by the American Arbitration Association and
offered general details about the arbitration process. Id. at
                                                                                     III. Analysis
 16-18.
                                                                                   *4   Airbnb’s Motion to Compel Arbitration presents three
                                                                                   questions: (1 ) did Selden agree to Airbnb’s Terms of Service;
                                                                                   (2) if so, does the mandatory arbitration clause apply to his

                         C. Procedural History                                     claims of race discrimination; and (3) if the clause applies to
                                                                                   his claims, is it enforceable? For the reasons explained below,
 Selden filed a putative class action suit against Airbnb in                       the Court finds that Selden agreed to the Terms of Service,
 this Court on May 17, 2016, and has since twice amended                           that those terms require the arbitration of unlawful race
 his Complaint. He is the sole named Plaintiff. See Second                         discrimination claims, and that the agreement is enforceable.
 Amend. Compl. Selden alleges that Airbnb violated Title II
 of the Civil Rights Act of 1964, 42 U.S.C. § 2000a, which
 prohibits race discrimination in public accommodations; the
                                                                                     A. Whether Selden Agreed to Airbnb’s Terms of Service
 Civil Rights Act of 1866, 42 U.S.C. § 198 1 , which prohibits
 race discrimination in the formation of contracts; and the
 Fair Housing Act, 42 U.S.C. § 3604, which prohibits race                                            1. Online Adhesion Contracting
 discrimination in the sale or rental of housing. Id. at               53-72.
                                                                                   Arbitration is a matter of contract law.         Thus, whether
 Airbnb moved to compel arbitration on July 13, 2016. See
 Def.'s MCA. The Court heard oral argument on the motion on                        Selden agreed to arbitrate depends on whether a valid

 October 12, 2016.                                                                 contract was formed. 1 Airbnb’s Terms of Service agreement
                                                                                   can be described as an online adhesion contract. Courts
                                                                                   and commentators have identified a number of variations
   II. Legal Standards
                                                                                   of these electronic agreements, including “browsewraps,”
 The      Federal   Arbitration   Act        (“FAA”)        provides   that   a
                                                                                   “clickwraps,” “scrollwraps,” and “sign-in-wraps.” See, e.g.,
 provision in a contract requiring the arbitration of disputes
                                                                                   Nguyen v. Barnes & Noble, Inc.. 763 F.3d 1171, 1175-77
 related to the contract “shall be valid.” 9 U.S.C. § 2. The
                                                                                   (9th Cir. 2014); Berkson v. Gogo LLC. 97 F. Supp. 3d 359,




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366-67 (E.D.N. Y 2015). A “browsewrap” agreement is one                 under three circumstances. Berkson. 97 F. Supp. 3d at 400-0 1 .

in which an internet user accepts a website’s terms of use              First, the agreements tend to be enforced if “the hyperlinked

merely by browsing the site. A “clickwrap” agreement is one             ‘terms and conditions’ is next to the only button that will

in which an internet user accepts a website’s terms of use              allow the user to continue use of the website.” Id. (citing

by clicking an “I agree” or “I accept” button, with a link to           Crawford v. Beachbody. LLC, 20 1 4 WL 6606563, at *3 (S.D.

the agreement readily available. A “scrollwrap” agreement is            Cal. Nov. 5, 2014) (finding a forum selection clause binding

like a “clickwrap,” but the user is presented with the entire           when the “terms and conditions” statement was directly above

agreement and must physically scroll to the bottom of it                the “Place Order” button)); Starke v. Gilt. 20 1 4 WL 1 652225,

to find the “I agree” or “I accept” button. Finally, many               at *2-3 (S.D.N.Y. Apr. 24, 2014) (finding an arbitration clause

internet websites—including Airbnb during the relevant time             binding when the “terms of use” statement was right next

period—now use “sign-in-wraps” (although “sign-wp-wrap”                 to the “Shop Now” button); Swift v. Zynga Game Network.

is a more appropriate name). “Sign-in-wrap” agreements are              Inc.. 805 F. Supp. 2d 904, 908, 912 (N.D. Cal 2011) (finding

those in which a user signs up to use an internet product               an arbitration clause binding where the “terms of service”

or service, and the signup screen states that acceptance of a           statement was directly below the “Accept” button). Second,

separate agreement is required before the user can access the           courts tend to uphold sign-in-wrap agreements if “the user

service. While a link to the separate agreement is provided,            ‘signed up’ to the website and was presented with hyperlinks

users are not required to indicate that they have read the              to the terms of use on subsequent visits.” Berkson, 97 F.

agreement’s terms before signing up. See Barnes & Noble.                Supp. 3d at 401 (citing Nicosia v. Amazon.com. Inc.. 84

763 F.3d at 1 177-79; Cullinane v. Uber Technologies. 2016              F. Supp. 3d 142, 151-53 (E.D.N.Y. Feb. 4, 2015) (finding

WL 3751652 at *5-7 (D. Mass. July 11, 2016).                            an arbitration clause binding when the user clicked a box
                                                                        acknowledging the terms at the initial signup to the website

While the relevant terminology continues to evolve, the                 and was presented with a hyperlink at the top of the webpage

Court’s     inquiry   into   contract   formation   does   not.   See   to terms of use multiple times after making purchases)). And

Register.com, Inc, v. Verio, Inc.. 356 F.3d 393, 403 (2d Cir.           third, sign-in-wrap agreements are usually upheld if “notice

2004) (“While new commerce on the Internet has exposed                  of the hyperlinked terms and conditions is present on multiple

courts to many new situations, it has not fundamentally                 successive webpages of the site.” Berkson. 97 F. Supp. 3d

changed the principles of contract.”). “Mutual manifestation            at 401 (citing Major v. McCallister, 302 S.W.3d 227, 230-31

of assent”—the “touchstone of contract”—must still be                   (Mo. Ct. App. 2009) (finding a forum selection clause binding

present. Barnes & Noble, 763 F.3d at 1175 (quoting Specht               when the hyperlink to the terms and conditions was presented

v. Netscape Commc'ns Corp.. 306 F.3d 17, 29 (2d Cir. 2002)              on multiple successive webpages and on the final page of the

(applying California law)). But because this case concerns a            website’s sign-up process)).

type of “sign-in-wrap” agreement, the consumer’s assent is
“largely passive.” Berkson, 97 F. Supp. 3d at 393 (applying              Finally, courts that have assessed the validity of sign-in-

California law). As a result, “the contract-formation question           wrap agreements since Berkson have cited factors such as

will often turn on whether a reasonably prudent offeree                  the size of the font, the possibility that other visual elements

would be on inquiry notice of the terms at issue.” Schnabel              on the screen might obscure the “terms and conditions”

v. Trilegiant Corp.. 697 F.3d 110, 126-27 (2d Cir. 2012)                 statement, and whether the user signed up for the agreement

 (holding that under California law, consumers were not on               using a mobile device. Compare Meyer v. Kalanick. 2016

 inquiry notice of an arbitration provision when the relevant            WL 4073012 at *4, *6 (S.D.N.Y. July 29, 2016) (Rakoff,

 terms were sent to them by e-mail following enrollment in               J.) (finding Uber’s terms-of-service agreement not binding

 an online service). As then-judge Sotomayor explained in                when the terms-of-service statement “was in a font that was

 assessing online adhesion contracts generally, “[c]larity and           barely legible on [a] smartphone device ... [and] beneath

 conspicuousness of [the] terms are important” in making this            two additional buttons”) with Cullinane. 2016 WL 3751652

 determination. Specht, 306 F.3d at 30 (applying California              at *7 (finding Uber’s terms-of-service agreement binding

 law).                                                                   because of the “prominent” placement of the terms-of-service
                                                                         statement).

  *5     Applying these principles to sign-in-wrap agreements
 specifically, Judge Weinstein noted in an extensive discussion
 on the issue that district courts tend to uphold the agreements




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                                                                        or the breach, termination, enforcement, interpretation or
                                                                        validity thereof, or to the use of the Services or use of the
              2. Application of the Law to Airbnb’s
                                                                        Site or Application (collectively, ‘Disputes’) will be settled
                  Terms of Service Agreement
                                                                        by binding arbitration.” Def's MCA, Ex. B, 17 (emphasis

The   Court    finds      that   Airbnb’s   mobile   sign-up   screen   added).

adequately placed Selden on notice of Airbnb’s Terms of
Service, and that he assented to those terms by clicking the            Courts applying California law interpret the language “arising

sign-up box and using the service. The text “By signing                 out of or relating to” very broadly. ’ California, like most
up, I agree to Airbnb’s Terms of Service” is conspicuous.               jurisdictions, “embrace[s] a judicial policy strongly in favor

See Appendix. It is placed in roughly the middle of the                 of enforcing arbitration contracts.” Bos Material Handling,
page, in close proximity to all three sign-up buttons. The              Inc, v. Crown Controls Corp,, 137 Cal. App. 3d 99, 105 (Cal.
text also appears in dark font, in sharp contrast to the white          Ct. App. 1982). Courts applying California law “have held
background. It is, moreover, clearly legible, appropriately             such arbitration agreements sufficiently broad” to include
sized, and unobscured by other visual elements. Although the            claims that “have their roots in the relationship between the
text is not directly under the first or second alternative sign-up      parties which was created by the contract.” Id. at 105-06
buttons, any reasonably-observant user would notice the text            (internal quotations omitted). This language “reaches every
and accompanying hyperlinks. So even if Selden only clicked             dispute between the parties having a significant relationship
“Sign up with Facebook” at the top of the page, he would                to the contract and all disputes having their origin or genesis
have seen the relevant text from a quick glance down the rest           in the contract.” Rice v. Downs, 247 Cal. App. 4th 1213,
of the page. Thus, by choosing to sign up for Airbnb, Selden            1 224 (Cal. Ct. App. 201 6). “To require arbitration, the factual
                                                                        matters need only touch matters covered by the contract
manifested his assent to the Terms of Service. “
                                                                        containing the arbitration clause and all doubts are to be
                                                                        resolved in favor of arbitrability.” Id. (emphasis added).
There is also a wider point to be made, as illustrated at the
outset of this opinion. The act of contracting for consumer
services    online   is    now    commonplace in the American           Supreme Court precedent instructs federal courts to take

economy. Any reasonably-active adult consumer will almost               the same approach. See Powley v. Dewey Ballantine, LLP.

certainly appreciate that by signing up for a particular service,       2006 WL 1102768 at *8 (D.D.C. Apr. 26, 2006) (noting that

he or she is accepting the terms and conditions of the                  “when an arbitration agreement contains the dual phrases

provider. Notifications to that effect—be they check boxes              ‘arising out of or relating to,’ it is proper to interpret the

or hyperlinks—abound. To be sure, few people may take                   agreement broadly to cover matters that touch upon the

time to actually read the user agreements. But ignorance of             contract to be arbitrable”) (citing Mi tsubishi Motors Corp, v.
                                                                        Soler Chrysler-Plymouth, Inc., 473 U.S. 614, 624 (1985));
the precise terms does not mean that consumers are unaware

they are entering contracts by signing up for internet-based            see also Prima Paint Corp, v. Flood & Conklin Mgf, Co., 388
                                                                        U.S. 395, 406 (1967) (noting that the words “arising out of or
services. So, while the record is silent as to Mr. Selden’s
particular history with e-commerce, the prevalence of online            relating to” in an arbitration clause are “easily broad enough

contracting in contemporary society lends general support to            to encompass” the asserted claims).

the Court’s conclusion that Selden was on notice that he was
entering a contract with Airbnb in this case.                           Applying this broad interpretation, it is clear that Selden’s
                                                                        claims of unlawful race discrimination “arise out of or relate
                                                                        to” his use of the Airbnb service. They therefore fall within
                                                                        the scope of the mandatory arbitration clause.
           B. Whether Airbnb’s Arbitration Agreement

        Encompasses Selden’s Discrimination Claims


 *6   Having found that Selden agreed to Airbnb’s Terms                  C. Whether Airbnb’s Arbitration Agreement is Enforceable
of Service,     including the mandatory arbitration clause,
the Court next turns to whether the arbitration provision               Having concluded that Selden agreed to the mandatory

encompasses Selden’s claims. Again, the provision states                arbitration clause and that the clause encompasses his claims

that “[the user] and Airbnb agree that any dispute, claim               of unlawful discrimination, the Court must next determine

or controversy arising out of or relating to these Terms                if the clause is enforceable in this suit. Selden’s numerous




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objections to enforcing the arbitration clause can be boiled
down to two main arguments: first, that federal civil rights             (b) The remedies provided in this subchapter shall be

claims are not subject to arbitration; and second, that the              the exclusive means of enforcing the rights based on

arbitration clause is unconscionable. Pl.'s Opp'n MCA 14-28.             this subchapter,   but nothing in this        subchapter shall

The Court rejects both arguments.                                        preclude any individual or any State or local agency from

                                                                         asserting any right based on any other Federal or State
                                                                         law not inconsistent with this subchapter, including any
                                                                         statute or ordinance requiring nondiscrimination in public
         1. Federal Civil Rights Laws and Arbitration
                                                                         establishments or accommodations, or from pursuing any
                                                                         remedy, civil or criminal, which may be available for the
Federal policy dictates that doubts about the applicability
                                                                         vindication or enforcement of such right.
of an arbitration agreement should be resolved in favor of
arbitration. Congress enacted the FAA in 1925 “to reverse the
                                                                    42 U.S.C. § 2000a-6 (emphasis added). Selden argues that
longstanding judicial hostility to arbitration agreements that
                                                                    “the Congressional intent for ‘where and how’ [he] can bring
had existed at English common law and had been adopted by
                                                                    his Title II suit is clearly codified” in this portion of the statute.
American courts, and to place arbitration agreements upon the
                                                                    Pl.'s Opp'n MCA 25. Not so.
same footing as other contracts.” Gilmer v. Interstate/Johnson
Lane Con?., 500 U.S. 20, 24 ( 1 99 1 ). There is no exception for
                                                                    The phrase “the district courts of the United States shall
statutory claims. The Supreme Court “has been quite specific
                                                                    have jurisdiction” in the statute “neither guarantees a right
in holding that arbitration agreements can be enforced under
                                                                    to a federal court trial nor forbids arbitration as an alternate
the FAA without contravening the policies of congressional
                                                                    forum.” Garrett v. Circuit City Stores, Inc.. 449 F.3d 672, 678
enactments giving [individuals] specific protection against
                                                                    (5th Cir. 2006); see also Gilmer. 500 U.S. at 29 (rejecting the
discrimination prohibited by federal law.” Circuit City Stores.
                                                                    argument that “compulsory arbitration is improper because
Inc, v, Adams, 532 U.S. 105, 123 (2001). As then-Judge
                                                                    it deprives claimants of the judicial forum provided by
Roberts noted, courts will enforce an agreement to arbitrate
                                                                    the [statute]”). Nor is arbitration precluded by the phrase
a statutory claim “so long as the agreement does not require
                                                                    “the remedies provided ... shall be the exclusive means of
the claimant to forgo substantive rights afforded under the
                                                                    enforcing the rights [of Title II].” Plaintiffs may still vindicate
statute.” Booker v. Robert Half Intern. , Inc., 413 F.3d 77. 79
                                                                    their statutory rights in arbitration. Any arbitration agreement
(D.C. Cir. 2005).
                                                                    that prevents them from doing so is invalid. Booker, 413

                                                                    F.3d at 79. The cited text therefore does not support Selden’s
*7   “If Congress did intend to limit or prohibit waiver of
                                                                    argument that Title II claims are not subject to arbitration. 4
a judicial forum for a particular claim, such an intent will

be deducible from the statute’s text or legislative history,
                                                                    Selden’s broader argument is that there is an inherent conflict
or from an inherent conflict between arbitration and the
                                                                    between arbitration and the anti-discrimination objectives of
statute’s underlying purposes.” Shearson/American Exp., Inc,
                                                                    the civil rights statutes under which he brings his claims.
v. McMahon, 482 U.S. 220, 227 (1987) (internal quotations
                                                                    He    argues   that arbitration is      not   a neutral proceeding,
omitted). Selden makes a specific argument that arbitration
                                                                    because businesses are “repeat-player[s]” who are familiar
is inconsistent with the text of Title II, as well as a broader
                                                                    with arbitration. Pl.'s Opp'n MCA 26. The imbalance of
argument that none of his statutory civil rights claims can
                                                                    knowledge and experience favors businesses in the selection
be arbitrated. Pl.'s Opp'n MCA 21-26 With respect to Title
                                                                    of    arbitrators,   Selden   claims,    because    employees    and
II, Selden emphasizes the following provisions of the statute
                                                                    consumers “lack financial resources to research arbitrators']
concerning jurisdiction and remedies:
                                                                    past decisions.” Id. (citing Lewis Maltby, Paradise Lost—

  (a) The district courts of the United States shall have           How the Gilmer Court Lost the Opportunity for Alternative

 Jurisdiction of proceedings instituted pursuant to this            Dispute Resolution to Improve Civil Rights. 12 N.Y. L.

  subchapter and shall exercise the same without regard             Sch. J. Hum. Rts. 1 (1994)). The Supreme Court, however,

  to whether the aggrieved party shall have exhausted any           has repeatedly rebuffed these arguments as insufficient to

  administrative or other remedies that may be provided by          preclude arbitration. Mitsubishi, 473 U.S. at 634 (“We decline

  law.                                                              to indulge the presumption that the parties and arbitral body
                                                                    conducting a proceeding will be unable or unwilling to




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retain competent, conscientious, and impartial arbitrators.”);               contract law, a court must find that a contract is both
Gilmer. 500 U.S. at 30 (same).                                               procedurally and substantively unconscionable in order to
                                                                             invalidate it. Armendariz v. Foundation Health Psychcare
*8 Moreover, while “judicial review of arbitral awards is                    Services, Inc.. 6 P.3d 669, 690 (Cal. 2000). A contract is

extremely limited,” Teamsters Local Union No. 61 v. United                   procedurally unconscionable if “an inequality of bargaining

Parcel Serv.. Inc., 272 F.3d 600, 604 (D.C. Cir. 200 1 ) (internal           power” precludes the chance for “real negotiation or a

citation omitted), safeguards still exist. There are five grounds            meaningful choice on the part of the weaker party.” Kinney

on which a federal court can vacate an arbitration award. The                v. United Healthcare Services. Inc., 70 Cal. App. 4th 1322,

FAA itself provides the first four:                                          1329 (Cal. Dist. Ct. App. 1999). A contract is substantively
                                                                             unconscionable if its terms “are so one-sided as to shock the
                                                                             conscience.” Soltani v. Western & Southern Life Ins. Co.. 258

             (1) [W]here the award was procured by
                                                                             F.3d 1038, 1043 (9th Cir. 2001) (applying California law)
                                                                             (emphasis in original) (quoting Kinney. 70 Cal. App. 4th at
             corruption, fraud, or undue means; (2)
                                                                             1330).
             where there was evident partiality or
             corruption in the arbitrators, or either
                                                                             Selden argues that the Airbnb agreement is procedurally
             of them; (3) where the arbitrators were
                                                                             unconscionable simply because it is an adhesion contract.
             guilty of misconduct in refusing to
                                                                             But adhesion contracts are not per se unconscionable under
             postpone the hearing, upon sufficient
             cause shown, or in refusing to hear                             California law. E.g,, Serafin v. Balco Properties Ltd., 235 Cal.

              evidence pertinent and material to
                                                                             App. 4th 165, 179 (Cal. Dist. Ct. App. 2015) (“[T]he fact

             the     controversy;   or    of any       other                 that the arbitration agreement is an adhesion contract does not
                                                                             render it automatically unenforceable as unconscionable.”).
             misbehavior by which the rights of
                                                                             Selden claims that the arbitration clause is substantively
              any party have been prejudiced; or (4)
                                                                             unconscionable because it “lackfs] mutuality.” Pl.'s Opp'n
             where the arbitrators exceeded their
                                                                             MCA 17. Indeed, the California Supreme Court, and other
             powers, or so imperfectly executed
              them     that   a   mutual,     final,    and                  courts applying California law, have held that mandatory
                                                                             arbitration clauses in adhesion contracts are unconscionable
              definite award upon the subject matter
                                                                             when only one party is required to arbitrate. See Armendariz,
              submitted was not made.
                                                                             6 P.3d at 769-70; Nyulassy v. Lockheed Martin Corp.. 120
                                                                             Cal. App. 4th 1267, 1282 (Cal. Dist. Ct. App. 2004) (“The
                                                                             employment agreement requires plaintiffonly to arbitrate any
9 U.S.C.A. §       10(a). Courts have supplied the fifth: “In
                                                                             and all of his employment claims.”); Kinney. 70 Cal. App.
addition to the statutory grounds, arbitration awards can be
                                                                             4th at 1332 (“Faced with the issue of whether a unilateral
vacated ... if they are in manifest disregard of the law.” Kurke
                                                                             obligation to arbitrate is unconscionable, we conclude that
v. Oscar Gruss and Son, Inc.. 454 F.3d 350, 354 (D.C. Cir.
                                                                             it is.”). Airbnb’s Terms of Service, however, clearly subject
2006) (internal citations omitted). The lack ofjudicial support
                                                                             both parties to arbitration. See Def.'s MCA, Ex. B, 16 (“You
for Selden’s argument that arbitration inherently undermines
                                                                             acknowledge and agree that you and Airbnb are each waiving
the purpose of Title II, along with the existence of these
                                                                             the right to a trial by jury ....”). Seldon also argues that the
safeguards, require the Court to enforce Airbnb’s mandatory
                                                                             arbitration clause is substantively unconscionable because
arbitration clause.
                                                                             the costs of arbitration are too high for the consumer. This
                                                                             argument, too, is without merit. Plaintiff’s arbitration fees are
                                                                             paid for by Airbnb, unless the arbitrator “finds that either the
                       2. Unconscionability                                  substance of [the] claim or the relief sought ... was frivolous
                                                                             or was brought for an improper purpose.” Def.'s MCA, Ex. B,
 Selden’s   argument of last resort         is that the        arbitration
                                                                              17. Tn sum, Airbnb’s arbitration clause does not meet the high
 agreement    is   unconscionable.       “Whether      an      arbitration
                                                                             bar for unconscionability set by the case law.
 agreement is unconscionable is primarily a question of state

 contract law.” Ruiz v. Millennium Residential Association.
 156 F. Supp. 3d 176, 180 (D.D.C. 2016) (citing Perry v.                        IV. Conclusion
 Thomas, 482 U.S. 483, 492 n.9 (1987)). Under California




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                                                                       iPhone 5          320   x   568    100% V
*9 For the foregoing reasons, the Court finds that Selden
entered into a valid and enforceable arbitration agreement
with Airbnb. The Court will therefore grant Airbnb’s Motion

to Compel Arbitration and stay the case. 5 A separate Order
                                                                                         Sign up
accompanies this Memorandum Opinion.


Date: November 1, 2016.

                                                                         f        Sign up with Facebook

                                                                         0+
                         APPENDIX                                                  Sign up with Google
                                                                         o


The screenshot below depicts Airbnb’s sign-up screen as it
would appear on an iPhone 5. Airbnb provided this image in
a supplemental affidavit. See Supp. Decl. of Kyle Miller, Ex.
                                                                                                         Ja.. Jbk. dfe
1. Airbnb’s records indicate—and Selden does not dispute—
that he used an Apple device to sign up for Airbnb. Supp.                         p. I     to Asrbnb'a

Decl. of Kyle Miller <| 4.




                             iPhone 5
                                                                      Already an Airbnb member?




                                                                All Citations


                                                                Not Reported in Fed. Supp., 2016 WL 6476934




                                                          Footnotes


                                                                                          Contrary to Airbnb’s argument,
  1      The Court will apply California law in deciding the issue of contract formation.
                                                                                           does not govern this question,
         Def.'s MCA 7, the California choice-of-law clause in Airbnb’s Terms of Service
                                                                                 of Service in the first place. See, e.g..
         as the Court must assess whether Selden agreed to the Terms
                                                                                             the choice-of-law clause to
         McMullen v. Synchrony Bank, 164 F. Supp. 3d 77 (D.D.C. 2016) (“Applying
                                                                                             before its adoption by
         resolve the contract formation issue would presume the applicability of a provision
                                                                                                  relevant choice-of-law
         the parties has been established.") (internal quotations omitted). After considering the
                                                                                        law applies to this threshold
         rules, however, the Court is satisfied —and the parties agree —that California
         dispute.




                                                                                                                         8
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                                                                                        created his two fictitious
2        Airbnb further asserts that Selden also agreed to the Terms of Service when he
                                                                               accounts for test purposes only,
         accounts. Def.'s MCA 9. Selden contends that because he created those
                                                                                          finds that Selden agreed
         they did not result in valid agreements. Pl.'s Opp'n MCA 14. Because the Court
                                                                                   2015, the  Court need not reach
         to Airbnb’s Terms of Service when he created his initial account in March
         these arguments.

                                                                                Airbnb, the choice-of-law clause
3        Since the Court finds that a valid agreement exists between Selden and
                                                                                interpretation of the agreement’s
         in Airbnb’s Terms of Service becomes effective and governs the Court’s
                                                                                        ce with the laws of the State
         terms. See Def.'s MCA, Ex. B, 16 (“These Terms will be interpreted in accordan
         of California.”).

                                                                                   the Court is not aware of—any case
4        As for Selden’s remaining statutory claims, he does not identify—and
                                                                                       are not subject to arbitration. The
         in which a court has found that Fair Housing Act or Section 1981 claims
                                                                                        Davis v. Fenton, 26 F. Supp. 3d
         sparse amount of case law on the matter actually holds otherwise. See
                                                                     that “even if  the Court had doubts as to whether
         727, 742 (N.D. III. 2014) (ordering arbitration and noting
                                                                                be required to resolve those doubts in
         the arbitration clause includes Plaintiff’s FHA claim, the Court would
                                                                                     v. Washington Mut. Bank, 2008 WL
          favor of arbitration”) (citing Moses H. Cone, 460 U.S. at 24-25); Fordjour
                                                                                  Cal. Feb. 1, 2008).
          295092 (ordering arbitration of plaintiffs FHA and § 1981 claim) (N.D.

                                                                                       district courts must stay proceedings
 5        The Court has previously noted a circuit split on the issue of whether
                                                                                        the discretion to dismiss such cases
          after all claims have been referred to arbitration, or whether they retain
                                                                                           at *4 n. 3 (D.D.C. 2016). Several
          outright. See Goodrich v. Adtrav Travel Mgmt., Inc., 2016 WL 4074082
                                                                                  Cellco Partnership, 794 F.3d 341,345-46
          circuits have held that a stay must be entered. See, e.g., Katz v.
                                                                                  the Seventh, Tenth, and Eleventh Circuits
          (2d Cir. 2015) (holding that a stay must be entered and noting that
                                                                                        discretion to dismiss the action. See
          have held so as well). Others have found that district courts enjoy the
                                                                                      the district courts to dismiss).
          id. (noting that the First, Fifth, and Ninth Circuits provide discretion to

                                                                                will stay the proceedings, which is in
          The D.C. Circuit appears not to have ruled on this issue. The Court
                                                                            district. E.g., Ruiz v. Millennium Square
          line with our prior decision in Goodrich and recent cases in this
                                                                               v. Four Seasons Hotels and Resorts,
          Residential Assoc., 156 F, Supp. 3d 176, 184 (D.D.C. 2016); White
          999 F. Supp. 2d 250, 261-262 (D.D.C. 2013).




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                                                                   for over ten years. Id. at 1| 54. As a customer, Plaintiff agreed

                        2021 WL 5494373                            to abide by Defendant's Deposit Account Agreement (the

        Only the Westlaw citation is currently available.          “DAA”) (ECF No. 15-4) and Online Services Agreement

                    NOT FOR PUBLICATION                            (the “Online Agreement”) (ECF No. 15-5). Because of the

           United States District Court, D. New Jersey.            financial hardship the pandemic imposed on Plaintiff, it
                                                                   applied to Defendant for a PPP loan on April 9, 2020.
           VR CONSULTANTS, INC. et al., Plaintiff,                ECF No. 1 at H 59. Plaintiff alleges that Defendant made

                                v.                                representations to Plaintiff and other PPP loan applicants

           J.P. MORGAN CHASE & CO.. Defendant.                    that loan applications would be processed, and, if those
                                                                  applications were approved, funds would be distributed on a
                     Civil Action No. 20-cv-6110                  “first come, first serve” basis, Id. at           18, 22-23. However,
                                     I                            Plaintiff claims that Defendant instead implemented a loan
                         Signed 11/23/2021                        disbursement       policy    that   favored   its wealthiest clients’
                                                                  applications over those of smaller, less wealthy clients to
 Attorneys and Law Firms
                                                                  maximize Defendant's origination fee. Id. at                24, 30-32.
                                                                  Plaintiff alleges that, pursuant to this policy, wealthy clients
 Javier Luis Merino, Dann Law Firm, North Brunswick, NJ,

 for Plaintiff.
                                                                  received their PPP loans before less wealthy clients regardless
                                                                  of when the application was filed. Id. at                  39-41. As a
 Theodore James McEvoy, Greenberg Traurig LLP, Florham            result of Defendant's conduct, Plaintiff avers it did not receive
 Park, NJ, for Defendant.                                         timely access to needed funds made available by the PPP
                                                                  program to its financial detriment because it was forced to
                                                                  wait for Defendant to process its wealthy client applications.
                                                                  Id. at   53, 73.
                            OPINION


 CLAIRE C. CECCHI, District Judge                                 On May     5,   2020,       Plaintiff filed   a   complaint      alleging
                                                                  claims for consumer fraud violations under New Jersey
 *1   This matter comes before the Court on the motion of
                                                                  Statue Annotated § 56:8-2, as well as claims for fraudulent
Defendant J.P. Morgan Chase & Co. (“Defendant”) to compel
                                                                  concealment     and     tortious     interference.   Id.    at    22-25.
arbitration and stay the proceedings. ECF No. 15. Plaintiff
                                                                 Defendant subsequently filed the instant motion seeking to
VR Consultants, Inc. (“Plaintiff’) filed an opposition (ECF
                                                                 compel Plaintiff to arbitration, arguing that questions of
No. 17) and Defendant replied (ECF No. 19). The Court
                                                                 arbitrability are for the arbitrator to decide in the first instant.
decides this matter without oral argument pursuant to Federal
                                                                 ECF No.     15. Plaintiff filed its opposition on November
Rule of Civil Procedure 78. For the reasons set forth below,
                                                                 2, 2020, objecting to arbitration on the grounds that the
Defendant's motion to compel arbitration is GRANTED.
                                                                 relevant arbitration provisions do not apply to Plaintiffs PPP
                                                                 loan. Defendant then replied, reasserting its position that an

                                                                 arbitrator should first decide this dispute. ECF No. 19.
I. BACKGROUND
To mitigate financial damage caused by the coronavirus

pandemic, Congress passed the Coronavirus Aid, Relief, and
                                                                 II. LEGAL STANDARD
Economic Security Act. ECF No. 1 at | 11. This law made
                                                                  *2 The Federal Arbitration Act (“FAA”) reflects the strong
loans, known as Paycheck Protection Program (“PPP”) loans,
                                                                 federal policy in favor of arbitration and “ ‘places arbitration
available to small businesses so that such businesses could
                                                                 agreements on equal footing with all other contracts. ’ ” Bacon
meet their financial obligations during the pandemic. Id.
                                                                 v. Avis Budget Grp.. Inc., 959 F.3d 590, 599 (3d Cir. 2020)
at Ifl] 12-14. Due to its size, the PPP loan program was
                                                                 (quoting Buckeye Check Cashing, Inc. v. Cardegna, 546 U.S.
administered by private banks, including Defendant, that
                                                                 440, 443 (2006)). Under the FAA, courts “compel arbitration
were compensated by receiving an origination fee calculated
                                                                 of claims covered by a written, enforceable arbitration
as a percentage of the disbursed loans. Id. at     16-1 7.       agreement.” Bacon, 959 F.3d at 599 (citing FAA, 9 U.S.C.

                                                                 §§ 3, 4). Yet despite the strong presumption of arbitrability,
This dispute arises out of the disbursement of PPP loans.
                                                                 “[a]rbitration is strictly a matter of contract” and is thus
Plaintiff has used Defendant's banking services for businesses
                                                                 governed by state law. Bel-Ray Co. v. Chemrite (Pty') Ltd.,



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  181 F.3d 435, 441, 444 (3d Cir. 1999) (“If a party has not          No. 15-4 at 38) or an American Arbitration Association

  agreed to arbitrate, the courts have no authority to mandate        (“AAA”) arbitrator (ECF No. 15-6 at 25), pursuant to those

  that he do so.”). Accordingly, when deciding whether to             organizations’ rules. Tn turn, each organization's own rules

  compel arbitration under the FAA, the Court must determine          and procedures give the arbitrator the ability to decide

 “(1) whether there is a valid agreement to arbitrate between        whether the arbitrator has jurisdiction to hear the matter,

 the parties and, if so, (2) whether the merits-based dispute        including the scope of an arbitration agreement. See JAMS

 in question falls within the scope of that valid agreement.”        Comprehensive         Arbitration   Rule   11(b)   (“[Ajrbitrability
 Flintkote Co. v. Aviva PLC, 769 F.3d 215, 220 (3d Cir.              disputes ... including disputes over the formation, existence,
 2014) (citation omitted). In conducting this inquiry, the Court     validity, interpretation or scope of the agreement ... shall

 applies state law principles of contract formation. Torres v.       be   submitted and ruled on by the Arbitrator.”);             AAA
 Rushmore Serv. Ctr., LLC, No. 18-9236, 2018 WL 5669175,             Commercial Arbitration Rules, R-7(a) (“The arbitrator shall

 at *2 (D.N.J. Oct. 31, 2018).                                       have the power to rule on his or her own jurisdiction,

                                                                     including ... scope.”). The inclusion of AAA or JAMS rules
                                                                     in the DAA and Online Agreement constitutes “clear and
 III. DTSCUSSION                                                     unmistakable evidence that the parties agreed to delegate
 Both the DAA and the Online Agreement contain arbitration           arbitrability.” Richardson v. Coverall N. Am., Inc., 811 F.
 clauses. ECF No. 15-6 at 25-26; ECF No. 15-4 at 7-8.                App'x 100, 103 (3d Cir. 2020) (finding that scope is an
 The parties do not dispute that the clauses found in those          issue of arbitrability for the arbitrator); see also Blanton v.
 documents form a valid agreement to arbitrate between the           Domino's Pizza Franchising LLC, 962 F.3d 842, 846 (6th
 parties. ECF No. 23 at 5 (conceding that Plaintiff is subject       Cir. 2020) (collecting cases) (stating that all eleven circuits
 to the arbitration provisions in the DAA and the Online             addressing this issue found that “incorporation of AAA
 Agreement); ECF No. 1 9 at 1 ; ECF No. 1 5-4; ECF No. 15-6.         rules (or similarly worded arbitral rules) provides clear and
 Thus, the Court must only decide whether the dispute here          unmistakable evidence that the parties agreed to arbitrate
 falls within the scope of the valid arbitration agreements —the     ‘arbitrability’ ”).
 DAA and Online Agreement.

                                                                     *3   Therefore, here, the parties’ inclusion of AAA and
Plaintiff principally argues that its claims regarding its PPP      JAMS procedures in the contested arbitration agreement is
loan fall outside the scope of its existing agreements with         clear evidence that they intended the arbitrator to decide
Defendant to arbitrate certain disputes. ECF No.           17 at    questions related to scope. See Richardson, 811 F. App'x
5-9, Specifically, Plaintiff argues that arbitration clauses        at 103. Accordingly, Plaintiff must bring its claim before
in the DAA and Online Agreement apply to disputes                   the arbitrator in the first instance, even if it contests the
regarding a Chase deposit account, and do not apply to              scope of arbitrability, See KPA Promotions & Awards, Inc. v.
Chase's other financial products such as PPP loans. Id. In          JPMorgan Chase & Co., No. 20-CV-3910, 2021 WL 1317163
response, Defendant asserts that these agreements delegate          (S.D.N.Y. Apr. 8, 2021); Sha-Poppin Gourmet Popcorn LLC
any questions of scope and enforceability to the arbitrator to      v. JP Morgan Chase Bank, N.A., No, 20-CV-2523, 2021 WL
decide in the first instance, and in any event, Plaintiffs claims   843429 (N.D. Ill. Mar. 5, 2021).

are covered by the relevant arbitration provisions. 1 ECF No.
15 at 10, 13-15
                                                                    IV. CONCLUSION

                                                                    For the reasons set forth above, Defendant's motion to
The Supreme Court has instructed that “parties can agree
                                                                    compel arbitration is GRANTED and these proceedings are
to arbitrate ‘gateway’ questions of ‘arbitrability,’ such as
                                                                    ADMINISTRATIVELY STAYED pending arbitration. An
whether the parties have agreed to arbitrate or whether
                                                                    appropriate order accompanies this opinion.
their agreement covers a particular controversy.” Rent-A-Car,
West, Inc. v. Jackson, 561 U.S. 63, 68-69 (2010). Here, the
agreements at issue—the DAA and the Online Agreement
                                                                    All Citations
—state that a party filing a claim must do so before a

Judicial Arbitration and Mediations Services (“JAMS”) (ECF          Slip Copy, 2021 WL 5494373




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                                                     Footnotes


1         However, as discussed below, because this Court finds that an arbitrator must first decide whether
                                                                                                               the
          arbitration agreements cover PPP loans as a matter of scope, the Court need not address this argument.




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